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                                                                                        FILED
                                                                                      U.S. DISTRICT COURT
                                                                                  EASTERN DISTRICT ARKANSAS

                           IN THE UNITED STAETS DISTRICT COURT                           APR O5 2022
                              EASTERN DISTRICT OF ARKANSAS
                                    CENTRAL DIVISION

JETONGA REDDICK

vs.                                     No.   J./=tZ-c.v-          3/g- BRw'
AMGUARDINSURANCECOMPANY;AND
GLAD RENTS, INC.This case assigned to District Judge             W,'Ls   0 "'-'       DEFENDANTS
                         and to Magistrate Judge       Htrri.s
                     COMPLAINT FOR DECLARATORY JUDGMENT

       Comes the Plaintiff, Jetonga Reddick, by and though her undersigned counsel, Denton &

Zachary, PLLC, and for her complaint for declaratory judgment states:

        1.      Plaintiff Jetonga Reddick (hereafter "Reddick") is a resident of Saline County,

Arkansas.

       2.       Defendant Amguard Insurance Company (hereafter "Amguard") is an insurance

company with its principal place of business in the State of Pennsylvania. Amguard is licensed to

do business in the State of Arkansas.

        3.      Defendant Glad Rents, Inc. (hereafter "Glad Rents") is a foreign incorporated

company, or corporation. Glad Rents is an over-the-road, interstate motor carrier with its principal

base of operations located in Gladstone, MO. At all times herein, Defendant Glad Rents had

control over the 2015 Western Star tractor trailer, VIN# 5KJJALDV2FPGF8414, driven by

separate defendant Donald Martin.

        4.      There is complete diversity of citizenship between Plaintiff and Defendants, and

the amount in controversy exceeds $75,000.00.

        5.      This Court has jurisdiction under 28 U.S.C. § 1332, and venue is proper in this

district and division.




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       6.      Ms. Reddick brings this action for a declaratory judgment as in interested party

under the policy of insurance issued by Amguard to Glad Rents pursuant to 28 U.S.C. § 2201 and

Fed. R. Civ. P. 57.

       7.      On April 20, 2019, at approximately 8:27 P.M., Plaintiff Reddick was reasonably

and prudently traveling northbound in the inside lane on University Avenue. The conditions were

dark and not lighted.

       8.      Unknown to Reddick at the time, a 2015 Western Star tractor trailer, VIN#

5KJJALDV2FPGF8414 owned by Glad Rents had been positioned in the northbound lanes facing

southbound and blocking all northbound lanes of travel.

       9.      Due to the lack of warning and visibility, Reddick's vehicle violently collided with

the semi-tractor trailer that Defendant Martin and Bell positioned in her lane without warning.

        10.    As a result of the crash, Plaintiff sustained serious injuries requiring a lengthy

hospital stay and multiple surgeries to her lower extremities.

        11.    On May 30, 2019, Reddick filed a lawsuit for her injuries against Glad Rents in

Pulaski County Circuit Court.

        12.    On October 2, 2020, the Pulaski County Circuit Court entered a default judgment

against Glad Rents as to liability.

        13.    This default judgment was upheld on appeal by the Arkansas Counrt of Appeals on

December 1, 2021. See Endurance Freight Logistics, LLC v. Reddick, 2021 Ark. App. 470, 638

S.W.3d 859 (2021).

        14.    At the time of the crash, there was in effect a policy of insurance issued by Amguard

to Glad Rents, policy no. K2GP004524, with a policy period of January 1, 2019 to January 1, 2020




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(hereafter the "Policy"). A true copy of the policy is attached hereto as Exhibit A and incorporated

herein.

          15.   The 2015 Western Star tractor trailer, VIN# 5KJJALDV2FPGF8414 owned by

Glad Rents is not a disclosed united on the Policy.

          16.   Based on the 2015 Western Star tractor trailer, VIN# 5KJJALDV2FPGF8414,

Amguard has denied that the Policy provides any insurance coverage for Ms. Reddick's injuries.

          17.   The Policy, however, does contain an MCS-90 endorsement.

          18.   Congress enacted the MCA, in part, to address abuses that had arisen in the

interstate trucking industry which threatened public safety," where motor carriers attempted "to

avoid financial responsibility for accidents that occurred while goods were being transported in

interstate commerce."

          19.   The Secretary of Transportation issued a regulation mandating that every liability

insurance policy covering a motor carrier contain the MCS-90 endorsement. See 49 C.F .R.

387.15.

          20.   The MCS-90 provides a broad guaranty that the insurer will provide a policy of

insurance regardless of whether the motor vehicle involved is specifically described in the policy

or whether the loss was otherwise excluded by the terms of the policy." Century Indem. Co. v.

Carlson, 133 F.3d 591,594 (8th Cir.1998).

          21.   The primary purpose of the MCS-90 is to assure that injured members of the public

are able to obtain a recovery from negligent authorized interstate carriers." John Deere Ins. Co. v.

Nueva, 229 F.3d 853, 857 (9th Cir.2000).

          22.   The operation and effect of the MCS-90 endorsement is a matterof federal law.

          23.   The MCS-90 endorsement states:




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                In consideration of the premium stated in the policy to which this
                endorsement is attached, the insurer (the company) agrees to pay,
                within the limits of liability described herein, any final judgment
                recovered against the insured for public liability resulting from
                negligence in the operation, maintenance or use of motor vehicles
                subject to the financial responsibility requirements of Sections 29
                and 30 of the Motor Carrier Act of 1980 regardless of whether or
                not each motor vehicle is specifically described in the policy and
                whether or not such negligence occurs on any route or in any
                territory authorized to be served by the insured or elsewhere ....

                It is further understood and agreed that, upon failure of the company
                to pay any final judgment recovered against the insured as provided
                herein, the judgment creditor may maintain an action in any court of
                competent jurisdiction against the company to compel such
                payment.

          24.   The Policy thus provides coverage for any claims arising out of the liability of Glad

Rents regardless of whether the 2015 Western Star tractor trailer, VIN# 5KJJALDV2FPGF8414,

is specifically described in the policy.

          25.   Ms. Reddick is entitled to a declaratory judgment that the Policy provides coverage

to Glad Rents or for any claims arising from the April 20, 2019 crash.

          26.   Ms. Reddick requests a trial by jury.

          27.   Ms. Reddick requests an award of attorney fees and costs pursuant to Ark. Code

Ann. §23-79-209.

          28.   Ms. Reddick reserve the right to amend her complaint upon investigation and

discovery.

          WHEREFORE, Plaintiff, Jetonga Reddick prays that her complaint for declaratory

judgment be granted, and a declaratory judgment be entered finding that there is coverage under

Amguard policy no. K2GP004524 for the claims asserted by Ms. Reddick, and that Plaintiff be

awarded its costs, attorney fees under Ark. Code Ann. § 23-79-209 and for all other just and proper

relief.



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                            Respectfully submitted,




                                                , '.Ark. B   o. 2010162
                            J e 'A. Dento ,      k. Bar No. 2012167
                                              '.A.CHARY, PLLC
                              100 Riverdale Road, Suite 200A
                            Little Rock, Arkansas 72202
                            Tel: (501) 358-4999
                            Fax: (501) 358-4737
                            justin@dentoandzachary.com
                            joe@dentonandzachary.com




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POLICY NUMBER:
K2GP004524

                       ~"i;.~~~rt=
                     COMMON POLICY DECLARATIONS
                                                                                                          IL DS 00 09 08




              COMPANY NAME AREA                                               PRODUCER NAME AREA
AmGUARD Insurance Company                                       KBK Insurance Group, a Division ofNSM Insurance Group
A Stock Company                                                 1425 Sams Avenue, Suite 201
P.O. BoxA-H                                                     Harahan, LA 70123-5553
Wilkes-Barre, PA 18703-0020
(800) 673-2465
NAMED INSURED:       Glad Rents, Inc.
MAILING ADDRESS: 6800 N. Oak Trafficway
                 Gladstone, MO 64118
POLICY PERIOD:      FROM          01/01/2019               TO        01/01/2020               AT 12:01 A.M. STANDARD
TIME AT YOUR MAILING ADDRESS SHOWN ABOVE


IBUSINESS DESCRIPTION !Towing
IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY,
WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.


     THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM IS
                 INDICATED. THIS PREMIUM MAY BE SUBJECT TO ADJUSTMENT.
                                                                                                       PREMIUM
        COMMERCIAL AUTOMOBILE COVERAGE PART                                                        $        25,904.00
        COMMERCIAL GENERAL LIABILITY COVERAGE PART                                                 $         1,155.00
        COMMERCIAL INLAND MARINE COVERAGE PART                                                     $         1,200.00
        COMMERCIAL LIABILITY UMBRELLA                                                              $     No Coverage
        COMMERCIAL PROPERTY COVERAGE PART                                                          $     No Coverage
        Terrorism                                                                                  $             6.00
                                                                                                   $
                                                                                                   $




                                                                                    TOTAL:$ _ _ _2~8~,2~65_.o'-'-o
         Premium shown is payable:          $       28,265.00 at inception.   $ _ _ _ __




                                            ! ,/                                                   EXHIBIT A
                                        l 'GUARD
                                        ,
                                            ;,serkshire Hathaway
                                                                       Insurance
                                                                       Companies
IL DS 00 09 08                                  © ISO Properties, Inc., 2007                               Page 1 of 3
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FORMS APPLICABLE TO ALL COVERAGE PARTS (SHOW NUMBERS):

IL DS00 0908          Common Policy Declarations pt 1
IL DS00 0908          Common Policy Declarations pt 2*
IL 9900 0813          Authorization and Attestation
MCS-90 0117            Endorsement for Motor Carrier Policies of Insurance for Public Liability
IL 0003 0908          Calculation of Premium
IL 00171198           Common Policy Conditions
IL 0021 0908          Nuclear Energy Liability Exclusion Endorsement (Broad Form)
IL 0274 0213           Missouri Changes - Cancellation and Nonrenewal
IL 0935 0702           Exclusion of Certain Computer Related Losses
IL 0952 0115          Cap on Losses From Certified Acts of Terrorism
IL 0990 0115          Missouri - Disclosure Pursuant to Terrorism Risk Insurance Act
AIC 99040317          Two or More Coverage Forms or Policies Issued by Us
CADS03 1013            Business Auto Declarations (Part 1)
CA DS03 1013           Business Auto Declarations (Part 2)
CA DS03 1013           Business Auto Declarations (Part 3)
BA 9905 0317           Lessor - Additional Insured and Loss Payee
CA 2104 1013           Missouri Uninsured Motorists Coverage
CA 3104 0218           Missouri Underinsured Motorists Coverage
CA 9928 1013           Stated Amount Insurance
CA 9937 1013          Garagekeepers Coverage
CA 9940 1013           Exclusion or Excess Coverage Hazards Otherwise Insured
BA 9911 0317          Notice Unreported Driver - New Drivers
CA 0001 1013           Business Auto Coverage Form
CA 0165 0716           Missouri Changes
CA 01661013            Missouri Changes - Pollution Exclusion
CA 02190116            Missouri Changes - Cancellation and Nonrenewal
CG 2268 0997          Operation of Customers Autos on Particular Premises
CA 2384 1013           Exclusion of Terrorism
CA 9903 1013          Auto Medical Payments Coverage
AIC 9916 0317          Influenza or Epidemic Exclusion Notice to Policyholders
AIC 9915 0317          Influenza or Epidemic Exclusion
AIC 99070317           Exclusion of Assault and Battery




Countersigned:   02/21/2019                               By:

                      (Date)                                           (Authorized Representative)



NOTE
OFFICERS' FACSIMILE SIGNATURES MAY BE INSERTED HERE, ON THE POLICY COVER OR ELSE-
WHERE AT THE COMPANY'S OPTION.




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FORMS APPLICABLE TO ALL COVERAGE PARTS (SHOW NUMBERS):

AIC 9909 0317          Exclusion of Injury or Damage Caused by Animals
AIC 9908 03 I 7        Exclusion of Injury or Damage Caused by Firearms
GL 9901 0317           Commercial General Liability Coverage Part Supplemental Declarations
CG OSOi 1001           Commercial General Liability Declarations pt!
CG OSOi 1001           Commercial General Liability Declarations - pt 2
GL 9902 0317           Commercial General Liability Coverage Schedule
GL 9904 0317           Asbestos Exclusion
GL 9906 0317           Lead Contamination Exclusion
GL 9905 0317            Designated Work Exclusion
CG 0001 0413           Commercial General Liability Coverage Form
CG 0134 0803            Missouri Changes - Pollution Exclusion
CG 2106 0514            Exclusion - Access or Disclosure of Confidential or Personal Information and Data -
                       Related Liability - With Limited Bodily Injury Exception
CG 2146 0798            Abuse or Molestation Exclusion
CG 2147 1207            Employment-Related Practices Exclusion
CG 2167 1204            Fungi or Bacteria Exclusion
CG 21700115            Cap on Losses From Certified Acts of Terrorism
CG 2176 0115            Exclusion of Punitive Damages Related to a Certified Act of Terrorism
CG 2196 0305            Silica or Silica-Related Dust Exclusion
CG 2625 0405           Missouri Changes - Guaranty Association
CG 2650 0413           Missouri Changes - Medical Payments
IM 9902 0317           On Hook Physical Damage Legal Liability Schedule of Coverages
AIC 9923 0317           Schedule of Locations
IM 9906 0317            Schedule of Vehicles
CM 0001 0904           Commercial Inland Marine Conditions
CM 01181113            Missouri Changes
IM 9909 0317           Two or More Coverage Forms or Policies Issued by Us
IM 9908 0317            Pollutant - Amended Definition
IM 9901 0317           On Hook Physical Damage Legal Liability Coverage Form




Countersigned:    02/21/2019                               By:

                       (Date)                                             (Authorized Representative)


NOTE
OFFICERS' FACSIMILE SIGNATURES MAY BE INSERTED HERE, ON THE POLICY COVER OR ELSE-
WHERE AT THE COMPANY'S OPTION.




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                                                                                                      AUTHORIZATION
                                                                                                    AND ATTESTATION
                                                                                                         IL 99 00 0813




                              THIS ENDORSEMENT AUTHORIZES THE POLICY.



                         AUTHORIZATION AND ATTESTATION
This endorsement authorizes the insurance contract between you and the GUARD insurance company subsidiary listed
on the DECLARATIONS PAGE of your insurance policy.


In Witness Whereof, this page executes and fully attests to this policy. If required by state law, the policy shall not be
valid unless countersigned by our authorized representatives.


                                                   Authorizing signatures




                                                      Michael J. Dulin
                                               General Counsel and Secretary




                                                  Sy Foguel, ACAS, FILAA
                                            Chief Executive Officer and President




IL 99 00 0813                                                                                                     Page 1 of 1
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FORM Mcs-90        Revised 01/05/2017                                                                                             0MB No.: 2128-0008 Expiration: 0:1/3:1/2020

                                                                                                         / USDOT Number:                           Date Received:


                   A Federal Agency may not conduct or sponsor, and a person is not required to respond to, nor shall a person be subject to a penalty for failure to comply
                   with a collection of information subject to the requirements of the Paperwork Reduction Act unless that collection of information displays a current
                   valid 0MB Control Number. The 0MB Control Number for this information collection is 2126-0008. Public reporting for this collection of information
                   is estimated to be approximately 2 minutes per response, including the time for reviewing instructions, gathering the data needed, and completing and
                   reviewing the collection of information. All responses to this collection of information are mandatory. Send comments regarding this burden estimate or
                   any other aspect of this collection of information, including suggestions for reducing this burden to: Information Collection Clearance Officer, Federal
                   Motor Carrier Safety Administration, MC-RRA, Washington, D.C 20590.


 (~
  ..-_....._.~ United State Department of Transportation
 ~       Federal Motor Carrier Safety Administration


                    Endorsement for Motor Carrier Policies of Insurance for Public Liability
                    under Sections 29 and 30 of the Motor Carrier Act of 1980


                    FORM MCS-90
                    Issued to Glad Rents Inc.                                                                        of   -----~M~O______
                              (Motor Carrier name)                                                                        (Motor Carrier state or prauince)

                    Dated at 03:59 PM                 on this_--'2~1'--_day of February                              2019


                    Amending Policy Number:-'-'K=2.:::Gc...P..::0.=.04-'-5=-:2~4'--_ _ _ _ _ _ Effective Date: ..:.1.c./1'-'-/2=-0~1'-'9'--------


                    Name of Insurance Company: .:..A"'m:..:.G=U"-A.,,_R.:.:D"--"ln.:.:s"'u""ra.,,,n.:.:c:,e:...cCe:.o"'m"-""p=a:..:.ny..__________________

                                                                            Countersigned by: _ _ _ _ _ _ _ _ ____,,{/      _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                              (authorized company representative)
                   The policy to which this endorsement is attached provides primary or excess insurance, as indicated for the limits shown (check only one):
                       ~ This insurance is primary and the company shall not be liable for amounts in excess of$ _ _1~,_0_0_0~,0_0_0_ _ ____,for each accident.
                       0    This insurance is excess and the company shall not be liable for amounts in excess of $_ _ _ _ _ _ _ _ __,or each accident in excess of the
                            underlyinglimitof$_ _ _ _ _ _ _ ___,or each accident.
                    Whenever required by the Federal Motor Carrier Safety Administration (FMCSA), the company agrees to furnish the FMCSA a duplicate of
                    said policy and all its endorsements. The company also agrees, upon telephone request by an authorized representative of the FMCSA,
                    to verify that the policy is in force as of a particular date. The telephone number to call is: 1-800-229-5927
                   Cancellation of this endorsement may be effected by the company of the insured by giving (1) thirty-five (35) days notice in writing to
                   the other party (said 35 days notice to commence from the date the notice is mailed, proof of mailing shall be sufficient proof of notice),
                   and (2) if the insured is subject to the FMCSA's registration requirements under 49 U.S.C. 13901, by providing thirty (30) days notice to
                   the FMCSA (said 30 days notice to commence from the date the notice is received by the FMCSA at its office in Washington, DC).




                     Filings must be transmitted online via the Internet at http://www.fmcsa.dot.gov/urs.




                                                                                                                                                              (continued on next page)

                                                                             FORM Mcs-90 Pap 1 of 3
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FORM MCS-90   Revised 01/05/2017                                                                         0MB No.: 2128-0008 Expiration: 0:1/3:1/2020




   DEFINITIONS AS USED INTHIS ENDORSEMENT


              Accident includes continuous or repeated exposure to conditions or      Environmental Restoration means restitution for the loss, damage,
              which results in bodily injury, property damage, or environmental       or destruction of natural resources arising out of the accidental
              damage which the insured neither expected nor intended.                 discharge, dispersal, release or escape into or upon the land,
              Motor Vehicle means a land vehicle, machine, truck, tractor, trailer,   atmosphere, watercourse, or body of water, of any commodity
              or semitrailer propelled or drawn by mechanical power and used on       transported by a motor carrier. This shall include the cost of removal
              a highway for transporting property, or any combination thereof.        and the cost of necessary measures taken to minimize or mitigate
                                                                                      damage to human health, the natural environment, fi         shellfi
              Bodily Injury means injury to the body, sickness, or disease to any
                                                                                      and wildlife.
              person, including death resulting from any of these.
                                                                                      Public Liability means liability for bodily injury, property damage,
              Property Damage means damage to or loss of use of tangible
                                                                                      and environmental restoration.
              property.


              The insurance policy to which this endorsement is attached              or violation thereof, shall relieve the company from liability or
              provides automobile liability insurance and is amended to assure        from the payment of any final judgment, within the limits of
              compliance by the insured, within the limits stated herein, as a        liability herein described, irrespective of the financial condition,
              motor carrier of property, with Sections 29 and 30 of the Motor         insolvency or bankruptcy of the insured. However, all terms,
              Carrier Act of 1980 and the rules and regulations of the Federal        conditions, and limitations in the policy to which the endorsement
              Motor Carrier Safety Administration (FMCSA).                            is attached shall remain in full force and effect as binding between
              In consideration of the premium stated in the policy to which this      the insured and the company. The insured agrees to reimburse
              endorsement is attached, the insurer (the company) agrees to pay,       the company for any payment made by the company on account
              within the limits of liability described herein, any final judgment     of any accident, claim, or suit involving a breach of the terms of
              recovered against the insured for public liability resulting from       the policy, and for any payment that the company would not have
              negligence in the operation, maintenance or use of motor vehicles       been obligated to make under the provisions of the policy except
              subject to the financial responsibility requirements of Sections        for the agreement contained in this endorsement.
              29 and 30 of the Motor Carrier Act of 1980 regardless of whether        It is further understood and agreed that, upon failure of the
              or not each motor vehicle is specifically described in the policy       company to pay any final judgment recovered against the insured
              and whether or not such negligence occurs on any route or in            as provided herein, the judgment creditor may maintain an action
              any territory authorized to be served by the insured or elsewhere.      in any court of competent jurisdiction against the company to
              Such insurance as is afforded, for public liability, does not apply     compel such payment.
              to injury to or death of the insured's employees while engaged in       The limits of the company's liability for the amounts prescribed
              the course of their employment, or property transported by the          in this endorsement apply separately to each accident and any
              insured, designated as cargo. It is understood and agreed that          payment under the policy because of anyone accident shall not
              no condition, provision, stipulation, or limitation contained in        operate to reduce the liability of the company for the payment of
              the policy, this endorsement, or any other endorsement thereon,         final judgments resulting from any other accident.




                                                                                                                                    (continued on next page)


                                                              FORM Mcs-90 Pa,e 2 of 3
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FORM Mcs-90   Revised 01/05/2017                                                                                   0MB No.: 2128-0008 Expiration: 0:1/3:1/2020




   SCHEDULE OF LIMITS -                       PUBLIC LIABILITY


               Type of carriage                                                  Commodity transported                                        January 1, 1985

               (1) For-hire (in interstate or foreign commerce, with a           Property (nonhazardous)                                             $750,000
               gross vehicle weight rating of 10,000 or more pounds).
               (2) For-hire and Private (in interstate, foreign, or              Hazardous substances, as defined in 49 CFR 171.8.                  $5,000,000
               intrastate commerce, with a gross vehicle weight rating           transported in cargo tanks, portable tanks, or hopper-
               of 10,000 or more pounds).                                        type vehicles with capacities in excess of 3,500 water
                                                                                 gallons; or in bulk Division 1.1, 1.2, and 1.3 materials,
                                                                                 Division 2.3, Hazard Zone A, or Division 6.1, Packing
                                                                                 Group I, Hazard Zone A material; in bulk Division 2.1 or
                                                                                 2.2; or highway route controlled quantities of a Class 7
                                                                                 material, as defined in 49 CFR 173.403.
               (3) For-hire and Private (in interstate or foreign                Oil listed in 49 CFR 172.101; hazardous waste,                     $1,000,000
               commerce, in any quantity; or in intrastate commerce,             hazardous materials, and hazardous substances
               in bulk only; with a gross vehicle weight rating of               defined in 49 CFR 171.8 and listed in 49 CFR 172.101,
               10,000 or more pounds).                                           but not mentioned in (2) above or (4) below.
               (4) For-hire and Private (In interstate or foreign                Any quantity of Division 1.1, 1.2, or 1.3 material; any            $5,000,000
               commerce, with a gross vehicle weight rating of less              quantity of a Division 2.3, Hazard Zone A, or Division
               than 10,000 pounds).                                              6.1, Packing Group I, Hazard Zone A material; or
                                                                                 highway route controlled quantities of a Class 7
                                                                                 material as defined in 49 CFR 173.403.
               *The schedule of limits shown does not provide coverage. The limits shown in the schedule are for information purposes only.




                                                                  FORM Mcs-90 Pq• a of a
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                                                                        IL 00 03 09 08

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            CALCULATION OF PREMIUM
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART


The following is added:
The premium shown in the Declarations was com-
puted based on rates in effect at the time the policy
was issued. On each renewal, continuation, or anni-
versary of the effective date of this policy, we will
compute the premium in accordance with our rates
and rules then in effect.




IL 00 03 09 08                           © ISO Properties, Inc., 2007      Page 1 of 1   •
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                                                                                                    IL 00 1711 98



                           COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                     b. Give you reports on the conditions we find;
   1. The first Named Insured shown in the Declara-                     and
      tions may cancel this policy by mailing or de-                c. Recommend changes.
      livering to us advance written notice of cancel-           2. We are not obligated to make any inspections,
      lation.                                                       surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliv-                such actions we do undertake relate only to in-
      ering to the first Named Insured written notice               surability and the premiums to be charged. We
      of cancellation at least:                                     do not make safety inspections. We do not un-
      a. 10 days before the effective date of cancel-               dertake to perform the duty of any person or
          lation if we cancel for nonpayment of pre-                organization to provide for the health or safety
          mium; or                                                  of workers or the public. And we do not warrant
                                                                    that conditions:
      b. 30 days before the effective date of cancel-
          lation if we cancel for any other reason.                 a. Are safe or healthful; or
   3. We will mail or deliver our notice to the first               b. Comply with laws, regulations, codes or
      Named lnsured's last mailing address known to                     standards.
       us.                                                       3. Paragraphs 1. and 2. of this condition apply
   4. Notice of cancellation will state the effective               not only to us, but also to any rating, advisory,
      date of cancellation. The policy period will end              rate service or similar organization which
      on that date.                                                 makes insurance inspections, surveys, reports
                                                                    or recommendations.
   5. If this policy is cancelled, we will send the first
      Named Insured any premium refund due. If we                4. Paragraph 2. of this condition does not apply
      cancel, the refund will be pro rata. If the first             to any inspections, surveys, reports or recom-
      Named Insured cancels, the refund may be                      mendations we may make relative to certifica-
      less than pro rata. The cancellation will be ef-              tion, under state or municipal statutes, ordi-
      fective even if we have not made or offered a                 nances or regulations, of boilers, pressure ves-
      refund.                                                       sels or elevators.
   6. If notice is mailed, proof of mailing will be suf-     E. Premiums
      ficient proof of notice.                                   The first Named Insured shown in the Declara-
B. Changes                                                       tions:
   This policy contains all the agreements between               1. Is responsible for the payment of all premiums;
   you and us concerning the insurance afforded.                     and
   The first Named Insured shown in the Declara-                 2. Will be the payee for any return premiums we
   tions is authorized to make changes in the terms                  pay.
   of this policy with our consent. This policy's terms      F. Transfer Of Your Rights And Duties Under
   can be amended or waived only by endorsement                 This Policy
   issued by us and made a part of this policy.
                                                                 Your rights and duties under this policy may not
C. Examination Of Your Books And Records                         be transferred without our written consent except
   We may examine and audit your books and rec-                  in the case of death of an individual named in-
   ords as they relate to this policy at any time during         sured.
   the policy period and up to three years afterward.            If you die, your rights and duties will be trans-
D. Inspections And Surveys                                       ferred to your legal representative but only while
   1. We have the right to:                                      acting within the scope of duties as your legal rep-
                                                                 resentative. Until your legal representative is ap-
       a. Make inspections and surveys at any time;              pointed, anyone having proper temporary custody
                                                                 of your property will have your rights and duties
                                                                 but only with respect to that property.




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                                                                                                  IL 00 210908

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

               NUCLEAR ENERGY LIABILITY EXCLUSION
                         ENDORSEMENT
                                                 (Broad Form)


This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


1. The insurance does not apply:                             C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"          or "property damage" resulting from "hazard-
      or "property damage":                                     ous properties" of "nuclear material", if:
     (1) With respect to which an "insured" under               (1) The "nuclear material" (a) is at any "nuclear
         the policy is also an insured under a nu-                  facility" owned by, or operated by or on be-
         clear energy liability policy issued by Nu-                half of, an "insured" or (b) has been dis-
         clear Energy Liability Insurance Associa-                  charged or dispersed therefrom;
         tion, Mutual Atomic Energy Liability                   (2) The "nuclear material" is contained in
         Underwriters, Nuclear Insurance Associa-                   "spent fuel" or "waste" at any time pos-
         tion of Canada or any of their successors,                 sessed, handled, used, processed, stored,
         or would be an insured under any such pol-                 transported or disposed of, by or on behalf
         icy but for its termination upon exhaustion                of an "insured"; or
         of its limit of liability; or                          (3) The "bodily injury" or "property damage"
     (2) Resulting from the "hazardous properties"                  arises out of the furnishing by an "insured"
         of "nuclear material" and with respect to                  of services, materials, parts or equipment in
         which (a) any person or organization is re-                connection with the planning, construction,
         quired to maintain financial protection pur-               maintenance, operation or use of any "nu-
         suant to the Atomic Energy Act of 1954, or                 clear facility", but if such facility is located
         any law amendatory thereof, or (b) the "in-                within the United States of America, its terri-
         sured" is, or had this policy not been issued              tories or possessions or Canada, this ex-
         would be, entitled to indemnity from the                   clusion (3) applies only to "property dam-
         United States of America, or any agency                    age" to such "nuclear facility" and any
         thereof, under any agreement entered into                  property thereat.
         by the United States of America, or any          2. As used in this endorsement:
         agency thereof, with any person or organi-
         zation.                                             "Hazardous properties" includes radioactive, toxic
                                                             or explosive properties.
   B. Under any Medical Payments coverage, to
      expenses incurred with respect to "bodily in-          "Nuclear material" means "source material", "spe-
      jury" resulting from the "hazardous properties"        cial nuclear material" or "by-product material".
      of "nuclear material" and arising out of the op-
      eration of a "nuclear facility" by any person or
      organization.




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   "Source material", "special nuclear material", and            (c) Any equipment or device used for the proc-
   "by-product material" have the meanings given                     essing, fabricating or alloying of "special
   them in the Atomic Energy Act of 1954 or in any                   nuclear material" if at any time the total
   law amendatory thereof.                                           amount of such material in the custody of
   "Spent fuel" means any fuel element or fuel com-                  the "insured" at the premises where such
   ponent, solid or liquid, which has been used or ex-               equipment or device is located consists of
   posed to radiation in a "nuclear reactor''.                       or contains more than 25 grams of pluto-
                                                                     nium or uranium 233 or any combination
   "Waste" means any waste material (a) containing                   thereof, or more than 250 grams of uranium
   "by-product material" other than the tailings or                  235;
   wastes produced by the extraction or concentra-
   tion of uranium or thorium from any ore processed             (d) Any structure, basin, excavation, premises
   primarily for its "source material" content, and (b)              or place prepared or used for the storage or
   resulting from the operation by any person or or-                 disposal of "waste";
   ganization of any "nuclear facility" included under         and includes the site on which any of the foregoing
   the first two paragraphs of the definition of "nu-          is located, all operations conducted on such site
   clear facility".                                            and all premises used for such operations.
   "Nuclear facility" means:                                   "Nuclear reactor" means any apparatus designed
     (a) Any "nuclear reactor'';                               or used to sustain nuclear fission in a self-
                                                               supporting chain reaction or to contain a critical
     (b) Any equipment or device designed or used              mass of fissionable material.
         for (1) separating the isotopes of uranium or
         plutonium, (2) processing or utilizing "spent         "Property damage" includes all forms of radioac-
         fuel", or (3) handling, processing or packag-         tive contamination of property.
         ing "waste";




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                                                                                                    IL 02 74 0213

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         MISSOURI CHANGES -
                    CANCELLATION AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. When    this endorsement is attached to the               the following Cancellation       and    Nonrenewal
   Standard Property Policy CP 00 99, the term               Provisions apply:
   Commercial Property Coverage Part in this                 Paragraph 2. of the Cancellation Common Policy
   endorsement also refers to the Standard Property          Condition is replaced by the following:
   Policy.
                                                             2. We may cancel this policy by mailing or
B. With respect to the:                                          delivering to the first Named Insured written
   Commercial General Liability Coverage Part                    notice of cancellation. stating the actual reason
   Commercial Property - Legal Liability Coverage                for cancellation, at least:
   Form CP 00 40                                                 a. 1O days before the effective date of
   Commercial Property - Mortgageholders Errors                     cancellation if we cancel for nonpayment of
   And Omissions Coverage Form CP 00 70                             premium;
   Crime And Fidelity Coverage Part                              b. 30 days before the effective date of
   Employment-Related Practices Liability Coverage                  cancellation if cancellation is for one or
   Part                                                             more of the following reasons:
   Equipment Breakdown Coverage Part                                (1) Fraud or material misrepresentation
   Farm Liability Coverage Form                                         affecting this policy or a claim filed
   Liquor Liability Coverage Part                                       under this policy or a violation of any of
   Pollution Liability Coverage Part                                    the terms or conditions of this policy;
   Products/Completed Operations Liability Coverage                 (2) Changes in conditions after the effective
   Part                                                                 date of this policy which have materially
   Medical Professional Liability Coverage Part;                        increased the risk assumed;




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         (3) We become insolvent; or                          4. Notice of:
         (4) We involuntarily lose reinsurance for this          a. Cancellation will state the effective date of
             policy;                                                cancellation. The policy period will end on
       c. 60 days before the effective date of                      that date.
          cancellation if we cancel for any other                b. Any other action will state the effective date
          reason.                                                   of that action.
   Nonrenewal                                                 6. If notice is mailed, proof of mailing will be
   The following is added and supersedes any                      sufficient proof of notice.
   provision to the contrary:                              D. With respect to all Coverage Parts addressed in
       a. We may elect not to renew this policy by            this   endorsement,     Paragraph  5.   of the
          mailing or delivering to the first Named            Cancellation Common Policy Condition is
          Insured, at the last mailing address known          replaced by the following:
          to us, written notice of nonrenewal, stating        5. If this policy is cancelled, we will send the first
          the actual reason for nonrenewal, at least             Named Insured any premium refund due. The
          60 days prior to the effective date of the             cancellation will be effective even if we have
          nonrenewal.                                            not made or offered a refund. The following
      b. If notice is mailed, proof of mailing will be           provisions govern calculation of return
         sufficient proof of notice.                             premium:
C. With respect to the:                                          a. We will compute return premium pro rata
                                                                      and round to the next higher whole dollar
   Capital Assets Program (Output Policy) Coverage                    when this policy is:
   Part
                                                                    (1) Cancelled by us or at our request;
   Commercial Inland Marine Coverage Part
                                                                    (2) Cancelled because you no longer have
   Commercial Property Coverage Part
                                                                        a financial or insurable interest in the
   Farm Property - Other Farm Provisions Form -                         property or business operation that is
   Additional Coverages, Conditions, Definitions                        the subject of this insurance;
   Coverage Form
                                                                    (3) Cancelled but rewritten with us or in our
   Farm - Livestock Coverage Form
                                                                        company group; or
   Farm - Mobile Agricultural Machinery And
   Equipment Coverage Form;                                         (4) Cancelled after the first year, if it is a
                                                                        prepaid policy written for a term of more
   Paragraphs 1., 2., 3., 4. and 6. of             the                  than one year.
   Cancellation Common Policy Condition            are
   replaced by the following:                                     b. When this policy is cancelled at the request
                                                                     of the first Named Insured (except when
   Cancellation, Nonrenewal And Decreases In                         Paragraph a.(2), a.(3) or a.(4) applies), we
   Coverage                                                          will return 90% of the pro rata unearned
   1. The first Named Insured shown in the                           premium (or 75% of the pro rata unearned
      Declarations may cancel this policy by mailing                 premium for the Equipment Breakdown
      or delivering to us advance written notice of                  Coverage Part), rounded to the next higher
      cancellation.                                                  whole dollar.      However, when such
                                                                     cancellation takes place during the first year
   2. We may cancel, nonrenew, reduce in amount
                                                                     of a multiyear prepaid policy, we will return
      or adversely modify this policy by mailing or
                                                                     the full annual premium for the subsequent
      delivering to the first Named Insured written
                                                                     years.
      notice of this action at least:
       a. 1O days before the effective date of this                  The refund will be less than 90% of the pro
          action if due to nonpayment of premium or                  rata unearned premium (or less than 75%
                                                                     of the pro rata unearned premium for the
          evidence of incendiarism; or
                                                                     Equipment Breakdown Coverage Part) if
      b. 30 days before the effective date of this                   the refund of such amount would reduce
         action if for any other reason.                             the premium retained by us to an amount
   3. We will mail or deliver our notice to the first                less than the minimum premium for this
      Named lnsured's last mailing address known to                  policy.
      us.




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                                                                                                   IL 09 35 07 02

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 EXCLUSION OF CERTAIN COMPUTER-RELATED LOSSES
This endorsement modifies insurance provided under the following:

   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   STANDARD PROPERTY POLICY


A. We will not pay for loss ("loss") or damage caused           2. Any advice, consultation, design, evaluation,
   directly or indirectly by the following. Such loss              inspection, installation, maintenance, repair,
   ("loss") or damage is excluded regardless of any                replacement or supervision provided or done by
   other cause or event that contributes concurrently              you or for you to determine, rectify or test for,
   or in any sequence to the loss ("loss") or damage.              any potential or actual problems described in
   1. The failure, malfunction or inadequacy of:                   Paragraph A.1. of this endorsement.
      a. Any of the following, whether belonging to         B. If an excluded Cause of Loss as described in
          any insured or to others:                             Paragraph A. of this endorsement results:
         (1) Computer hardware,       including micro-          1. In a Covered Cause of Loss under the Crime
             processors;                                           and Fidelity Coverage Part, the Commercial
                                                                   Inland Marine Coverage Part or the Standard
         (2) Computer application software;                        Property Policy; or
         (3) Computer operating systems and related             2. Under the Commercial Property Coverage Part:
             software;
                                                                   a. In a "Specified Cause of Loss", or in eleva-
         (4) Computer networks;                                       tor collision resulting from mechanical
         (5) Microprocessors (computer chips) not                     breakdown, under the Causes of Loss -
             part of any computer system; or                          Special Form; or
         (6) Any other computerized or electronic                  b. In a Covered Cause of Loss under the
             equipment or components; or                              Causes Of Loss - Basic Form or the
      b. Any other products, and any services, data                   Causes Of Loss - Broad Form;
          or functions that directly or indirectly use or       we will pay only for the loss ("loss") or damage
          rely upon, in any manner, any of the items            caused by such "Specified Cause of Loss", eleva-
          listed in Paragraph A.1.a. of this endorse-           tor collision, or Covered Cause of Loss.
          ment;                                             C. We will not pay for repair, replacement or modifi-
      due to the inability to correctly recognize, proc-       cation of any items in Paragraphs A.1.a. and
      ess, distinguish, interpret or accept one or             A.1.b. of this endorsement to correct any deficien-
      more dates or times. An example is the inability          cies or change any features.
      of computer software to recognize the year
      2000.




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                                                                                                   IL 09 52 0115

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             CAP ON LOSSES FROM CERTIFIED ACTS OF
                         TERRORISM
This endorsement modifies insurance provided under the following:

   BOILER AND MACHINERY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   STANDARD PROPERTY POLICY


A. Cap On Certified Terrorism Losses                           If aggregate insured losses attributable to terrorist
   "Certified act of terrorism" means an act that is           acts certified under the Terrorism Risk Insurance
   certified by the Secretary of the Treasury, in              Act exceed $100 billion in a calendar year and we
   accordance with the provisions of the federal               have met our insurer deductible under the
   Terrorism Risk Insurance Act, to be an act of               Terrorism Risk Insurance Act, we shall not be
   terrorism pursuant to such Act. The criteria                liable for the payment of any portion of the amount
   contained in the Terrorism Risk Insurance Act for           of such losses that exceeds $100 billion, and in
   a "certified act of terrorism" include the following:       such case insured losses up to that amount are
                                                               subject to pro rata allocation in accordance with
   1. The act resulted in insured losses in excess of          procedures established by the Secretary of the
      $5 million in the aggregate, attributable to all         Treasury.
      types of insurance subject to the Terrorism
      Risk Insurance Act; and                               B. Application Of Exclusions
   2. The act is a violent act or an act that is               The terms and limitations of any terrorism
      dangerous to human life, property or                     exclusion, or the inapplicability or omission of a
      infrastructure and is committed by an individual         terrorism exclusion, do not serve to create
      or individuals as part of an effort to coerce the        coverage for any loss which would otherwise be
      civilian population of the United States or to           excluded under this Coverage Part or Policy, such
      influence the policy or affect the conduct of the        as losses excluded by the Nuclear Hazard
      United States Government by coercion.                    Exclusion or the War And Military Action
                                                               Exclusion.




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POLICY NUMBER: K2GP004524
                                                                                                   IL 09 90 0115

                MISSOURI - DISCLOSURE PURSUANT TO
                  TERRORISM RISK INSURANCE ACT
                                                  SCHEDULE

 SCHEDULE - PART I
 Terrorism Premium (Certified Acts) $6
 This premium is the total Certified Acts premium attributable to the following Coverage Part(s),
 Coverage Form(s) and/or Policy(ies):
    See Schedule of Forms and Endorsements




 Additional information, if any, concerning the terrorism premium:




 SCHEDULE - PART II
 Federal share of terrorism losses       81     % Year: 20    19
 (Refer to Paragraph B. in this endorsement.)

 Federal share of terrorism losses      80      % Year: 20    20
 (Refer to Paragraph B. in this endorsement.)

 NOTE: The premium above is for certain losses resulting from certified acts of terrorism as covered
 pursuant to coverage provisions, limitations and exclusions in this policy. You should read the
 definition in your policy carefully, but generally speaking, "certified" acts of terrorism are acts that
 exceed $5 million in aggregate losses to the insurance industry and which are subsequently declared
 by the U.S. Secretary of the Treasury as a certified terrorist act under the Terrorism Risk Insurance Act.
 Some losses resulting from certified acts of terrorism are not covered. Read your policy and
 endorsements carefully.
 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Disclosure Of Premium
   In accordance with the federal Terrorism Risk
   Insurance Act, we are required to provide you with
   a notice disclosing the portion of your premium, if
   any, attributable to coverage for terrorist acts
   certified under the Terrorism Risk Insurance Act.
   The portion of your premium attributable to such
   coverage is shown in the Schedule of this
   endorsement or in the policy Declarations.




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B. Disclosure Of Federal Participation In Payment          C. Cap On Insurer Participation In Payment Of
   Of Terrorism Losses                                        Terrorism Losses
   The United States Government, Department of the            If aggregate insured losses attributable to terrorist
   Treasury, will pay a share of terrorism losses             acts certified under the Terrorism Risk Insurance
   insured under the federal program. The federal             Act exceed $100 billion in a calendar year and we
   share equals a percentage (as shown in Part II of          have met our insurer deductible under the
   the Schedule of this endorsement or in the policy          Terrorism Risk Insurance Act, we shall not be
   Declarations) of that portion of the amount of such        liable for the payment of any portion of the amount
   insured losses that exceeds the applicable insurer         of such losses that exceeds $100 billion, and in
   retention. However, if aggregate insured losses            such case insured losses up to that amount are
   attributable to terrorist acts certified under the         subject to pro rata allocation in accordance with
   Terrorism Risk Insurance Act exceed $100 billion           procedures established by the Secretary of the
   in a calendar year, the Treasury shall not make            Treasury.
   any payment for any portion of the amount of such
   losses that exceeds $100 billion.




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          THIS ENDORSEMENT CHANGES THE POLICY - PLEASE READ IT CAREFULLY.

                TWO OR MORE COVERAGE FORMS OR POLICIES ISSUED BY US

This endorsement modifies insurance provided under the following:
        BUSINESS AUTO COVERAGE FORM
        MOTOR CARRIER COVERAGE FORM
        AUTO DEALERS COVERAGE FORM
        COMMERCIAL GENERAL LIABILITY COVERAGE FORM
        PRODUCTS/COMPLETED OPERATION LIABILITY COVERAGE FORM

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated below:
(The following needs to be completed only when this endorsement is issued subsequent to inception of the policy.)

 Named Insured
       Glad Rents, Inc.

 Endorsement Effective                                              Policy Number
         01/01/2019                                                   K2GP004524


The following CONDITION is added:

If this Coverage Form and any other Coverage Form or policy under which you are an insured, issued by us or any
companies affiliated with us, apply to the same "accident'' or "occurrence", the aggregate maximum Limit of Insurance under
all the Coverage Forms or policies shall not exceed the highest applicable Limit of Insurance under any one Coverage Form
or policy. This condition does not apply to any Coverage Form or policy issued by us or an affiliated company specifically
to apply as excess insurance over this Coverage Form.




            Authorized Representative                                                                       Date




All Other Terms and Conditions Remain Unchanged.

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                                            ~iz GUARnlflll
                                                  ~~ •
                                            Comp• lus,neuowner's•Auto•Umb1e1:


 POLICY NUMBER: K2GP004524                                                                                   COMMERCIAL AUTO
                                                                                                                CA OS 031013


                               BUSINESS AUTO DECLARATIONS
ITEM ONE


 Company Name:                AmGUARD Insurance Company -                   Producer Name:
                              A Stock Company
                                                                                KBK Insurance Group, a Division ofNSM Insurance Grour
                              P.O. BoxA-H
                                                                                1425 Sams Avenue, Suite 201
                              16 S. River Street                                Harahan, LA 70123-5553
                              Wilkes-Barre, PA 18703-0020
                              (800) 673-2465
 Named Insured: Glad Rents, Inc.                                            Mailing Address: 6800 N. Oak Trafficway
                                                                                             Gladstone, MO 64118
                                                               Policy Period
 From: 01/01/2019
 To:   01/01/2020                                       At 12:01 AM Standard Time at vour mailinq address shown above
 Previous Policy Number: K2GP901206


 Form Of Business:
  [J Corporation                                  D Limited Liability Company                       D Individual
  D Partnership                                   Oother:


In return for the payment of the premium, and subject to all the terms of this policy, we agree with you to provide
the insurance as stated in this policy.

  Premium Shown Is Payable At Inception:                     $ 25,904.00
  Audit Period (if applicable):            ~       Annually         D Semiannually D Quarterly D Monthly
                                  Endorsements Attached To This Policy
 IL 00 17 - Common Policy Conditions (IL 01 46 in Washington)
 IL 00 21 - Broad Form Nuclear Exclusion (not aoolicable in New York) (IL 01 98 in Washinqton)




                                                       Berkshire Hathaway
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                                                      GUARD                         Insuran_ce
                                                                                    Companies                  Date: 01/01/2019
with its permission.                16 South River Street• P.O. Box A-H • Wilkes-Barre, PA 18703-0020                  Page 1 of 15
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POLICY NUMBER: K2GP004524                                                          COMMERCIAL AUTO
Date:01/01/2019                                                                       CA OS 031013



                         Countersianature Of Authorized Reoresentative
Name:

Title:

Signature:

Date:




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 POLICY NUMBER: K2GP004524                                                              COMMERCIAL AUTO
 Date: 01/01/2019                                                                           CADS 031013


ITEM TWO
Schedule Of Coverages And Covered Autos

This policy provides only those coverages where a charge is shown in the premium column below. Each of these
coverages will apply only to those "autos" shown as covered "autos". "Autos" are shown as covered "autos" for
a particular coverage by the entry of one or more of the symbols from the Covered Autos section of the
Business Auto Coverage Form next to the name of the coverage.

                           Covered
        Coverages           Autos                        Limit                            Premium
  Covered Autos              7,8,9     $1,000,000                                  $      14,427.00
  Liability
  Personal Injury                      Separately Stated In Each Personal          $
  Protection                           Injury Protection Endorsement Minus
  (Or Equivalent
                                       $                             Deductible
  No-fault Coverage)
  Added Personal                       Separately Stated In Each Added             $
  Injury Protection                    Personal Injury Protection
  (Or Equivalent Added                 Endorsement
  No-fault Coverage)
  Property Protection                  Separately Stated In The Property
  Insurance                            Protection Insurance Endorsement
  (Michigan Only)                      Minus
                                       $                        Deductible
                                       For Each Accident
  Auto Medical                 7       $2,000                                      $         212.00
  Payments                                                        Each Insured
  Medical Expense And                  Separately Stated In The Medical
  Income Loss Benefits                 Expense And Income Loss Benefits
  (Virginia Only)                      Endorsement
  Uninsured Motorists -        6       $1,000,000                                  $          84.00
  Bodily Injury

  Uninsured Motorists -
  Property Damage
  Underinsured                 6       $1,000,000                                  $         256.00
  Motorists
  (When Not Included
  In Uninsured
  Motorists Coverage)




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 POLICY NUMBER: K2GP004524                                                                 COMMERCIAL AUTO
 Date: 01/01/2019                                                                             CADS 031013


ITEM TWO
Schedule Of Coverages And Covered Autos (Cont'd)


                      Covered
    Coverages          Autos                           Limit                                Premium
 Physical                7        Actual Cash Value Or Cost Of Repair,            $          3,124.00
 Damage                           Whichever Is Less, Minus
 Comprehensive
 Coverage
                                  $ See Schedule                  Deductible
                                   For Each Covered Auto, But No
                                   Deductible Applies To Loss Caused By
                                   Fire Or Lightning

                                  See Item Four for Hired or Borrowed Autos.
 Physical                         Actual Cash Value Or Cost Of Repair,            $
 Damage                           Whichever Is Less, Minus
 Specified                        $                               Deductible
 Causes Of
 Loss                              For Each Covered Auto For Loss Caused
 Coverage                          By Mischief Or Vandalism

                                  See Item Four for Hired or Borrowed Autos.
 Physical                 7       Actual Cash Value Or Cost Of Repair,            $          7,246.00
 Damage                           Whichever Is Less, Minus
 Collision                        $ See Schedule
 Coverage                                                         Deductible
                                   For Each Covered Auto

                                  See Item Four for Hired or Borrowed Autos.
 Physical                         $                               For Each        $
 Damage Towing                     Disablement Of A Private Passenger Auto
 And Labor
 Rental                                                                           $
 Reimbursement
 Business Auto                                                                    $
 Broad Form
 Endorsement

                                                                                  $



                                                   Premium For Endorsements  $                 555.00
                                                    Estimated Total Premium* $              25,904.00
 *This policy may be subject to final audit.




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 POLICY NUMBER: K2GP004524                                                                    COMMERCIAL AUTO
 Date: 01/01/2019                                                                                CADS 031013


ITEM THREE
Schedule Of Covered Autos You Own

 Covered Auto Number:    I
 Town And State Where The Covered Auto Will Be Principally Garaged:
                                                      Gladstone MO

                                           Covered Auto Description
 Year:2008       Model: FORD                                     Trade Name: F-650
 BodyTvoe:     Truck                                             Serial Number (5):
 Vehicle Identification Number (VIN):      3FRWF65H68V667462
                                                      Purchased
 Original Cost New:               $
 Actual Cost New Or Used:         $     71,900 (SA)                   0New       Oused

                                                     Classification
                    Business
                       Use
                    s=service           Size GVW,
    Radius           r=retail            GCWOr                                  Secondary
      Of          c=commercia         Vehicle Seating              Age            Rating
   Operation            I                Capacity                 Group        Classification         Code

     Local        Commercial                45,000                    12              0.750            33103
 Except For Towing, All Physical Damage Loss Is Payable To You And The Loss Payee Named Below
 According To Their Interests In The Auto At The Time Of The Loss:




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 POLICY NUMBER: K2GP004524                                                              COMMERCIAL AUTO
 Date: 01/01/2019                                                                          CADS 031013


ITEM THREE
Schedule Of Covered Autos You Own (Cont'd)

                              Coverages - Premiums, Limits And Deductibles
   (Absence of a deductible or limit entry in any column below means that the limit or deductible entry in
                           the corresponding Item Two column aoolies instead.)
         Coverages                              Limit                                Premium
 Liability                $            1,000,000                       $                     3,855

 Personal Injury          Stated In Each Personal Injury Protection          $
 Protection               Endorsement Minus
                          $                        Deductible

 Added Personal           Stated In Each Added Personal Injury        $
 Injury Protection        Protection Endorsement
 Property Protection      Stated In The Property Protection Insurance $
 Insurance (Michigan      Endorsement Minus
 Only)                    $                        Deductible

 Auto Medical             $                2,000                             $                  53
 Payments
 Medical Expense And      Stated In The Medical Expense And Income           $
 Income Loss Benefits     Loss Benefits Endorsement For Each
 (Virginia Only)          Person
 Comprehensive            Stated In Item Two Minus                           $                 800
                          $               1,000    Deductible

 Specified Causes         Stated In Item Two Minus                           $
 Of Loss                  $                           Deductible

 Collision                Stated In Item Two Minus                          $                 1,949
                          $                 1,000     Deductible

 Towing And Labor         $                           Per Disablement       $

 Rental Reimbursement     $                                                  $

 Business Auto Broad      $                                                  $
 Form Endorsement


                                            Total Premiums
 Covered Autos Liability                                      $
 Supplemental Spousal Liability (New York Only)               $
 Mandatory Personal Injury Protection (New York Only)         $
 Personal Injury Protection                                   $
 Optional Basic Economic Loss (New York Only)                 $
Added Personal Injury Protection                              $
Added Personal Injury Protection (New York Only)              $
Supplementary Uninsured/ Underinsured Motorists Coverage (New $
York Only)



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 POLICY NUMBER: K2GP004524                                                                    COMMERCIAL AUTO
 Date: 01/01/2019                                                                                CADS 031013


ITEM THREE
Schedule Of Covered Autos You Own

 Covered Auto Number:    2
 Town And State Where The Covered Auto Will Be Principally Garaged:
                                                      Gladstone MO

                                           Covered Auto Description
 Year:201 I      Model: FORD                                     Trade Name: F-550
 BodvTvpe:     Truck                                             Serial Number (S):
 Vehicle Identification Number (VIN):       I FDUF5HY8BEA6397 I
                                                      Purchased
 Original Cost New:              $
 Actual Cost New Or Used:        $      84,000 (SA)                   0New       Oused

                                                     Classification
                    Business
                       Use
                    s=service          SizeGVW,
    Radius           r=retail           GCWOr                                   Secondary
      Of          c=commercia        Vehicle Seating               Age            Rating
   Operation            I               Capacity                  Group        Classification         Code

     Local        Commercial                20,000                    9               0.750            23103
 Except For Towing, All Physical Damage Loss Is Payable To You And The Loss Payee Named Below
 According To Their Interests In The Auto At The Time Of The Loss:




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 POLICY NUMBER: K2GP004524                                                              COMMERCIAL AUTO
 Date: 01/01/2019                                                                          CADS 031013


ITEM THREE
Schedule Of Covered Autos You Own (Cont'd)

                              Coverages - Premiums, Limits And Deductibles
   (Absence of a deductible or limit entry in any column below means that the limit or deductible entry in
                           the corresponding Item Two column applies instead.)
         Coverages                              Limit                                Premium
 Liability                $            1,000,000                       $                     3,407

 Personal Injury          Stated In Each Personal Injury Protection           $
 Protection               Endorsement Minus
                          $                        Deductible

 Added Personal           Stated In Each Added Personal Injury        $
 Injury Protection        Protection Endorsement
 Property Protection      Stated In The Property Protection Insurance $
 Insurance (Michigan      Endorsement Minus
 Only)                    $                        Deductible

 Auto Medical             $                2,000                              $                 53
 Payments
 Medical Expense And      Stated In The Medical Expense And Income            $
 Income Loss Benefits     Loss Benefits Endorsement For Each
 (Virginia Only)          Person
 Comprehensive            Stated In Item Two Minus                            $                800
                          $               1,000    Deductible

 Specified Causes         Stated In Item Two Minus                            $
 Of Loss                  $                           Deductible

 Collision                Stated In Item Two Minus                            $               1,949
                          $               1,000    Deductible

 Towing And Labor         $                           Per Disablement         $

 Rental Reimbursement     $                                                   $

 Business Auto Broad      $                                                   $
 Form Endorsement


                                            Total Premiums
 Covered Autos Liability                                                  $
 Suoolemental Spousal Liability (New York Only)                           $
 Mandatory Personal Injury Protection (New York Only)                     $
 Personal Injury Protection                                               $
 Optional Basic Economic Loss (New York Only)                             $
 Added Personal Injury Protection                                         $
 Added Personal Injury Protection (New York Only)                         $
 Supplementary Uninsured/ Underinsured Motorists Coverage (New            $
 York Only)



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 POLICY NUMBER: K2GP004524                                                                    COMMERCIAL AUTO
 Date: 01/01/2019                                                                                CADS 031013


ITEM THREE
Schedule Of Covered Autos You Own

 Covered Auto Number:    3
 Town And State Where The Covered Auto Will Be Principally Garaged:
                                                      Gladstone MO

                                           Covered Auto Description
 Year:2014       Model: FORD                                     Trade Name: F550
 BodvTvpe:     Truck                                             Serial Number (S):
 Vehicle Identification Number (VIN):       1FDUF5HY3EEA94128
                                                      Purchased
 Original Cost New:               $
 Actual Cost New Or Used:         $     60,000 (SA)                   0New       Oused

                                                     Classification
                    Business
                       Use
                    s=service           Size GVW,
    Radius           r=retail            GCWOr                                  Secondary
      Of          c=commercia         Vehicle Seating              Age            Rating
   Operation            I                Capacity                 Group        Classification         Code

     Local        Commercial                20,000                    6               0.750            23103

 Except For Towing, All Physical Damage Loss Is Payable To You And The Loss Payee Named Below
 According To Their Interests In The Auto At The Time Of The Loss:




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 POLICY NUMBER: K2GP004524                                                              COMMERCIAL AUTO
 Date: 01/01/2019                                                                          CADS 031013


ITEM THREE
Schedule Of Covered Autos You Own (Cont'd)

                              Coverages - Premiums, Limits And Deductibles
   (Absence of a deductible or limit entry in any column below means that the limit or deductible entry in
                           the corresoondina Item Two column aoolies instead.)
         Coverages                              Limit                                Premium
 Liability                $            1,000,000                       $                     3,407

 Personal Injury          Stated In Each Personal Injury Protection           $
 Protection               Endorsement Minus
                          $                        Deductible

 Added Personal           Stated In Each Added Personal Injury        $
 lniurv Protection        Protection Endorsement
 Property Protection      Stated In The Property Protection Insurance $
 Insurance (Michigan      Endorsement Minus
 Only)                    $                        Deductible

 Auto Medical             $                2,000                              $                 53
 Payments
 Medical Expense And      Stated In The Medical Expense And Income            $
 Income Loss Benefits     Loss Benefits Endorsement For Each
 (Virginia Only)          Person
 Comprehensive            Stated In Item Two Minus                            $                724
                          $               1,000    Deductible

 Specified Causes         Stated In Item Two Minus                            $
 Of Loss                  $                           Deductible

 Collision                Stated In Item Two Minus                            $               1,399
                          $                 1,000     Deductible

 Towing And Labor         $                           Per Disablement         $

 Rental Reimbursement     $                                                   $

 Business Auto Broad      $                                                   $
 Form Endorsement


                                            Total Premiums
 Covered Autos Liability                                                  $
 Suoolemental Soousal Liabilitv (New York Onlvl                           $
 Mandatory Personal lniury Protection (New York Onlv)                     $
 Personal Injury Protection                                               $
 Optional Basic Economic Loss (New York Onlvl                             $
 Added Personal Injury Protection                                         $
 Added Personal Injury Protection (New York Only)                         $
 Supplementary Uninsured/ Underinsured Motorists Coverage (New            $
 York Onlvl



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 POLICY NUMBER: K2GP004524                                                                    COMMERCIAL AUTO
 Date: 01/01/2019                                                                                CADS 031013


ITEM THREE
Schedule Of Covered Autos You Own

 Covered Auto Number:    4
 Town And State Where The Covered Auto Will Be Principally Garaged:
                                                      Gladstone MO

                                           Covered Auto Description
 Year: 2017      Model: FORD                                     Trade Name: F550
 Body Type:    Truck                                             Serial Number (5):
 Vehicle Identification Number (VIN):       1FDUF5HY3HEC11856
                                                      Purchased
 Original Cost New:               $
 Actual Cost New Or Used:         $     84,000 (SA)                   ONew       Oused

                                                     Classification
                    Business
                       Use
                    s=service           SizeGVW,
    Radius           r=retail            GCWOr                                  Secondary
      Of          c=commercia         Vehicle Seating              Age            Rating
   Operation            I                Capacity                 Group        Classification         Code

    Local         Commercial                20,000                    3               0.750            23103
 Except For Towing, All Physical Damage Loss Is Payable To You And The Loss Payee Named Below
 According To Their Interests In The Auto At The Time Of The Loss:




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 POLICY NUMBER: K2GP004524                                                              COMMERCIAL AUTO
 Date: 01/01/2019                                                                          CADS 031013


ITEM THREE
Schedule Of Covered Autos You Own (Cont'd)

                              Coverages - Premiums, Limits And Deductibles
   (Absence of a deductible or limit entry in any column below means that the limit or deductible entry in
                           the correspondina Item Two column aoolies instead.)
         Coveraaes                              Limit                                Premium
 Liability                $            1,000,000                       $                     3,407

 Personal Injury          Stated In Each Personal Injury Protection         $
 Protection               Endorsement Minus
                          $                        Deductible

 Added Personal           Stated In Each Added Personal Injury        $
 lniurv Protection        Protection Endorsement
 Property Protection      Stated In The Property Protection Insurance $
 Insurance (Michigan      Endorsement Minus
 Only)                    $                        Deductible

 Auto Medical             $                2,000                            $                   53
 Payments
 Medical Expense And      Stated In The Medical Expense And Income          $
 Income Loss Benefits     Loss Benefits Endorsement For Each
 (Virginia Only)          Person
 Comprehensive            Stated In Item Two Minus                          $                  800
                          $               1,000    Deductible

 Specified Causes         Stated In Item Two Minus                          $
 Of Loss                  $                           Deductible

 Collision                Stated In Item Two Minus                          $                 1,949
                          $                 1,000     Deductible

 Towing And Labor         $                           Per Disablement       $

 Rental Reimbursement     $                                                 $

 Business Auto Broad      $                                                 $
 Form Endorsement


                                            Total Premiums
 Covered Autos Liability                                       $                             14,076
 Suoolemental Spousal Liability (New York Only)                $
 Mandatory Personal lniurv Protection (New York Only)          $
 Personal lniurv Protection                                    $
 Optional Basic Economic Loss (New York Only)                  $
 Added Personal Injury Protection                              $
 Added Personal Injury Protection (New York Only)              $
 Supplementary Uninsured/ Underinsured Motorists Coverage (New $
 York Only)



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POLICY NUMBER: K2GP004524                                                               COMMERCIAL AUTO
Date:01/01/2019                                                                            CADS 031013


Property Protection Insurance CMichiaan Only)                             $
Auto Medical Payments                                                     $                            212
Medical Exoense And Income Loss Benefits CVin:iinia Only)                 $
Comprehensive                                                             $                          3,124
Specified Causes Of Loss                                                  $
Collision                                                                 $                          7,246
Towing And Labor                                                          $
Rental Reimbursement                                                      $
Business Auto Broad Form Endorsement                                      $




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 POLICY NUMBER: K2GP004524                                                                   COMMERCIAL AUTO
 Date: 01/01/2019                                                                               CADS 031013


ITEM FOUR
Schedule Of Hired Or Borrowed Covered Auto Coverage And Premiums

    Covered Autos Liability Coverage - Cost Of Hire Rating Basis For Autos NOT Used In Your Motor
                     Carrier Operations (Other Than Mobile Or Farm Equipment)

   Covered Autos                         Estimated Annual
 Liability Coverage     State       Cost Of Hire For Each State                            Premium
 Primary Coverage               $            If Any                       $               100.00


 Excess Coverage                $                                         $

 Uninsured                      $                                         $
 Motorists - Bodily
 lniurv
 Underinsured                   $                                         $
 Motorists - Bodily
 Injury
                                            Total Hired Auto Premium $                    100.00
 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the
 hire of "autos" you don't own (not including "autos" you borrow or rent from your partners or "employees" or
 their family members). Cost of hire does not include charges for services performed by motor carriers of
 property or passenQers.




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 POLICY NUMBER: K2GP004524                                                              COMMERCIAL AUTO
 Date: 01/01/2019                                                                          CADS 031013


ITEM FIVE
Schedule For Non-ownership Covered Autos Liability


       Named lnsured's
          Business                     Ratina Basis                 Number               Premium
 Other Than Garage Service      Number Of Employees                     6       $            251.00
 Operations And Other Than      Number Of Partners                              $
 Social Service Agencies        (Active And Inactive)
 Garage Service Operations      Number Of Employees Whose                       $
                                Principal Duty Involves
                                The Operation Of Autos
                                Number Of Partners                              $
                                (Active And Inactive)
 Social Service Agencies        Number Of Employees                             $
                                Number Of Volunteers Who                        $
                                Regularly Use Autos
                                To Transport Clients
                                Number Of Partners                              $
                                (Active And Inactive)
 Uninsured Motorists - Bodily Number Of Employees                               $
 lniurv
 Underinsured Motorists -     Number Of Employees                               $
 Bodily lniurv
                  Total Non-ownership Covered Autos Liability Premium $                      251.00




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


       LESSOR -ADDITIONAL INSURED AND LOSS PAYEE
This endorsement modifies insurance provided under the following:

    BUSINESS AUTO COVERAGE FORM
    MOTOR CARRIER COVERAGE FORM
    AUTO DEALERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified
by the endorsement.

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated below:
(The following needs to be completed only when this endorsement is issued subsequent to inception of the policy.)


   Named Insured
                 Glad Rents, Inc.

   Endorsement Effective                                         Policy Number
                          01/01/2019                                           K2GP004524




                                                          SCHEDULE


 Insurance Company: AmGUARD Insurance Company


 Polley Number: K2GP004524                                 I Effective Date: 01/01/2019


 Expiration Date: 01/01/2020

 Named Insured: Glad Rents, Inc.


 Address: 6800 N. Oak Trafficway , Gladstone, MO 64118


 Additional Insured (Lessor): First Bank of Missouri


Address: 7001 North Oak Trafficway, Gladstone, MO, 64118


 Designation Or Description Of "Leased Autos": 1-2008 FORD #7462




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         Coverages                                                 Umlt Of Insurance
          Llablllty            $1,000,000                           Each "Accident''
                               Stated Amount Value, Actual Cash Value Or Cost Of Repair Whichever Is Less, Minus
     Comprehensive             $1,000                                Deductible For Each Covered "Leased Auto"


                               Stated Amount Value, Actual Cash Value Or Cost Of Repair Whichever Is Less, Minus
          Collision            $ 1,000                            Deductible For Each Covered "Leased Auto"


                               Stated Amount Value, Actual Cash Value Or Cost Of Repair Whichever Is Less, Minus
        Specified
                               $                                     Deductible For Each Covered "Leased Auto"
     Causes Of Loss

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Coverage                                                   C. Cancellation
   1. Any "leased auto" designated or described in               1. If we cancel the policy, we will mail notice to
      the Schedule will be considered a covered                      the lessor in accordance with the Cancellation
      "autd' you own and not a covered "auto" you                    Common Policy Condition.
      hire or borrow.                                            2. If you cancel the policy, we will mail notice to
   2. For a "leased auto" designated or described in                 the lessor.
      the Schedule, Who Is An Insured is changed                 3. Cancellation ends this agreement.
      to include as an "insured'' the lessor named in
      the Schedule. However, the lessor is an
                                                              D. The lessor is not liable for payment of your
                                                                 premiums.
      "insured" only for "bodily injury" or "property
      damage" resulting from the acts or omissions            E.    Additional Definition
      by:                                                           As used in this endorsement:
      a. You;                                                       "Leased autd' means an "auto" leased or rented to
      b. Any of your "employees" or agents; or                      you, including any substitute, replacement or extra
      c. Any person, except the lessor or any                       "auto" needed to meet seasonal or other needs,
           "employee" or agent of the            lessor,            under a leasing or rental agreement that requires
           operating a "leased auto" with the                       you to provide direct primary insurance for the
                                                                    lessor.
           permission of any of the above.
   3. The      coverages     provided    under      this
      endorsement apply to any "leased auto"
      described in the Schedule until the expiration
      date shown in the Schedule, or when the
      lessor or his or her agent takes possession of
      the "leased auto", whichever occurs first.
B. Loss Payable Clause
    1.   We will pay, as interest may appear, you and
         the lessor named in this endorsement for
         "loss" to a "leased autd'.
    2.   The insurance covers the interest of the lessor
         unless the "loss" results from fraudulent acts or
         omissions on your part.
    3.   If we make any payment to the lessor, we will
         obtain his or her rights against any other party.

All Other Terms and Conditions Remain Unchanged.




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POLICY NUMBER: K2GP004524                                                                   COMMERCIAL AUTO
                                                                                                CA 21041013

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         MISSOURI UNINSURED MOTORISTS COVERAGE
For a covered "auto" registered or principally garaged in, or "auto dealer operations" conducted in, Missouri, this
endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


Named Insured: Glad Rents, Inc.

Endorsement Effective Date: 01/01/2019


                                                   SCHEDULE


Limit Of Insurance:    $ 1,000,000                                    Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Coverage                                                 B. Who Is An Insured
   1. We will pay all sums the "insured" is legally            If the Named Insured        is designated    in   the
      entitled to recover as compensatory damages              Declarations as:
      from the owner or driver of an "uninsured motor          1. An individual, then the following are "insureds":
      vehicle". The damages must result from "bodily
      injury" sustained by the "insured" caused by an              a. The    Named Insured and any "family
      "accident". The owner's or driver's liability for                members". However, this does not include
      these damages must result from the                               any "family member", other than the Named
      ownership, maintenance or use of the                             lnsured's spouse, who owns an "auto".
      "uninsured motor vehicle".                                  b. Anyone else "occupying" a covered "auto"
   2. No judgment for damages arising out of a "suit"                or a temporary substitute for a covered
      brought against the owner or operator of an                    "auto". The covered "auto" must be out of
      "uninsured motor vehicle" is binding on us                     service because of its breakdown, repair,
      unless we have:                                                servicing, "loss" or destruction.
      a. Received    reasonable notice of the                      c. Anyone for damages he or she is entitled to
         pendency of the "suit" resulting in the                      recover because of "bodily injury" sustained
         judgment; and                                                by another "insured".
      b. Had a reasonable opportunity to protect our           2. A   partnership, limited liability company,
         interests in the "suit".                                 corporation or any other form of organization,
                                                                  then the following are "insureds":




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      a. Anyone "occupying" a covered "auto" or a                  However, if "bodily injury" to which this
         temporary substitute for a covered "auto".                coverage applies is sustained by any person
         The covered "auto" must be out of service                 other than an individual Named Insured or any
         because of its breakdown, repair, servicing,              "family member", the Limit of Insurance shown
         "loss" or destruction.                                    in the Schedule or Declarations for this
      b. Anyone for damages he or she is entitled to               coverage is also the most we will pay
         recover because of "bodily injury" sustained              regardless of the number of covered "autos".
         by another "insured".                                 2. If there are two or more covered "autos" that
C. Exclusions                                                      are not trailers, and "bodily injury" is sustained
                                                                   by an individual Named Insured or any "family
   This insurance does not apply to any of the                     member'', our Limit of Insurance for any one
   following:                                                      "accident" is the sum of the limits applicable to
   1. Any claim settled without our consent, if the                each covered "auto" which is not a "trailer''.
      settlement or judgment prejudices our right to               Subject to this maximum limit of liability for all
      recover payment. However, this exclusion                     damages:
      applies only to the extent that the limits of                a. The most we will pay for all damages
      liability for Uninsured Motorists Coverage                      sustained in such "accident" by an "insured"
      exceed the minimum limits of liability required                 other than an individual Named Insured or
      by the financial responsibility law of Missouri.                any "family member'' is that "insured's" pro
   2. The direct or indirect benefit of any insurer or                rata share of the limit shown in the
      self-insurer under any workers' compensation,                   Schedule or Declarations for this coverage
      disability benefits or similar law.                             at the time of the "accident".
   3. "Bodily injury" sustained by any person while                b. An individual Named Insured or any "family
      "occupying" or struck by any vehicle owned by                   member'' who sustains "bodily injury" in
      the Named Insured or, if the Named Insured is                   such "accident" will also be entitled to a pro
      an individual, any "family member", that is not a               rata share of the limit described in
      covered "auto". However, this exclusion does                    Paragraph a. above.
      not apply to an individual Named Insured.                   A person's pro rata share is the proportion that
   4. Anyone using a vehicle without a reasonable                 that person's damages bears to the total
      belief that the person is entitled to do so.                damages sustained by all "insureds".
   5. Punitive or exemplary damages.                           3. No one will be entitled to receive duplicate
   6. "Bodily injury" arising directly or indirectly out          payments for the same elements of "loss"
      of:                                                         under this Coverage Form and any Liability
                                                                  Coverage form attached to this Coverage Part.
      a. War, including undeclared or civil war;
                                                                  We will not make a duplicate payment under
      b. Warlike action by a military force, including            this coverage for any element of "loss" for
          action in hindering or defending against an             which payment has been made by or for
          actual or expected attack, by any                       anyone who is legally responsible. However,
          government, sovereign or other authority                this does not include any amounts paid or
          using military personnel or other agents; or            payable under medical payments or any
      c. Insurrection, rebellion, revolution, usurped             workers' compensation, disability benefits or
          power, or action taken by governmental                  similar law.
          authority in hindering or defending against       E. Changes In Conditions
          any of these.
                                                               The Conditions are changed for Missouri
D. Limit Of Insurance                                          Uninsured Motorists Coverage as follows:
   1. Regardless of the number of "insureds",                  1. The reference in Other Insurance in the Auto
      premiums paid, claims made or vehicles                      Dealers and Business Auto Coverage Forms
      involved in the "accident", the most we will pay            and Other Insurance - Primary And Excess
      for all damages resulting from any one                      Insurance Provisions in the Motor Carrier
      "accident" is the limit of Uninsured Motorists              Coverage Form to "other collectible insurance"
      Coverage shown in the Schedule or                           applies only to other collectible uninsured
      Declarations.                                               motorists insurance.




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  2. Duties In The Event Of Accident, Claim, Suit         F. Additional Definitions
     Or Loss in the Business Auto and Motor                  As used in this endorsement:
     Carrier Coverage Forms and Duties In The
     Event Of Accident, Claim, Offense, Suit,                1. "Family member'' means a person related to an
     Loss Or Acts, Errors Or Omissions in the                   individual Named Insured by blood, marriage
     Auto Dealers Coverage Form are changed by                  or adoption, who is a resident of such Named
     adding the following:                                      lnsured's household, including a ward or foster
                                                                child.
     a. Promptly notify the police if a hit-and-run
        driver is involved; and                              2. "Occupying" means in, upon, getting in, on, out
                                                                or off.
     b. Promptly send us copies of the legal papers
        if a "suit" is brought.                              3. "Uninsured motor vehicle" means a land motor
                                                                vehicle or "trailer'':
  3. Transfer Of Rights Of Recovery Against
     Others To Us is changed by adding the                       a. For which no liability bond or policy at the
     following:                                                      time of an "accident" provides at least the
                                                                     amounts required by the applicable law
     If we make any payment and the "insured"                        where a covered "auto" is principally
     recovers from another party, the "insured" shall                garaged;
     hold the proceeds in trust for us and pay us
     back the amount we have paid.                               b. For which an insuring or bonding company
                                                                     denies coverage or is or becomes
  4. The following condition is added:                               insolvent; or
     Arbitration                                                 c. That is a hit-and-run vehicle and neither the
     a. If we and an "insured" disagree whether the                  driver nor owner can be identified. The
        "insured" is legally entitled to recover                     vehicle must either:
         damages from the owner or driver of an                     (1) Hit an "insured", a covered "auto" or a
        "uninsured motor vehicle" or do not agree                        vehicle an "insured" is "occupying"; or
         as to the amount of damages that are
         recoverable by that "insured", both parties                (2) Cause "bodily injury" to an "insured"
         may agree to an arbitration and to be bound                     without hitting an "insured", a covered
         by the results of that arbitration. However,                    "auto" or a vehicle an "insured" is
        disputes concerning coverage under this                          "occupying". The facts of the "accident"
        endorsement may not be arbitrated. If both                       must be proved. We may request
         parties so agree, then each party will select                   supporting     evidence     beyond     the
        an arbitrator. The two arbitrators will select                   testimony of a person making a claim
        a third. If they cannot agree within 30 days,                    under this or any similar coverage to
        either may request that selection be made                        support the validity of such claim.
         by a judge of a court having jurisdiction.              However, "uninsured motor vehicle" does not
         Each party will pay the expenses it incurs              include any vehicle:
        and bear the expenses of the third arbitrator
                                                                 a. Owned or operated by a self-insurer under
        equally.
                                                                     any applicable motor vehicle law, except a
     b. Unless both parties agree otherwise,                         self-insurer who is or becomes insolvent
        arbitration will take place in the county in                 and cannot provide the amounts required
        which the "insured" lives. Local rules of law                by that motor vehicle law; or
        as to arbitration procedure and evidence
                                                                 b. Designed for use mainly off public roads
        will apply. A decision agreed to by two of
                                                                     while not on public roads.
        the arbitrators will be binding.
  5. Two Or More Coverage Forms Or Policies
     Issued By Us does not apply.




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POLICY NUMBER: K2GP004524                                                                   COMMERCIAL AUTO
                                                                                                CA 31040218

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               MISSOURI UNDERINSURED
                                MOTORISTS COVERAGE
For a covered "auto" licensed or principally garaged in, or "auto dealer operations" conducted in, Missouri, this
endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


Named Insured: Glad Rents, Inc.

Endorsement Effective Date: 01/01/2019


                                                     SCHEDULE


Limit Of Insurance: $ 1,000,000                                       Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Coverage                                                        b. A tentative settlement has been made
   1. We will pay all sums the "insured" is legally                   between an "insured" and the insurer of the
      entitled to recover as compensatory damages                     "underinsured motor vehicle", and we:
      from the owner or driver of an "underinsured                    (1) Have been given prompt written notice
      motor vehicle". The damages must result from                        of such tentative settlement; and
      "bodily injury" sustained by the "insured"                      (2) Advance payment to the "insured" in an
      caused by an "accident". The owner's or                             amount equal to the tentative settlement
      driver's liability for these damages must result                    within 30 days after receipt of
      from the ownership, maintenance or use of the                       notification.
      "underinsured motor vehicle".
                                                                3. Any judgment for damages arising out of a
   2. We will pay under this coverage only if                      "suit" brought without our written consent is not
      Paragraph a. or b. below applies:                            binding on us.
      a.   The limit of any applicable liability bonds or
           policies has been exhausted by payment of
           judgments or settlements; or




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B. Who Is An Insured                                               c. Insurrection, rebellion, revolution, usurped
  If the Named Insured is designated in the                           power, or action taken by governmental
  Declarations as:                                                    authority in hindering or defending against
                                                                      any of these.
   1. An individual, then the following are "insureds":
                                                            D. Limit Of Insurance
      a. The Named Insured and any "family
         members". However, this does not include              1. Regardless of the number of covered "autos",
         any "family member", other than the Named                "insureds", premiums paid, claims made or
         lnsured's spouse, who owns an "auto".                    vehicles involved in the "accident", the most we
                                                                  will pay for all damages resulting from any one
      b. Anyone else "occupying" a covered "auto"                 "accident" is the limit of Underinsured Motorists
         or a temporary substitute for a covered                  Coverage shown in the Schedule or
         "auto". The covered "auto" must be out of                Declarations.
         service because of its breakdown, repair,
         servicing, "loss" or destruction.                      2. The Limit of Insurance under this coverage
                                                                   shall be reduced by all sums paid for "bodily
      c. Anyone for damages he or she is entitled to               injury" by or for anyone who is legally
         recover because of "bodily injury" sustained              responsible, including all sums paid under this
         by another "insured".                                     Coverage Form's Covered Autos Liability
   2. A partnership, limited liability company,                    Coverage.
      corporation or any other form of organization,           3. We will not pay for any element of "loss" if a
      then the following are "insureds":                          person is entitled to receive duplicate payment
      a. Anyone "occupying" a covered "auto" or a                 under any of the following or similar law:
         temporary substitute for a covered "auto".                a. Workers' compensation law; or
         The covered "auto" must be out of service
         because of its breakdown, repair, servicing,              b. Disability benefits law.
         "loss" or destruction.                                4. No one will be entitled to receive duplicate
      b. Anyone for damages he or she is entitled to              payments for the same elements of "loss"
         recover because of "bodily injury" sustained             under this coverage and this policy's Covered
         by another "insured".                                    Autos Liability Coverage.
C. Exclusions                                                  5. We will not make a duplicate payment under
                                                                  this coverage for any element of "loss" for
  This insurance does not apply to any of the                     which payment has been made by or for
  following:                                                      anyone who is legally responsible.
   1. The direct or indirect benefit of any insurer or      E. Changes In Conditions
      self-insurer under any workers' compensation,
      disability benefits or similar law.                      The Conditions are changed for Missouri
                                                               Underinsured Motorists Coverage as follows:
   2. "Bodily injury" sustained by any person while
      "occupying" or struck by any vehicle owned by            1. Other Insurance in the Auto Dealers and
      the Named Insured or if the Named Insured is                Business Auto Coverage Forms and Other
      an individual, any "family member", that is not a           Insurance - Primary And Excess Insurance
      covered "auto". However, this exclusion does                Provisions in the Motor Carrier Coverage
      not apply to an individual Named Insured.                   Form are replaced by the following:
   3. Anyone using a vehicle without a reasonable                 If there is other applicable insurance available
     belief that the person is entitled to do so.                 under one or more policies or provisions of
                                                                  coverage:
  4. Punitive or exemplary damages.
                                                                   a. The maximum recovery under all Coverage
  5. "Bodily injury" arising directly or indirectly out               Forms or policies combined may equal but
     of:                                                              not exceed the highest applicable limit for
     a. War, including undeclared or civil war;                       any one vehicle under any Coverage Form
                                                                      or policy providing coverage on either a
     b. Warlike action by a military force, including
                                                                      primary or excess basis.
         action in hindering or defending against an
         actual or expected attack, by any                        b. Subject to all other provisions of this policy,
         government, sovereign or other authority                    including but not limited to:
         using military personnel or other agents; or                (1) Exclusion C.2. of this endorsement;
                                                                     (2) Paragraph D. Limit Of Insurance of this
                                                                         endorsement;




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       (3) Paragraph E.1.a. of the Other Insurance                 Our rights do not apply under this prov1s1on
           Condition of this endorsement; and                      with respect to damages caused by an
       (4) The Two Or More Coverage Forms Or                       "accident" with an "underinsured motor vehicle"
            Policies Issued By Us Condition of this                ifwe:
            policy;                                                a. Have been given prompt written notice of a
        any insurance we provide with respect to a                    tentative settlement between an "insured"
        vehicle the Named Insured does not own                        and the insurer of an "underinsured motor
        shall be excess over any other collectible                    vehicle"; and
        underinsured motorists insurance providing                 b. Fail to advance payment to the "insured" in
        coverage on a primary basis.                                  an amount equal to the tentative settlement
     c. If the coverage under this Coverage Form                      within 30 days after receipt of notification.
        is provided:                                               If we advance payment to the "insured" in an
       (1) On a primary basis, we will pay only our                amount equal to the tentative settlement within
           share of the loss that must be paid                     30 days after receipt of notification:
           under insurance providing coverage on                   a. That payment will be separate from any
           a primary basis. Our share is the                          amount the "insured" is entitled to recover
           proportion that our limit of liability bears               under the provisions of Underinsured
           to the total of all applicable limits of                   Motorists Coverage; and
           liability for coverage on a primary basis.              b. We also have a right to         recover the
       (2) On an excess basis, we will pay only our                   advanced payment.
           share of the loss that must be paid                 4. The following condition is added:
           under insurance providing coverage on
           an excess basis. Our share is the                       Arbitration
           proportion that our limit of liability bears            a. If we and an "insured" disagree whether the
           to the total of all applicable limits of                   "insured" is legally entitled to recover
           liability for coverage on an excess basis.                 damages from the owner or driver of an
  2. Duties In The Event Of Accident, Claim, Suit                     "underinsured motor vehicle" or do not
     Or Loss in the Business Auto and Motor                           agree as to the amount of damages that are
     Carrier Coverage Forms and Duties In The                         recoverable by that "insured", both parties
     Event Of Accident, Claim, Offense, Suit,                         may agree to an arbitration and to be bound
     Loss Or Acts, Errors Or Omissions in the                         by the results of that arbitration. However,
    Auto Dealers Coverage Form are changed by                         disputes concerning coverage under this
    adding the following:                                             endorsement may not be arbitrated. If both
                                                                      parties so agree, then each party will select
     a. Promptly notify the police if a hit-and-run                   an arbitrator. The two arbitrators will select
        driver is involved;                                           a third. If they cannot agree within 30 days,
     b. Promptly send us copies of the legal papers                   either may request that selection be made
        if a "suit" is brought; and                                   by a judge of a court having jurisdiction.
     c. A person seeking Underinsured Motorists                       Each party will pay the expenses it incurs
        Coverage must also promptly notify us in                      and bear the expenses of the third arbitrator
        writing of a tentative settlement between                     equally.
        the "insured" and the insurer of the                       b. Unless both parties agree otherwise,
        "underinsured motor vehicle" and allow us                     arbitration will take place in the county in
        to advance payment to that "insured" in an                    which the "insured" lives. Local rules of law
        amount equal to the tentative settlement                      as to arbitration procedure and evidence
        within 30 days after receipt of notification to               will apply. A decision agreed to by two of
        preserve our rights against the insurer,                      the arbitrators will be binding.
        owner or operator of such "underinsured             F. Additional Definitions
        motor vehicle".
                                                               As used in this endorsement:
  3. Transfer Of Rights Of Recovery Against
     Others To Us is changed by adding the                     1. "Family member'' means a person related to an
    following:                                                    individual Named Insured by blood, marriage
                                                                  or adoption, who is a resident of such Named
    If we make any payment and the "insured"                      lnsured's household, including a ward or foster
    recovers from another party, the "insured" shall              child.
    hold the proceeds in trust for us and pay us
    back the amount we have paid.




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   2. "Occupying" means in, upon, getting in, on, out               However, "underinsured motor vehicle" does
      or off.                                                       not include any vehicle:
   3. "Underinsured motor vehicle" means a land                     a. Owned or operated by a self-insurer under
      motor vehicle or "trailer" for which a "bodily                   any applicable motor vehicle law; or
      injury" liability bond or policy applies at the time          b. Designed for use mainly off public roads
      of an "accident", but the amount paid for                        while not on public roads.
      "bodily injury" under that bond or policy to an
      "insured" is not enough to pay the full amount
      the "insured" is legally entitled to recover as
      damages.




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POLICY NUMBER: K2GP004524                                                                  COMMERCIAL AUTO
                                                                                               CA 99 28 10 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          STATED AMOUNT INSURANCE
This endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.

Named Insured: Glad Rents, Inc.

Endorsement Effective Date: 01/01/2019


                                                  SCHEDULE

 The insurance provided by this endorsement is reduced bv the followina deductible(s):
  Vehicle Number         Coverage             Limit Of Insurance And Deductible                  Premium
   See Schedule of                      $                         Limit Of Insurance       $
    Covered Autos
                                        $                         Deductible

                                          $                         Limit Of Insurance     $
                                          $                         Deductible

                                          $                         Limit Of Insurance     $
                                          $                         Deductible
                                                                         Total Premium $
NOTE:
The amount shown in the Schedule or in the Declarations is not necessarily the amount you will receive at the
time of "loss" for the described property. Please refer to the Limits Of Insurance and Deductible provisions which
follow.

                                Designation Or Description Of Covered "Autos"
         Vehicle Number                           Model Year                      Trade Name And Model
See Schedule of Covered Autos



Information required to complete this Schedule, if not shown above, will be shown in the Declarations.




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A. This endorsement provides only those coverages             3. If a repair or replacement results in better than
   where a premium is shown in the Schedule. Each                like kind or quality, we will not pay for the
   of these coverages applies only to the vehicles               amount of the betterment.
   shown as covered "autos".                              C. Deductible
B. For a covered "auto" described in the Schedule,            1. For each covered "auto", our obligation to pay:
   Physical Damage Coverage - Limits               Of
   Insurance is replaced by the following:                       a. The actual cash value of the damaged or
                                                                    stolen property as of the time of the "loss"
   Limits Of Insurance                                              will be reduced by the applicable deductible
   1. The most we will pay for any one "loss" to any                shown in the Schedule;
      one covered "auto" is the least of the following           b. The cost of repairing or replacing the
      amounts:                                                      damaged or stolen property with property of
      a. The actual cash value of the damaged or                    like kind and quality will be reduced by the
         stolen property as of the time of the "loss";              applicable deductible shown in the
      b. The cost of repairing or replacing the                     Schedule; or
         damaged or stolen property with property of             c. The damages for "loss" that would
         like kind and quality; or                                  otherwise be payable will be reduced by the
      c. The Limit Of Insurance shown in the                        applicable deductible shown in the
         Schedule.                                                  Schedule prior to the application of the Limit
                                                                    Of Insurance shown in the Schedule.
   2. An adjustment for depreciation and physical
      condition will be made in determining actual            2. Any Comprehensive Coverage Deductible
      cash value in the event of a total "loss".                 shown in the Schedule does not apply to "loss"
                                                                 caused by fire or lightning.




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POLICY NUMBER: K2GP004524                                                                  COMMERCIAL AUTO
                                                                                               CA 99 3710 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          GARAGEKEEPERS COVERAGE
This endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


Named Insured: Glad Rents, Inc.

Endorsement Effective Date: 01/01/2019


                                                  SCHEDULE

Location Number            Address Where You Conduct Garaae Operations (Main Location)
        1       6800 North Oak Trafficway, Gladstone, MO, 64118


    Coverages                     Limit Of Insurance And Deductible                            Premium
Comprehensive        $100,000                   Limit Of Insurance                    $ 330
                     $ 500                      Deductible For Each Customer's
                                                Auto For Loss Caused By Theft
                                                Or Mischief Or Vandalism
                     $2,500                     Maximum Deductible For
                                                Loss Caused By Theft Or Mischief
                                                Or Vandalism In Any One Event
                                                   OR
                     $                          Limit Of Insurance
                     $                          Deductible For All Perils For Each
                                                Customer's Auto
                    $                           Maximum Deductible For All
                                                Loss In Any One Event




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Specified         $                      Limit Of Insurance                   $
Causes Of Loss    $                      Deductible For Each Customer's
                                         Auto For Loss Caused By Theft
                                         Or Mischief Or Vandalism
                  $                      Maximum Deductible For Loss
                                         Caused By Theft Or Mischief Or
                                         Vandalism In Any One Event
                                             OR
                  $                      Limit Of Insurance
                  $                      Deductible For All Perils For Each
                                         Customer's Auto
                  $                      Maximum Deductible For All Loss
                                         In Any One Event
Collision         $100,000               Limit Of Insurance                   $ 225
                  $500                   Deductible For Each Customer's
                                         Auto


Location Number                   Address Where You Conduct Garage Operations



    Coveraoes                Limit Of Insurance And Deductible                        Premium
Comprehensive     $                      Limit Of Insurance                   $
                  $                      Deductible For Each Customer's
                                         Auto For Loss Caused By Theft
                                         Or Mischief Or Vandalism
                  $                      Maximum Deductible For
                                         Loss Caused By Theft Or Mischief
                                         Or Vandalism In Any One Event
                                             OR
                  $                      Limit Of Insurance
                  $                      Deductible For All Perils For Each
                                         Customer's Auto
                  $                      Maximum Deductible For All
                                         Loss In Any One Event
Specified         $                      Limit Of Insurance                   $
Causes Of Loss    $                      Deductible For Each Customer's
                                         Auto For Loss Caused By Theft
                                         Or Mischief Or Vandalism
                  $                      Maximum Deductible For Loss
                                         Caused By Theft Or Mischief Or
                                         Vandalism In Any One Event
                                             OR
                  $                      Limit Of Insurance
                  $                      Deductible For All Perils For Each
                                         Customer's Auto
                  $                      Maximum Deductible For All Loss
                                         In Any One Event




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Collision           $                          Limit Of Insurance                     $
                    $                          Deductible For Each Customer's
                                               Auto


Location Number                         Address Where You Conduct Garage Operations



   Coverages                      Limit Of Insurance And Deductible                            Premium
Comprehensive       $                          Limit Of Insurance                     $
                    $                          Deductible For Each Customer's
                                               Auto For Loss Caused By Theft
                                               Or Mischief Or Vandalism
                    $                          Maximum Deductible For
                                               Loss Caused By Theft Or Mischief
                                               Or Vandalism In Any One Event
                                                  OR
                    $                          Limit Of Insurance
                    $                          Deductible For All Perils For Each
                                               Customer's Auto
                    $                          Maximum Deductible For All Loss
                                               In Anv One Event
Specified           $                          Limit Of Insurance                 $
Causes Of Loss      $                          Deductible For Each Customer's
                                               Auto For Loss Caused By Theft
                                               Or Mischief Or Vandalism
                    $                          Maximum Deductible For Loss
                                               Caused By Theft Or Mischief Or
                                               Vandalism In Any One Event
                                                   OR
                    $                          Limit Of Insurance
                    $                          Deductible For All Perils For Each
                                               Customer's Auto
                    $                          Maximum Deductible For All Loss
                                               In Any One Event
Collision           $                          Limit Of Insurance                 $
                    $                          Deductible For Each Customer's
                                               Auto



Total Garagekeepers Premium For All Locations                                        1$ 555
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.




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Direct Coverage Options
Indicate below with an "X" which, if any, Direct Coverage Option is selected.


D Excess Insurance
    If this box is checked, Garagekeepers Coverage remains applicable on a legal liability basis. However,
    coverage also applies without regard to your or any other "insured's" legal liability for "loss" to a "customer's
    auto" on an excess basis over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the "customer's auto's" owner.


D Primary Insurance
    If this box is checked, Garagekeepers Coverage is changed to apply without regard to your or any other
    "insured's" legal liability for "loss" to a "customer's auto" and is primary insurance.


A. This endorsement provides only those coverages:                2. We will have the right and duty to defend any
   1. Where a Limit Of Insurance and a premium are                   "insured" against a "suit" asking for these
      shown for that coverage in the Schedule; and                   damages. However, we have no duty to defend
                                                                     any "insured" against a "suit" seeking damages
   2. For the location shown in the Schedule.                        for "loss" to which this insurance does not
B. Coverage                                                          apply. We may investigate and settle any claim
                                                                     or "suit" as we consider appropriate. Our duty
   1. We will pay all sums the "insured" legally must
                                                                     to defend or settle ends for a coverage when
      pay as damages for "loss" to a "customer's
                                                                     the Limit of Insurance for that coverage has
      auto" or "customer's auto" equipment left in the
                                                                     been exhausted by payment of judgments or
      "insured's" care while the "insured" is
                                                                     settlements.
      attending, servicing, repairing, parking or
      storing it in your "garage operations" under:               3. Who Is An Insured
      a. Comprehensive Coverage                                      The following are "insureds" for "loss" to
                                                                     "customer's autos" and "customer's auto"
          From any cause except:
                                                                     equipment:
         (1) The "customer's auto's" collision with
             another object; or
                                                                     a. You.
                                                                     b. Your partners and their spouses, if you are
         (2) The "customer's auto's" overturn.
                                                                        a partnership, but only with respect to the
      b. Specified Causes Of Loss Coverage                              conduct of your "garage operations".
          Caused by:                                                 c. Your members, if you are a limited liability
         (1) Fire, lightning or explosion;                               company, but only with respect to the
                                                                         conduct of your "garage operations". Your
         (2) Theft; or
                                                                         managers are also "insureds", but only with
         (3) Mischief or vandalism.                                      respect to their duties as your managers.
       c. Collision Coverage                                         d. Your "executive officers" and directors, if
          Caused by:                                                    you are an organization other than a
                                                                        partnership or limited liability company, but
         (1) The "customer's auto's" collision with                     only with respect to their duties as your
             another object; or                                         officers or directors. Your stockholders are
         (2) The "customer's auto's" overturn.                          also "insureds", but only with respect to
                                                                        their liability as stockholders.




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      e. Your "employees", other than either your                  d. Faulty Work
         "executive officers" (if you are an                          Faulty "work you performed".
         organization other than a partnership or
         limited liability company) or your managers           2. We will not pay for "loss" to any of the
         (if you are a limited liability company), but            following:
         only for acts within the scope of                         a. Tape decks or other sound-reproducing
         employment by you or while performing                        equipment unless permanently installed in a
         their duties related to the conduct of your                  "customer's auto".
         "garage operations".
                                                                   b. Tapes, records or other sound-reproducing
  4. Coverage Extensions                                              devices designed for use with sound-
     The following applies as Supplementary                           reproducing equipment.
     Payments. We will pay for the "insured":                      c. Sound-receiving equipment designed for
     a. All expenses we incur.                                        use as a citizens band radio, two-way
                                                                      mobile radio or telephone or scanning
     b. The costs of bonds to release attachments                     monitor receiver, including its antennas and
        in any "suit" against an "insured" we                         other accessories, unless permanently
        defend, but only for bond amounts within                      installed in the dash or console opening
        our Limit of Insurance.                                       normally used by the "customer's auto"
     c. All reasonable expenses incurred by the                       manufacturer for the installation of a radio.
        "insured" at our request, including actual                 d. Any device designed or used to detect
        loss of earnings up to $250 a day because                     speed-measuring equipment, such as radar
        of time off from work.                                        or laser detectors and any jamming
     d. All court costs taxed against the "insured" in                apparatus intended to elude or disrupt
        any "suit" against an "insured" we defend.                    speed-measuring equipment.
        However, these payments do not include                 3. We will not pay for "loss" caused by or resulting
        attorneys' fees or attorneys' expenses                    from the following. Such "loss" is excluded
        taxed against the "insured".                              regardless of any other cause or event that
      e. All interest on the full amount of any                   contributes concurrently or in any sequence to
         judgment that accrues after entry of the                 the "loss":
         judgment in any "suit" against an "insured"               a. War, including undeclared or civil war;
         we defend; but our duty to pay interest ends
         when we have paid, offered to pay, or                     b. Warlike action by a military force, including
         deposited in court the part of the judgment                  action in hindering or defending against an
         that is within our Limit of Insurance.                       actual or expected attack, by any
                                                                      government, sovereign or other authority
     These payments will not reduce the Limit of                      using military personnel or other agents; or
     Insurance.
                                                                   c. Insurrection, rebellion, revolution, usurped
C. Exclusions                                                         power or action taken by governmental
   1. This insurance does not apply to any of the                     authority in hindering or defending against
      following:                                                      any of these.
      a. Contractual                                        D. Limits Of Insurance And Deductibles
         Liability resulting from any contract or              1. Regardless of the number of "customer's
         agreement by which the "insured" accepts                 autos", "insureds", premiums paid, claims
         responsibility for "loss". But this exclusion            made or "suits" brought, the most we will pay
         does not apply to liability for "loss" that the          for each "loss" at each location is the
         "insured" would have in the absence of the               Garagekeepers Coverage Limit Of Insurance
         contract or agreement.                                   shown in the Schedule for that location. Prior to
     b. Theft                                                     the application of this limit, the damages for
                                                                  "loss" that would otherwise be payable will be
         "Loss" due to theft or conversion caused in              reduced by the applicable deductibles for "loss"
         any way by you, your "employees" or by                   caused by:
         your stockholders.
                                                                   a. Collision; or
     c. Defective Parts
         Defective parts or materials.




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      b. With respect to Garagekeepers Coverage                2. "Loss" means direct and accidental loss or
         Comprehensive or Specified Causes Of                     damage and includes any resulting loss of use.
         Loss Coverage:                                        3. "Garage operations" means the ownership,
         (1) Theft or mischief or vandalism; or                   maintenance or use of locations for the
         (2) All perils.                                          purpose of a business of selling, servicing,
                                                                  repairing, parking or storing "customer's autos"
   2. The maximum deductible stated in the                        and that portion of the roads or other accesses
      Schedule for        Garagekeepers      Coverage             that    adjoin    these     locations.  "Garage
      Comprehensive or Specified Causes Of Loss                   operations" also includes all operations
      Coverage is the most that will be deducted for              necessary or incidental to the performance of
      all "loss" in any one event caused by:                      garage operations.
      a. Theft or mischief or vandalism; or                    4. "Work you performed" includes:
      b. All perils.                                              a. Work that someone performed on your
   3. To settle a claim or "suit", we may pay all or                 behalf; and
      any part of the deductible. If this happens you             b. The providing of or failure to provide
      must reimburse us for the deductible or that                   warnings or instructions.
      part of the deductible that we paid.
E. Additional Definitions
   As used in this endorsement:
   1. "Customer's auto" means a land motor vehicle,
      "trailer" or semitrailer lawfully within your
      possession for service, repair, storage or
      safekeeping, with or without the vehicle
      owner's knowledge or consent. A "customer's
      auto" also includes any such vehicle left in your
      care by your "employees" and members of
      their households who pay for services
      performed.




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POLICY NUMBER: K2GP004524                                                                  COMMERCIAL AUTO
                                                                                               CA 99401013

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    EXCLUSION OR EXCESS COVERAGE
                     HAZARDS OTHERWISE INSURED
This endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


Named Insured: Glad Rents, Inc.

Endorsement Effective Date: 01/01/2019


                                                  SCHEDULE

 Designation Or Description Of Covered "Autos" You Own:
Any/All Operations Other Than Towing Operations




 Information reauired to complete this Schedule, if not shown above, will be shown in the Declarations.


When you do not want Covered Autos Liability Coverage to apply to the covered "autos" you own that are
designated in this endorsement because you have other insurance, the following provision indicated by an "X" in
the•  will apply:


 0     Covered Autos Liability Coverage does not apply.


 D     Covered Autos Liability Coverage does not apply to "bodily injury" or "property
       damage" occurring before the other insurance ends.
       Date other insurance ends:


 D     Covered Autos Liability Coverage does not apply to "bodily injury" or "property
       damage" occurring before the other insurance ends except to the extent damages exceed the limits of the
       other insurance. However, the most we will pay is the difference between the Limit of Insurance for
       Covered Autos Liability Coverage in this Coverage Form and the limits of the other insurance, if this
       Coverage Form's limits are higher.
       Date other insurance ends:                           and Limits of Insurance:   $




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                       NOTICE
           UNREPORTED DRIVERS - NEW DRIVERS



ALL NEW OPERATORS AND DRIVERS HIRED OR DESIGNATED DURING
THE TERM OF THIS POLICY MUST BE IMMEDIATELY REPORTED TO THE
COMPANY. YOUR SCHEDULE OF DRIVERS IS MATERIAL TO THE RISK WE
INSURE. YOUR FAILURE TO REPORT A NEW OPERATOR OR DRIVER ISA
MATERIAL MIS-REPRESENTATION OF THE RISK WE INSURE AND
INCREASES THE HAZARD INSURED AGAINST. FAILURE TO REPORT A
NEW OPERATOR OR DRIVER MAY RESULT IN CANCELLATION OF YOUR
POLICY.

NEWLY AUTHORIZED OPERATORS        AND   DRIVERS   SHOULD   BE
REPORTED TO YOUR AGENT.




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                                                                                            COMMERCIAL AUTO
                                                                                                CA 00 0110 13


                     BUSINESS AUTO COVERAGE FORM
Various prov1s1ons in this policy restrict coverage.       SECTION I - COVERED AUTOS
Read the entire policy carefully to determine rights,      Item Two of the Declarations shows the "autos" that
duties and what is and is not covered.                     are covered "autos" for each of your coverages. The
Throughout this policy the words "you" and "your"          following numerical symbols describe the "autos" that
refer to the Named Insured shown in the Declarations.      may be covered "autos". The symbols entered next to
The words "we", "us" and "our" refer to the company        a coverage on the Declarations designate the only
providing this insurance.                                  "autos" that are covered "autos".
Other words and phrases that appear in quotation           A. Description Of Covered Auto Designation
marks have special meaning. Refer to Section V -              Symbols
Definitions.


 Symbol                           Description Of Covered Auto Designation Symbols
    1      Any "Auto"
    2      Owned "Autos"     Only those "autos" you own (and for Covered Autos Liability Coverage any
           Only              "trailers" you don't own while attached to power units you own). This includes
                             those "autos" vou acauire ownership of after the oolicv begins.
    3      Owned Private     Only the private passenger "autos" you own. This includes those private
           Passenger         passenger "autos" you acquire ownership of after the policy begins.
           "Autos" Only
    4      Owned             Only those "autos" you own that are not of the private passenger type (and for
           "Autos" Other     Covered Autos Liability Coverage any "trailers" you don't own while attached to
           Than Private      power units you own). This includes those "autos" not of the private passenger
           Passenger         type you acquire ownership of after the policy begins.
           "Autos" Only
    5      Owned "Autos"     Only those "autos" you own that are required to have no-fault benefits in the state
           Subject To        where they are licensed or principally garaged. This includes those "autos" you
           No-fault          acquire ownership of after the policy begins provided they are required to have no-
                             fault benefits in the state where they are licensed or orincioally qaraqed.
    6      Owned "Autos"     Only those "autos" you own that because of the law in the state where they are
           Subject To A      licensed or principally garaged are required to have and cannot reject Uninsured
           Compulsory        Motorists Coverage. This includes those "autos" you acquire ownership of after the
           Uninsured         policy begins provided they are subject to the same state uninsured motorists
           Motorists Law     requirement.
    7      Specifically      Only those "autos" described in Item Three of the Declarations for which a
           Described         premium charge is shown (and for Covered Autos Liability Coverage any "trailers"
           "Autos"           you don't own while attached to any power unit described in Item Three).
    8      Hired "Autos"     Only those "autos" you lease, hire, rent or borrow. This does not include any "auto"
           Only              you lease, hire, rent or borrow from any of your "employees", partners (if you are a
                             partnership), members (if you are a limited liability company) or members of their
                             households.
    9      Non-owned         Only those "autos" you do not own, lease, hire, rent or borrow that are used in
           "Autos" Only      connection with your business. This includes "autos" owned by your "employees",
                             partners (if you are a partnership), members (if you are a limited liability company)
                             or members of their households but only while used in your business or your
                             personal affairs.




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    19       Mobile           Only those "autos" that are land vehicles and that would qualify under the definition
             Equipment        of "mobile equipment" under this policy if they were not subject to a compulsory or
             Subject To       financial responsibility law or other motor vehicle insurance law where they are
             Compulsory Or    licensed or principally garaged.
             Financial
             Responsibility
             Or Other Motor
             Vehicle
             Insurance Law
             Onlv

B. Owned Autos You Acquire After The Policy                 SECTION II - COVERED AUTOS LIABILITY
   Begins                                                   COVERAGE
   1. If Symbols 1, 2, 3, 4, 5, 6 or 19 are entered         A. Coverage
      next to a coverage in Item Two of the                    We will pay all sums an "insured" legally must pay
      Declarations, then you have coverage for                 as damages because of "bodily injury" or "property
      "autos" that you acquire of the type described           damage" to which this insurance applies, caused
      for the remainder of the policy period.                  by an "accident" and resulting from the ownership,
   2. But, if Symbol 7 is entered next to a coverage           maintenance or use of a covered "auto".
      in Item Two of the Declarations, an "auto" you           We will also pay all sums an "insured" legally must
      acquire will be a covered "auto" for that                pay as a "covered pollution cost or expense" to
      coverage only if:                                        which this insurance applies, caused by an
         a. We already cover all "autos" that you own          "accident" and resulting from the ownership,
           for that coverage or it replaces an "auto"          maintenance or use of covered "autos". However,
           you previously owned that had that                  we will only pay for the "covered pollution cost or
           coverage; and                                       expense" if there is either "bodily injury" or
      b. You tell us within 30 days after you acquire          "property damage" to which this insurance applies
         it that you want us to cover it for that              that is caused by the same "accident".
         coverage.                                             We have the right and duty to defend any
C. Certain Trailers, Mobile Equipment And                      "insured" against a "suit" asking for such damages
   Temporary Substitute Autos                                  or a "covered pollution cost or expense". However,
                                                               we have no duty to defend any "insured" against a
   If Covered Autos Liability Coverage is provided by          "suit" seeking damages for "bodily injury" or
   this Coverage Form, the following types of                  "property damage" or a "covered pollution cost or
   vehicles are also covered "autos" for Covered               expense" to which this insurance does not apply.
   Autos Liability Coverage:                                   We may investigate and settle any claim or "suit"
   1. "Trailers" with a load capacity of 2,000 pounds          as we consider appropriate. Our duty to defend or
      or less designed primarily for travel on public          settle ends when the Covered Autos Liability
      roads.                                                   Coverage Limit of Insurance has been exhausted
   2. "Mobile equipment" while being carried or                by payment of judgments or settlements.
      towed by a covered "auto".                               1. Who Is An Insured
   3. Any "auto" you do not own while used with the               The following are "insureds":
      permission of its owner as a temporary                      a. You for any covered "auto".
      substitute for a covered "auto" you own that is
      out of service because of its:                              b. Anyone else while using with your
                                                                      permission a covered "auto" you own, hire
      a. Breakdown;                                                   or borrow except:
      b. Repair;                                                     (1) The owner or anyone else from whom
      C. Servicing;                                                       you hire or borrow a covered "auto".
      d. "Loss"; or                                                       This exception does not apply if the
      e. Destruction.                                                     covered "auto" is a "trailer" connected to
                                                                          a covered "auto" you own.




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       (2) Your "employee" if the covered "auto" is                These payments will not reduce the Limit of
           owned by that "employee" or a member                    Insurance.
           of his or her household.                             b. Out-of-state Coverage Extensions
      (3) Someone using a covered "auto" while                     While a covered "auto" is away from the
          he or she is working in a business of                    state where it is licensed, we will:
          selling, servicing, repairing, parking or
          storing "autos" unless that business is                  (1) Increase the Limit of Insurance for
          yours.                                                       Covered Autos Liability Coverage to
                                                                       meet the limits specified by a
       (4) Anyone other than your "employees",                         compulsory or financial responsibility
           partners (if you are a partnership),                        law of the jurisdiction where the covered
           members (if you are a limited liability                     "auto" is being used. This extension
           company) or a lessee or borrower or                         does not apply to the limit or limits
           any of their "employees", while moving                      specified by any law governing motor
           property to or from a covered "auto".                       carriers of passengers or property.
       (5) A partner (if you are a partnership) or a               (2) Provide the minimum amounts and
           member (if you are a limited liability                      types of other coverages, such as no-
           company) for a covered "auto" owned by                      fault, required of out-of-state vehicles by
           him or her or a member of his or her                        the jurisdiction where the covered "auto"
           household.                                                  is being used.
    c. Anyone liable for the conduct of an                         We will not pay anyone more than once for
       "insured" described above but only to the                   the same elements of loss because of
       extent of that liability.                                   these extensions.
  2. Coverage Extensions                                 B. Exclusions
    a. Supplementary Payments                               This insurance does not apply to any of the
       We will pay for the "insured":                       following:
      (1) All expenses we incur.                             1. Expected Or Intended Injury
      (2) Up to $2,000 for cost of bail bonds                   "Bodily injury" or "property damage" expected
          (including bonds for related traffic law              or intended from the standpoint of the
          violations) required because of an                    "insured".
          "accident" we cover. We do not have to             2. Contractual
          furnish these bonds.
                                                                Liability assumed     under any     contract   or
      (3) The cost of bonds to release                          agreement.
          attachments in any "suit" against the
          "insured" we defend, but only for bond                But this exclusion does not apply to liability for
          amounts within our Limit of Insurance.                damages:
      (4) All reasonable expenses incurred by the               a. Assumed in a contract or agreement that is
          "insured" at our request, including actual               an "insured contract", provided the "bodily
          loss of earnings up to $250 a day                        injury" or "property damage" occurs
          because of time off from work.                           subsequent to the execution of the contract
                                                                   or agreement; or
      (5) All court costs taxed against the
          "insured" in any "suit" against the                   b. That the "insured" would have in the
          "insured" we defend. However, these                      absence of the contract or agreement.
          payments do not include attorneys' fees            3. Workers' Compensation
          or attorneys' expenses taxed against the
                                                                Any obligation for which the "insured" or the
          "insured".
                                                                "insured's" insurer may be held liable under
      (6) All interest on the full amount of any                any workers' compensation, disability benefits
          judgment that accrues after entry of the              or unemployment compensation law or any
          judgment in any "suit" against the                    similar law.
          "insured" we defend, but our duty to pay
          interest ends when we have paid,
          offered to pay or deposited in court the
          part of the judgment that is within our
          Limit of Insurance.




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   4. Employee Indemnification And Employer's                     b. After it is moved from the covered "auto" to
      Liability                                                      the place where it is finally delivered by the
      "Bodily injury" to:                                            "insured".
      a. An "employee" of the "insured" arising out            8. Movement Of Property By Mechanical
         of and in the course of:                                 Device
         (1) Employment by the "insured"; or                      "Bodily injury" or "property damage" resulting
                                                                  from the movement of property by a
         (2) Performing the duties related to the                 mechanical device (other than a hand truck)
             conduct of the "insured's" business; or              unless the device is attached to the covered
      b. The spouse, child, parent, brother or sister             "auto".
         of that "employee" as a consequence of                9. Operations
         Paragraph a. above.
                                                                  "Bodily injury" or "property damage" arising out
      This exclusion applies:                                     of the operation of:
         (1) Whether the "insured" may be liable as               a. Any equipment listed in Paragraphs 6.b.
             an employer or in any other capacity;                   and 6.c. of the definition of "mobile
             and                                                     equipment"; or
         (2) To any obligation to share damages with              b. Machinery or equipment that is on, attached
             or repay someone else who must pay                      to or part of a land vehicle that would
             damages because of the injury.                          qualify under the definition of "mobile
      But this exclusion does not apply to "bodily                   equipment" if it were not subject to a
      injury" to domestic "employees" not entitled to                compulsory or financial responsibility law or
      workers' compensation benefits or to liability                 other motor vehicle insurance law where it
      assumed by the "insured" under an "insured                     is licensed or principally garaged.
      contract". For the purposes of the Coverage            10. Completed Operations
      Form, a domestic "employee" is a person
      engaged in household or domestic work                       "Bodily injury" or "property damage" arising out
      performed principally in connection with a                  of your work after that work has been
      residence premises.                                         completed or abandoned.
   5. Fellow Employee                                             In this exclusion, your work means:
      "Bodily injury" to:                                         a. Work or operations performed by you or on
                                                                     your behalf; and
      a. Any fellow "employee" of the "insured"
         arising out of and in the course of the fellow           b. Materials, parts or equipment furnished in
         "employee's"      employment      or     while              connection with such work or operations.
         performing duties related to the conduct of              Your       work    includes        warranties   or
         your business; or                                        representations made at any time with respect
      b. The spouse, child, parent, brother or sister             to the fitness, quality, durability or performance
         of that fellow "employee" as a consequence               of any of the items included in Paragraph a. or
         of Paragraph a. above.                                   b. above.
   6. Care, Custody Or Control                                    Your work will be deemed completed at the
                                                                  earliest of the following times:
      "Property damage" to or "covered pollution cost
      or expense" involving property owned or                       (1) When all of the work called for in your
      transported by the "insured" or in the                            contract has been completed;
      "insured's" care, custody or control. But this                (2) When all of the work to be done at the
      exclusion does not apply to liability assumed                     site has been completed if your contract
      under a sidetrack agreement.                                      calls for work at more than one site; or
   7. Handling Of Property                                          (3) When that part of the work done at a job
      "Bodily injury" or "property damage" resulting                    site has been put to its intended use by
      from the handling of property:                                    any person or organization other than
                                                                        another contractor or subcontractor
      a. Before it is moved from the place where it is                  working on the same project.
         accepted by the "insured" for movement
         into or onto the covered "auto"; or




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      Work that may need service, maintenance,                     Paragraphs b. and c. above of this exclusion
      correction, repair or replacement, but which is              do not apply to "accidents" that occur away
      otherwise complete, will be treated as                       from premises owned by or rented to an
      completed.                                                   "insured" with respect to "pollutants" not in or
  11. Pollution                                                    upon a covered "auto" if:
      "Bodily injury" or "property damage" arising out                   (a) The "pollutants" or any property in
      of the actual, alleged or threatened discharge,                        which the "pollutants" are contained
      dispersal, seepage, migration, release or                              are upset, overturned or damaged as
      escape of "pollutants":                                                a result of the maintenance or use of
                                                                             a covered "auto"; and
      a. That are, or that are contained in any
         property that is:                                               (b) The discharge, dispersal, seepage,
                                                                             migration, release or escape of the
        (1) Being transported or towed by, handled                           "pollutants" is caused directly by
            or handled for movement into, onto or                            such upset, overturn or damage.
            from the covered "auto";
                                                              12. War
        (2) Otherwise in the course of transit by or
            on behalf of the "insured"; or                         "Bodily injury" or "property damage" arising
                                                                   directly or indirectly out of:
        (3) Being stored, disposed of, treated or
            processed in or upon the covered                       a. War, including undeclared or civil war;
            "auto";                                                b. Warlike action by a military force, including
      b. Before the "pollutants" or any property in                   action in hindering or defending against an
         which the "pollutants" are contained are                     actual or expected attack, by any
         moved from the place where they are                          government, sovereign or other authority
         accepted by the "insured" for movement                       using military personnel or other agents; or
         into or onto the covered "auto"; or                       c. Insurrection, rebellion, revolution, usurped
      c. After the "pollutants" or any property in                    power or action taken by governmental
         which the "pollutants" are contained are                     authority in hindering or defending against
         moved from the covered "auto" to the place                   any of these.
         where they are finally delivered, disposed of        13. Racing
         or abandoned by the "insured".                            Covered "autos" while used in any professional
      Paragraph a. above does not apply to fuels,                  or organized racing or demolition contest or
      lubricants, fluids, exhaust gases or other                   stunting activity, or while practicing for such
      similar "pollutants" that are needed for or result           contest or activity. This insurance also does
      from the normal electrical, hydraulic or                     not apply while that covered "auto" is being
      mechanical functioning of the covered "auto" or              prepared for such a contest or activity.
      its parts if:                                         C. Limit Of Insurance
        (1) The "pollutants" escape, seep, migrate             Regardless of the number of covered "autos",
            or are discharged, dispersed or released           "insureds", premiums paid, claims made or
            directly from an "auto" part designed by           vehicles involved in the "accident", the most we
            its manufacturer to hold, store, receive           will pay for the total of all damages and "covered
            or dispose of such "pollutants"; and               pollution cost or expense" combined resulting from
        (2) The "bodily injury", "property damage" or          any one "accident" is the Limit Of Insurance for
            "covered pollution cost or expense"                Covered Autos Liability Coverage shown in the
            does not arise out of the operation of             Declarations.
            any equipment listed in Paragraphs 6.b.
            and 6.c. of the definition of "mobile
            equipment".




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   All "bodily injury", "property damage" and "covered          3. Glass Breakage - Hitting A Bird Or Animal -
   pollution cost or expense" resulting from                       Falling Objects Or Missiles
   continuous or repeated exposure to substantially                If you carry Comprehensive Coverage for the
   the same conditions will be considered as                       damaged covered "auto", we will pay for the
   resulting from one "accident".                                  following under Comprehensive Coverage:
   No one will be entitled to receive duplicate                    a. Glass breakage;
   payments for the same elements of "loss" under
   this Coverage Form and any Medical Payments                     b. "Loss" caused by hitting a bird or animal;
   Coverage endorsement, Uninsured Motorists                          and
   Coverage endorsement or Underinsured Motorists                  c. "Loss" caused by falling objects or missiles.
   Coverage endorsement attached to this Coverage
                                                                   However, you have the option of having glass
   Part.                                                           breakage caused by a covered "auto's"
SECTION Ill - PHYSICAL DAMAGE COVERAGE                             collision or overturn considered a "loss" under
A. Coverage                                                        Collision Coverage.
   1. We will pay for "loss" to a covered "auto" or its        4. Coverage Extensions
      equipment under:                                             a. Transportation Expenses
      a. Comprehensive Coverage                                       We will pay up to $20 per day, to a
         From any cause except:                                       maximum       of     $600,  for    temporary
                                                                      transportation expense incurred by you
         (1) The covered "auto's"        collision   with             because of the total theft of a covered
             another object; or                                       "auto" of the private passenger type. We
         (2) The covered "auto's" overturn.                           will pay only for those covered "autos" for
      b. Specified Causes Of Loss Coverage                            which you carry either Comprehensive or
                                                                      Specified Causes Of Loss Coverage. We
         Caused by:                                                   will pay for temporary transportation
         (1) Fire, lightning or explosion;                            expenses incurred during the period
                                                                      beginning 48 hours after the theft and
         (2) Theft;
                                                                      ending, regardless of the policy's expiration,
         (3) Windstorm, hail or earthquake;                           when the covered "auto" is returned to use
         (4) Flood;                                                   or we pay for its "loss".
         (5) Mischief or vandalism; or                             b. Loss Of Use Expenses
         (6) The sinking, burning, collision or                       For Hired Auto Physical Damage, we will
             derailment     of    any     conveyance                  pay expenses for which an "insured"
             transporting the covered "auto".                         becomes legally responsible to pay for loss
                                                                      of use of a vehicle rented or hired without a
      c. Collision Coverage
                                                                      driver under a written rental contract or
         Caused by:                                                   agreement. We will pay for loss of use
         (1) The covered "auto's"        collision   with             expenses if caused by:
             another object; or                                      (1) Other than collision only if the
         (2) The covered "auto's" overturn.                              Declarations        indicates  that
                                                                         Comprehensive Coverage is provided
   2. Towing                                                             for any covered "auto";
      We will pay up to the limit shown in the                       (2) Specified Causes Of Loss only if the
      Declarations for towing and labor costs                            Declarations indicates that Specified
      incurred each time a covered "auto" of the                         Causes Of Loss Coverage is provided
      private passenger type is disabled. However,                       for any covered "auto"; or
      the labor must be performed at the place of
      disablement.




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         (3) Collision only if the Declarations                    b. Any device designed or used to detect
             indicates that Collision Coverage is                     speed-measuring equipment, such as radar
             provided for any covered "auto".                         or laser detectors, and any jamming
          However, the most we will pay for any                       apparatus intended to elude or disrupt
          expenses for loss of use is $20 per day, to                 speed-measuring equipment.
          a maximum of $600.                                       c. Any electronic equipment, without regard to
B. Exclusions                                                         whether this equipment is permanently
                                                                      installed, that reproduces, receives or
   1. We will not pay for "loss" caused by or resulting               transmits audio, visual or data signals.
      from any of the following. Such "loss" is
      excluded regardless of any other cause or                    d. Any accessories used with the electronic
      event that contributes concurrently or in any                   equipment    described     in   Paragraph    c.
      sequence to the "loss".                                         above.
      a. Nuclear Hazard                                         5. Exclusions 4.c. and 4.d. do not apply to
                                                                   equipment designed to be operated solely by
         (1) The explosion of any weapon employing                 use of the power from the "auto's" electrical
             atomic fission or fusion; or                          system that, at the time of "loss", is:
         (2) Nuclear reaction or radiation, or                     a. Permanently installed      in   or   upon   the
             radioactive    contamination, however                    covered "auto";
             caused.
                                                                   b. Removable from a housing unit which is
      b. War Or Military Action                                       permanently installed in or upon the
         (1) War, including undeclared or civil war;                  covered "auto";
         (2) Warlike action by a military force,                   c. An integral part of the same unit housing
             including action in hindering or                         any electronic equipment described in
             defending against an actual or expected                  Paragraphs a. and b. above; or
             attack, by any government, sovereign or               d. Necessary for the normal operation of the
             other authority using military personnel                 covered "auto" or the monitoring of the
             or other agents; or                                      covered "auto's" operating system.
         (3) Insurrection,   rebellion,    revolution,          6. We will not pay for "loss" to a covered "auto"
             usurped power or action taken by                      due to "diminution in value".
             governmental authority in hindering or
             defending against any of these.                C. Limits Of Insurance
   2. We will not pay for "loss" to any covered "auto"          1. The most we will pay for:
      while used in any professional or organized                  a. "Loss" to any one covered "auto" is the
      racing or demolition contest or stunting activity,              lesser of:
      or while practicing for such contest or activity.              (1) The actual cash value of the damaged
      We will also not pay for "loss" to any covered                     or stolen property as of the time of the
      "auto" while that covered "auto" is being                          "loss"; or
      prepared for such a contest or activity.
                                                                     (2) The cost of repairing or replacing the
   3. We will not pay for "loss" due and confined to:                    damaged or stolen property with other
      a. Wear and tear, freezing, mechanical or                          property of like kind and quality.
         electrical breakdown.                                     b. All electronic equipment that reproduces,
      b. Blowouts, punctures or other road damage                     receives or transmits audio, visual or data
         to tires.                                                    signals in any one "loss" is $1,000, if, at the
      This exclusion does not apply to such "loss"                    time of "loss", such electronic equipment is:
      resulting from the total theft of a covered                    (1) Permanently installed in or upon the
      "auto".                                                            covered "auto" in a housing, opening or
  4. We will not pay for "loss" to any of the                            other location that is not normally used
     following:                                                          by the "auto" manufacturer for the
                                                                         installation of such equipment;
     a. Tapes, records, discs or other similar audio,
          visual or data electronic devices designed
         for use with audio, visual or data electronic
          equipment.




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         (2) Removable from a permanently installed                  (2) The "insured's" name and address; and
             housing unit as described in Paragraph                  (3) To the extent possible, the names and
             b.(1) above; or                                             addresses of any injured persons and
         (3) An integral part of such equipment as                       witnesses.
             described in Paragraphs b.(1) and b.(2)               b. Additionally, you and any other involved
             above.                                                    "insured" must:
   2. An adjustment for depreciation and physical                     (1) Assume no obligation, make no
      condition will be made in determining actual                         payment or incur no expense without
      cash value in the event of a total "loss".                           our consent, except at the "insured's"
   3. If a repair or replacement results in better than                    own cost.
      like kind or quality, we will not pay for the                   (2) Immediately send us copies of any
      amount of the betterment.                                            request,    demand,      order,  notice,
D. Deductible                                                              summons or legal paper received
   For each covered "auto", our obligation to pay for,                     concerning the claim or "suit".
   repair, return or replace damaged or stolen                        (3) Cooperate with us in the investigation or
   property will be reduced by the applicable                              settlement of the claim or defense
   deductible shown in the Declarations. Any                               against the "suit".
   Comprehensive Coverage deductible shown in the                     (4) Authorize us to obtain medical records
   Declarations does not apply to "loss" caused by                         or other pertinent information.
   fire or lightning.
                                                                     (5) Submit to examination, at our expense,
SECTION IV - BUSINESS AUTO CONDITIONS                                    by physicians of our choice, as often as
The following conditions apply in addition to the                        we reasonably require.
Common Policy Conditions:                                          c. If there is "loss" to a covered "auto" or its
A. Loss Conditions                                                    equipment, you must also do the following:
   1. Appraisal For Physical Damage Loss                             (1) Promptly notify the police if the covered
      If you and we disagree on the amount of "loss",                    "auto" or any of its equipment is stolen.
      either may demand an appraisal of the "loss".                  (2) Take all reasonable steps to protect the
      In this event, each party will select a competent                  covered "auto" from further damage.
      appraiser. The two appraisers will select a                        Also keep a record of your expenses for
      competent and         impartial    umpire. The                     consideration in the settlement of the
      appraisers will state separately the actual cash                   claim.
      value and amount of "loss". If they fail to agree,             (3) Permit us to inspect the covered "auto"
      they will submit their differences to the umpire.                  and records proving the "loss" before its
      A decision agreed to by any two will be                            repair or disposition.
      binding. Each party will:
                                                                     (4) Agree to examinations under oath at our
      a. Pay its chosen appraiser; and                                   request and give us a signed statement
      b. Bear the other expenses of the appraisal                        of your answers.
          and umpire equally.                                  3. Legal Action Against Us
      If we submit to an appraisal, we will still retain           No one may bring a legal action against us
      our right to deny the claim.                                 under this Coverage Form until:
   2. Duties In The Event Of Accident, Claim, Suit                 a. There has been full compliance with all the
      Or Loss                                                         terms of this Coverage Form; and
      We have no duty to provide coverage under                    b. Under Covered Autos Liability Coverage,
      this policy unless there has been full                          we agree in writing that the "insured" has an
      compliance with the following duties:                           obligation to pay or until the amount of that
      a. In the event of "accident", claim, "suit" or                 obligation has finally been determined by
          "loss", you must give us or our authorized                  judgment after trial. No one has the right
          representative prompt notice of the                         under this policy to bring us into an action
          "accident" or "loss". Include:                              to determine the "insured's" liability.
         (1) How, when and where the "accident" or
              "loss" occurred;




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   4. Loss Payment - Physical Damage                           5. Other Insurance
      Coverages                                                   a. For any covered "auto" you own, this
      At our option, we may:                                         Coverage       Form     provides    primary
      a. Pay for, repair or replace damaged or                       insurance. For any covered "auto" you don't
         stolen property;                                            own, the insurance provided by this
                                                                     Coverage Form is excess over any other
      b. Return the stolen property, at our expense.                 collectible insurance. However, while a
         We will pay for any damage that results to                  covered "auto" which is a "trailer" is
         the "auto" from the theft; or                               connected to another vehicle, the Covered
      c. Take all or any part of the damaged or                      Autos Liability Coverage this Coverage
         stolen property at an agreed or appraised                   Form provides for the "trailer" is:
         value.                                                      (1) Excess while it is connected to a motor
      If we pay for the "loss", our payment will                         vehicle you do not own; or
      include the applicable sales tax for the                      (2) Primary while it is connected to a
      damaged or stolen property.                                       covered "auto" you own.
   5. Transfer Of Rights Of Recovery Against                      b. For Hired Auto Physical Damage Coverage,
      Others To Us                                                   any covered "auto" you lease, hire, rent or
      If any person or organization to or for whom we                borrow is deemed to be a covered "auto"
      make payment under this Coverage Form has                      you own. However, any "auto" that is
      rights to recover damages from another, those                  leased, hired, rented or borrowed with a
      rights are transferred to us. That person or                   driver is not a covered "auto".
      organization must do everything necessary to                c. Regardless of the provisions of Paragraph
      secure our rights and must do nothing after                    a. above, this Coverage Form's Covered
      "accident" or "loss" to impair them.                           Autos Liability Coverage is primary for any
B. General Conditions                                                liability assumed under an "insured
                                                                     contract".
   1. Bankruptcy
                                                                  d. When this Coverage Form and any other
      Bankruptcy or insolvency of the "insured" or the
                                                                     Coverage Form or policy covers on the
      "insured's" estate will not relieve us of any
                                                                     same basis, either excess or primary, we
      obligations under this Coverage Form.
                                                                     will pay only our share. Our share is the
   2. Concealment, Misrepresentation Or Fraud                        proportion that the Limit of Insurance of our
      This Coverage Form is void in any case of                      Coverage Form bears to the total of the
      fraud by you at any time as it relates to this                 limits of all the Coverage Forms and
      Coverage Form. It is also void if you or any                   policies covering on the same basis.
      other "insured", at any time, intentionally             6. Premium Audit
      conceals or misrepresents a material fact
      concerning:                                                 a. The estimated premium for this Coverage
                                                                     Form is based on the exposures you told us
      a. This Coverage Form;                                         you would have when this policy began. We
      b. The covered "auto";                                         will compute the final premium due when
                                                                     we determine your actual exposures. The
      c. Your interest in the covered "auto"; or                     estimated total premium will be credited
      d. A claim under this Coverage Form.                           against the final premium due and the first
   3. Liberalization                                                 Named Insured will be billed for the
                                                                     balance, if any. The due date for the final
      If we revise this Coverage Form to provide                     premium or retrospective premium is the
      more coverage without additional premium                       date shown as the due date on the bill. If
      charge, your policy will automatically provide                 the estimated total premium exceeds the
      the additional coverage as of the day the                      final premium due, the first Named Insured
      revision is effective in your state.                           will get a refund.
   4. No Benefit To Bailee - Physical Damage                      b. If this policy is issued for more than one
      Coverages                                                      year, the premium for this Coverage Form
      We will not recognize any assignment or grant                  will be computed annually based on our
      any coverage for the benefit of any person or                  rates or premiums in effect at the beginning
      organization holding, storing or transporting                  of each year of the policy.
      property for a fee regardless of any other
      provision of this Coverage Form.



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   7. Policy Period, Coverage Territory                       2. Any other land vehicle that is subject to a
      Under this Coverage Form, we              cover            compulsory or financial responsibility law or
      "accidents" and "losses" occurring:                        other motor vehicle insurance law where it is
                                                                 licensed or principally garaged.
      a. During the policy period shown in the
         Declarations; and                                    However, "auto"      does    not   include   "mobile
                                                              equipment".
      b. Within the coverage territory.
                                                           C. "Bodily injury" means bodily injury, sickness or
      The coverage territory is:                              disease sustained by a person, including death
         (1) The United States of America;                    resulting from any of these.
         (2) The territories and possessions of the        D. "Covered pollution cost or expense" means any
               United States of America;                      cost or expense arising out of:
         (3) Puerto Rico;                                      1. Any request, demand, order or statutory or
                                                                  regulatory requirement that any "insured" or
         (4) Canada; and
                                                                  others test for, monitor, clean up, remove,
         (5) Anywhere in the world if a covered                   contain, treat, detoxify or neutralize, or in any
               "auto" of the private passenger type is            way respond to, or assess the effects of,
               leased, hired, rented or borrowed                  "pollutants"; or
              without a driver for a period of 30 days
                                                              2. Any claim or "suit" by or on behalf of a
               or less,
                                                                  governmental authority for damages because
      provided that the "insured's" responsibility to             of testing for, monitoring, cleaning up,
      pay damages is determined in a "suit" on the                removing, containing, treating, detoxifying or
      merits, in the United States of America, the                neutralizing, or in any way responding to, or
      territories and possessions of the United States            assessing the effects of, "pollutants".
      of America, Puerto Rico or Canada, or in a
                                                              "Covered pollution cost or expense" does not
      settlement we agree to.
                                                              include any cost or expense arising out of the
      We also cover "loss" to, or "accidents"                 actual, alleged or threatened discharge, dispersal,
      involving, a covered "auto" while being                 seepage, migration, release or escape of
      transported between any of these places.                "pollutants":
   8. Two Or More Coverage Forms Or Policies                      a. That are, or that are contained in any
      Issued By Us                                                    property that is:
      If this Coverage Form and any other Coverage                   (1) Being transported or towed by, handled
      Form or policy issued to you by us or any                          or handled for movement into, onto or
      company affiliated with us applies to the same                     from the covered "auto";
      "accident", the aggregate maximum Limit of
                                                                     (2) Otherwise in the course of transit by or
      Insurance under all the Coverage Forms or
                                                                         on behalf of the "insured"; or
      policies shall not exceed the highest applicable
      Limit of Insurance under any one Coverage                     (3) Being stored, disposed of, treated or
      Form or policy. This condition does not apply to                  processed in or upon the covered
      any Coverage Form or policy issued by us or                       "auto";
      an affiliated company specifically to apply as              b. Before the "pollutants" or any property in
      excess insurance over this Coverage Form.                      which the "pollutants" are contained are
SECTION V - DEFINITIONS                                              moved from the place where they are
                                                                     accepted by the "insured" for movement
A. "Accident" includes continuous or repeated
                                                                     into or onto the covered "auto"; or
   exposure to the same conditions resulting in
   "bodily injury" or "property damage".                          c. After the "pollutants" or any property in
                                                                     which the "pollutants" are contained are
B. "Auto" means:
                                                                     moved from the covered "auto" to the place
   1. A land motor vehicle, "trailer'' or semitrailer                where they are finally delivered, disposed of
      designed for travel on public roads; or                        or abandoned by the "insured".




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       Paragraph a. above does not apply to fuels,              5. That part of any other contract or agreement
       lubricants, fluids, exhaust gases or other                  pertaining to your business (including an
       similar "pollutants" that are needed for or result          indemnification of a municipality in connection
       from the normal electrical, hydraulic or                    with work performed for a municipality) under
       mechanical functioning of the covered "auto" or             which you assume the tort liability of another to
       its parts, if:                                              pay for "bodily injury" or "property damage" to a
          (1) The "pollutants" escape, seep, migrate               third party or organization. Tort liability means
              or are discharged, dispersed or released             a liability that would be imposed by law in the
              directly from an "auto" part designed by             absence of any contract or agreement; or
              its manufacturer to hold, store, receive          6. That part of any contract or agreement entered
              or dispose of such "pollutants"; and                 into, as part of your business, pertaining to the
          (2) The "bodily injury", "property damage" or            rental or lease, by you or any of your
              "covered pollution cost or expense"                  "employees", of any "auto". However, such
              does not arise out of the operation of               contract or agreement shall not be considered
              any equipment listed in Paragraph 6.b.               an "insured contract" to the extent that it
              or 6.c. of the definition of "mobile                 obligates you or any of your "employees" to
              equipment".                                          pay for "property damage" to any "auto" rented
                                                                   or leased by you or any of your "employees".
       Paragraphs b. and c. above do not apply to
       "accidents" that occur away from premises                An "insured contract" does not include that part of
       owned by or rented to an "insured" with respect          any contract or agreement:
       to "pollutants" not in or upon a covered "auto"             a. That indemnifies a railroad for "bodily injury"
       if:                                                             or "property damage" arising out of
             (a) The "pollutants" or any property in                   construction or demolition operations, within
                 which the "pollutants" are contained                  50 feet of any railroad property and
                 are upset, overturned or damaged as                   affecting any railroad bridge or trestle,
                 a result of the maintenance or use of                 tracks, roadbeds, tunnel, underpass or
                 a covered "auto"; and                                 crossing;
             (b) The discharge, dispersal, seepage,                b. That pertains to the loan, lease or rental of
                 migration, release or escape of the                   an "auto" to you or any of your
                 "pollutants" is caused directly by                    "employees", if the "auto" is loaned, leased
                 such upset, overturn or damage.                       or rented with a driver; or
E. "Diminution in value" means the actual or                        c. That holds a person or organization
   perceived loss in market value or resale value                      engaged in the business of transporting
   which results from a direct and accidental "loss".                  property by "auto" for hire harmless for your
                                                                       use of a covered "auto" over a route or
F. "Employee"       includes   a     "leased     worker".              territory that person or organization is
   "Employee" does not include a "temporary                            authorized to serve by public authority.
   worker''.
                                                              I. "Leased worker" means a person leased to you by
G. "Insured" means any person or organization                    a labor leasing firm under an agreement between
   qualifying as an insured in the Who Is An Insured             you and the labor leasing firm to perform duties
   provision of the applicable coverage. Except with             related to the conduct of your business. "Leased
   respect to the Limit of Insurance, the coverage               worker'' does not include a "temporary worker''.
   afforded applies separately to each insured who is
   seeking coverage or against whom a claim or               J. "Loss" means direct and accidental loss or
   "suit" is brought.                                           damage.
H. "Insured contract" means:                                 K. "Mobile equipment" means any of the following
                                                                types of land vehicles, including any attached
   1. A lease of premises;                                      machinery or equipment:
   2. A sidetrack agreement;                                    1. Bulldozers, farm machinery, forklifts and other
   3. Any easement or license agreement, except in                  vehicles designed for use principally off public
       connection with construction or demolition                   roads;
       operations on or within 50 feet of a railroad;           2. Vehicles maintained for use solely on or next to
   4. An obligation, as required by ordinance, to                  premises you own or rent;
       indemnify a municipality, except in connection           3. Vehicles that travel on crawler treads;
       with work for a municipality;




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   4. Vehicles, whether self-propelled or not,               However, "mobile equipment" does not include
      maintained primarily to provide mobility to            land vehicles that are subject to a compulsory or
      permanently mounted:                                   financial responsibility law or other motor vehicle
      a. Power cranes, shovels, loaders, diggers or          insurance law where it is licensed or principally
           drills; or                                        garaged. Land vehicles subject to a compulsory or
                                                             financial responsibility law or other motor vehicle
      b. Road construction or resurfacing equipment          insurance law are considered "autos".
           such as graders, scrapers or rollers;
                                                          L. "Pollutants" means any solid, liquid, gaseous or
   5. Vehicles not described in Paragraph 1., 2., 3.         thermal irritant or contaminant, including smoke,
      or 4. above that are not self-propelled and are        vapor, soot, fumes, acids, alkalis, chemicals and
      maintained primarily to provide mobility to            waste. Waste includes materials to be recycled,
      permanently attached equipment of the                  reconditioned or reclaimed.
      following types:
                                                          M. "Property damage" means damage to or loss of
      a. Air compressors, pumps and generators,              use of tangible property.
         including   spraying,   welding,   building
         cleaning, geophysical exploration, lighting      N. "Suit" means a civil proceeding in which:
         and well-servicing equipment; or                     1. Damages because of             "bodily   injury"   or
      b. Cherry pickers and similar devices used to              "property damage"; or
          raise or lower workers; or                         2. A "covered pollution cost or expense";
   6. Vehicles not described in Paragraph 1., 2., 3.         to which this insurance applies, are alleged.
      or 4. above maintained primarily for purposes          "Suit" includes:
      other than the transportation of persons or
      cargo. However, self-propelled vehicles with               a. An arbitration proceeding in which such
      the following types of permanently attached                   damages or "covered pollution costs or
      equipment are not "mobile equipment" but will                 expenses" are claimed and to which the
      be considered "autos":                                        "insured" must submit or does submit with
                                                                    our consent; or
      a. Equipment designed primarily for:
                                                                 b. Any other alternative dispute resolution
         (1) Snow removal;                                          proceeding in which such damages or
        (2) Road maintenance, but not construction                  "covered pollution costs or expenses" are
            or resurfacing; or                                      claimed and to which the insured submits
        (3) Street cleaning;                                        with our consent.
      b. Cherry pickers and similar devices mounted       0. "Temporary worker" means a person who is
         on automobile or truck chassis and used to          furnished to you to substitute for a permanent
         raise or lower workers; and                         "employee" on leave or to meet seasonal or short-
                                                             term workload conditions.
      c. Air compressors, pumps and generators,
         including    spraying,  welding,   building      P. "Trailer'' includes semitrailer.
         cleaning, geophysical exploration, lighting
         or well-servicing equipment.




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                                                                                               COMMERCIAL AUTO
                                                                                                       CA01650716

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                        MISSOURI CHANGES
For a covered "auto" licensed or principally garaged in, or "auto dealer operations" conducted in, Missouri, this
endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.

A. The following     is   added    to   Supplementary         C. Changes In Conditions
   Payments:                                                     1. The Appraisal For Physical Damage Loss
   Prejudgment interest awarded against the                         Condition is replaced by the following:
   "insured" on the part of the judgment we pay. If we              If you and we disagree on the amount of "loss",
   make an offer to pay the applicable Limit of                     both parties may agree to an appraisal of the
   Insurance, we will not pay any prejudgment                       "loss" and to be bound by the results of that
   interest based on that period of time after the offer.           appraisal. If both parties so agree, then each
B. Changes In Covered Autos Liability Coverage                      party will select a competent appraiser. The
   1. Paragraph 2.b.(4) of the Who Is An Insured                    two appraisers will select a competent and
      Provision in the Auto Dealers Coverage Form                   impartial umpire. The appraisers will state
      is replaced by the following:                                 separately the actual cash value and amount of
                                                                    "loss". If they fail to agree, they will submit their
         (4) Your customers.      However,   those                  differences to the umpire. A decision agreed to
             customers are "insureds" up to the                     by any two will be binding. Each party will:
             compulsory or financial responsibility
             law limits where the covered "auto" is                  a. Pay its chosen appraiser; and
             principally garaged.                                   b. Bear the other expenses of the appraisal
   2. Paragraph 1.b. of the Who Is An Insured                          and umpire equally.
      Provision in the Business Auto and Motor                       If we submit to an appraisal, we will still retain
      Carrier Coverage Forms and Paragraph 2.b. of                   our right to deny the claim.
      the Who Is An Insured Provision in the Auto                2. The following is added to the Concealment,
      Dealers Coverage Form are changed by                          Misrepresentation And Fraud Condition:
      adding the following:
                                                                    With respect to Covered Autos Liability
         (6) If you are an individual, any member of                Coverage, this condition only applies in excess
             your household, other than your spouse,                of the minimum limits of liability required by the
             who is related to you by blood or                      Missouri Financial Responsibility Laws.
             adoption, including a ward or foster
             child, who owns an "auto".
   3. If your business is other than selling, repairing
      or servicing "autos", the Care, Custody Or
      Control Exclusion does not apply to "property
      damage" to or "covered pollution cost or
      expense" involving an "auto" loaned to you,
      with or without consideration, by a person
      engaged in the business of selling, repairing or
      servicing "autos" as a temporary substitute for
      an "auto" you own.




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   3. If your business is other than selling, repairing        2. The Act contains various exclusions, conditions
      or servicing "autos", the following is added to              and limitations that govern a claimant's
      the Other Insurance Condition in the Business                eligibility to collect payment from the
      Auto Coverage Form and the Other Insurance                   Association and affect the amount of any
      - Primary And Excess Insurance Provisions                    payment. The following limitations apply
      Condition in the Motor Carrier Coverage Form:                subject to all other provisions of the Act:
      Covered Autos Liability Coverage is primary for              a. Claims covered by the Association do not
      any temporary substitute for an "auto" you own                   include a claim by or against an "insured" of
      if the substitute "auto" is operated by an                       an insolvent insurer, if the "insured" has a
      "insured" and is loaned to you, with or INithout                 net worth of more than $25 million on the
      consideration, by a person engaged in the                        later of the end of the "insured's" most
      business of selling, repairing or servicing                      recent fiscal year or the December thirty-
      "autos".                                                         first of the year next preceding the date the
   4. If your business is selling, repairing or servicing              insurer becomes insolvent; provided that an
      "autos", the follolNing is added to the Other                    "insured's" net worth on such date shall be
      Insurance Condition in the Auto Dealers and                      deemed to include the aggregate net worth
      Business Auto Coverage Forms and the Other                       of the "insured" and all of its affiliates as
      Insurance - Primary And Excess Insurance                         calculated on a consolidated basis.
      Provisions Condition in the Motor Carrier                    b. Payments made by the Association for
      Coverage Form:                                                   covered claims will include only that amount
      Covered Autos Liability Coverage is excess for                   of each claim which is less than $300,000.
      any "auto" you own if operated by a customer                     However, the Association \Nill not:
      to whom you have loaned the "auto", INith or                   (1) Pay    an amount in excess of the
      INithout consideration,     as a temporary                         applicable Limit of Insurance of the
      substitute for an "auto" owned by the customer.                    policy from which a claim arises; or
D. The following provision is added:                                 (2) Return to an "insured" any unearned
   Missouri Property And Casualty Insurance                              premium in excess of $25,000.
   Guaranty Association Coverage Limitations                          These limitations have no effect on the
   1. Subject to the provisions of the Missouri                       coverage we will provide under this policy.
      Property and Casualty Insurance Guaranty
      Association Act (to be referred to as the Act), if
      we are a member of the Missouri Property and
      Casualty Insurance Guaranty Association (to
      be referred to as the Association), the
      Association \Nill pay claims covered under the
      Act if we become insolvent.




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                                                                                          COMMERCIAL AUTO
                                                                                              CA 016610 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         MISSOURI CHANGES - POLLUTION EXCLUSION
For a covered "auto" licensed or principally garaged in, or "auto dealer operations" conducted in, Missouri, this
endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by this endorsement.


A. Changes In Covered Autos Liability Coverage                2. The following is added to Exclusion 2.1.
   The following is added to the Pollution Exclusion:            Pollution of Paragraph B. Personal And
                                                                 Advertising Injury Liability:
   This Pollution Exclusion applies even if such
   irritant or contaminant has a function in your                    This Pollution Exclusion applies even if
   business, operations, premises, site or location.                 such irritant or contaminant has a function
                                                                     in your business, operations, premises, site
B. Changes In General Liability Coverages                            or location.
   With respect to the Auto Dealers Coverage Form:
   1. The following is added to Exclusion 2.f.
      Pollution of Paragraph A. Bodily Injury And
      Property Damage Liability, or to any
      amendment to or replacement thereof:
          This Pollution Exclusion applies even if
          such irritant or contaminant has a function
          in your business, operations, premises, site
          or location.




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                                                                                           COMMERCIAL AUTO
                                                                                               CA 02 19 0116

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          MISSOURI CHANGES -
                     CANCELLATION AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


A. If you are an individual, partnership or limited                 (2) If you are an individual, partnership or
   liability company and a covered "auto" you own is                    limited liability company and your
   of the "private passenger type", and this Policy                     driver's license has been suspended or
   covers fewer than five "autos" and does not insure                   revoked during the policy period. If we
   the motor vehicle hazard of garages, motor vehicle                   cancel for this reason, we will mail you
   sales agencies, repair shops, service stations or                    at least 60 days' notice. However, we
   public parking places, the Cancellation Common                       may not cancel if you are more than one
   Policy Condition does not apply to that "auto". The                  person, but only one person's license
   following condition applies instead:                                 has been suspended or revoked.
   Ending This Policy                                                   Instead we may exclude coverage for
                                                                        that person while operating a covered
   1. Cancellation                                                      "auto" during a period of suspension or
      a. You may cancel the Policy by returning it to                   revocation.
         us or by giving us advance notice of the                   (3) If you are an individual, we replace this
         date cancellation is to take effect.                           Policy with another one providing similar
      b. If this Policy has been in effect for 60 days                  coverages and the same limits for the
         or less and is not a renewal or continuation                   covered "auto". The replacement policy
         policy, we may cancel for any reason. If we                    will take effect when this Policy is
         cancel, we will mail you at least 10 days'                     cancelled, and will end a year after this
         notice.                                                        Policy begins or on this Policy's
                                                                        expiration date, whichever is earlier.
      c. When this Policy has been in effect for
         more than 60 days or is a renewal or                     d. If this Policy is cancelled, you may be
         continuation policy, we may cancel only for                 entitled to a premium refund. If so, we will
         one or more of the following reasons:                       send you the refund. However, making or
                                                                     offering to make the refund is not a
         (1) Nonpayment of premium. If we cancel
                                                                     condition of cancellation. The following
             for this reason, we will mail you at least
             10 days' notice.                                        provisions govern calculation of return
                                                                     premium:
                                                                    (1) We will compute return premium pro
                                                                        rata and round to the next higher whole
                                                                        dollar when this Policy is:
                                                                        (a) Cancelled by us or at our request;




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              (b) Cancelled because you no longer                     e. The effective date of cancellation stated in
                  have a financial or insurable interest                 the notice shall become the end of the
                  in the property or business operation                  policy period.
                  that is the subject of this insurance;              f. Our notice of cancellation will state the
              (c) Cancelled but rewritten with us or in                  actual reason for cancellation unless the
                  our company group; or                                  cancellation is due to nonpayment of
              (d) Cancelled after the first year, if it is a             premium.
                  prepaid policy written for a term of            2. Nonrenewal
                  more than one year.                                 a. If we decide not to renew or continue this
        (2) When this Policy is cancelled at your                        Policy, we will mail you notice at least 60
            request (except when Paragraph (1 )(b),                      days before the end of the policy period. If
            (1)(c) or (1)(d) applies), we will return                    the policy period is other than one year, we
            90% of the pro rata unearned premium                         will have the right not to renew or continue
            rounded to the next higher whole dollar.                     it only at the anniversary of its original
            However, when such cancellation takes                        effective date. If we offer to renew or
            place during the first year of a multiyear                   continue and you do not accept, this Policy
            prepaid policy, we will return the full                      will terminate at the end of the current
            annual premium for the subsequent                            policy period. Failure to pay the required
            years.                                                       renewal or continuation premium when due
        (3) When this Policy is cancelled at your                        shall mean that you have not accepted our
            request and is an auto dealer's policy                       offer.
            written on a reporting form basis, we will                b. If we fail to mail proper notice of
            calculate the return or additional                           nonrenewal and you obtain other insurance,
            premium as follows:                                          the coverages provided by this Policy will
              (a) Final annual premium will be                           end on the effective date of any similar
                  determined on the basis of the                         coverages provided by the other insurance.
                  average value reported during the                   c. Our notice of nonrenewal will state the
                  period in which the Policy was in                      actual reason for nonrenewal unless the
                  effect.                                                nonrenewal is due to nonpayment of
              (b) Pro rata earned premium will be                        premium.
                  determined based on the final annual            3. Mailing Of Notices
                  premium for the number of days the                 Any notice of cancellation or nonrenewal will
                  Policy was in force as determined by               be mailed by United States Postal Service
                  Paragraph (3)(a) rounded to the next               certificate of mailing, first-class mail using
                  higher whole dollar.                               Intelligent Mail barcode (1Mb), or another mail
              (c) Pro rata unearned premium will be                  tracking method used, approved, or accepted
                  determined by subtracting Paragraph                by the United States Postal Service to your last
                  (3)(b) from Paragraph (3)(a).                      known mailing address. Proof of mailing of any
              (d) The short rate surcharge will be                   notice will be sufficient proof of notice.
                  determined   by multiplying   the            B. For "autos" not described in Paragraph A. above:
                  unearned premium by 10% and                     1. Paragraph 2. of the Cancellation Common
                  rounding to the next higher whole                   Policy Condition is replaced by the following:
                  dollar.
                                                                      2. We may cancel this Policy by mailing or
              (e) Calculate the short rate earned                        delivering to the first Named Insured written
                  premium by adding Paragraphs                           notice of cancellation, stating the actual
                  (3)(b) and (3)(d).                                     reason for cancellation, at least:
              (f) If the short rate earned premium is                    a. 10 days before the effective date of
                  less than the sum of all payments                         cancellation  if  we    cancel    for
                  (including any deposit premium), the                      nonpayment of premium;
                  difference is the return premium.
              (g) If the short rate earned premium is
                  greater than the sum of all payments
                  (including any deposit premium), the
                  difference is the additional premium
                  due.




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        b. 30 days before the effective date of                      c. When this Policy is cancelled at the
           cancellation if cancellation is for one or                   request of the first Named Insured and
           more of the following reasons:                               is an auto dealer's policy written on a
           (1) Fraud or material misrepresentation                      reporting form basis, we will calculate
               affecting this Policy or a claim filed                   the return or additional premium as
               under this Policy or a violation of any                  follows:
               of the terms or conditions of this                       (1) Final annual premium will be
               Policy;                                                      determined on the basis of the
           (2) Changes in conditions after the                              average value reported during the
               effective date of this Policy which                          period in which the Policy was in
               have materially increased the risk                           effect.
               assumed;                                                 (2) Pro rata earned premium will be
           (3) We become insolvent; or                                      determined based on the final annual
                                                                            premium for the number of days the
           (4) We involuntarily lose reinsurance for                        Policy was in force as determined by
               this Policy;                                                 Paragraph c.(1) rounded to the next
        c. 60 days before the effective date of                             higher whole dollar.
           cancellation if we cancel for any other                      (3) Pro rata unearned premium will be
           reason.                                                          determined by subtracting Paragraph
  2. Paragraph 5. of the Cancellation Common                                c.(2) from Paragraph c.(1).
     Policy Condition is replaced by the following:                     (4) The short rate surcharge will be
     5. If this Policy is cancelled, we will send the                       determined   by   multiplying the
        first Named Insured any premium refund                              unearned premium by 10% and
        due. The cancellation will be effective even                        rounding to the next higher whole
        if we have not made or offered a refund.                            dollar.
        The following provisions govern calculation                     (5) Calculate the short rate earned
        of return premium:                                                  premium by adding Paragraphs c.(1)
        a. We will compute return premium pro                               and c.(4).
           rata and round to the next higher whole                      (6) If the short rate earned premium is
           dollar when this Policy is:                                      less than the sum of all payments
          (1) Cancelled by us or at our request:                            (including any deposit premium), the
          (2) Cancelled because you no longer                               difference is the return premium.
              have a financial or insurable interest                    (7) If the short rate earned premium is
              in the property or business operation                         greater than the sum of all payments
              that is the subject of this insurance;                        (including any deposit premium), the
          (3) Cancelled but rewritten with us or in                         difference is the additional premium
                                                                            due.
              our company group; or
          (4) Cancelled after the first year, if it is a      3. The following is added and supersedes any
                                                                 provision to the contrary:
              prepaid policy written for a term of
              more than one year.                                 Non renewal
        b. When this Policy is cancelled at the                   a. We may elect not to renew this Policy by
           request of the first Named Insured                        mailing or delivering to the first Named
           (except when Paragraph a.(2), a.(3) or                    Insured, at the last mailing address known
           a.(4) applies), we will return 90% of the                 to us, written notice of nonrenewal, stating
           pro rata unearned premium rounded to                      the actual reason for nonrenewal, at least
           the next higher whole dollar. However,                    60 days prior to the effective date of the
           when such cancellation takes place                        nonrenewal.
           during the first year of a multiyear                   b. If notice is mailed, proof of mailing will be
           prepaid policy, we will return the full                   sufficient proof of notice.
           annual premium for the subsequent
           years.




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                                                                        COMMERCIAL GENERAL LIABILITY
                                                                                       CG 22 68 09 97

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


   OPERATION OF CUSTOMERS AUTOS ON PARTICULAR
                    PREMISES
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


A. Exclusion g. of Paragraph 2., Exclusions of              B. The following definition is added to the Defini-
   Coverage A - Bodily Injury And Property                     tions Section:
   Damage Liability (Section I -Coverages) does                "Customer's auto" means an "auto" on those
   not apply to any "customer's auto" while on or              premises for the purpose of receiving the serv-
   next to those premises you own, rent or control             ices normally provided in connection with those
   that are used for any of the following businesses:          businesses but does not include an "auto" owned
   1. Auto Repair or Service Shops;                            by or rented or loaned to any insured.
   2. Car Washes;
   3. Gasoline Stations;
   4. Tire Dealers;
   5. Automobile Quick Lubrication Services.




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                                                                                           COMMERCIAL AUTO
                                                                                               CA 23 8410 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              EXCLUSION OF TERRORISM
This endorsement modifies insurance provided under the following:


   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   SINGLE INTEREST AUTOMOBILE PHYSICAL DAMAGE INSURANCE POLICY


With respect to coverage provided by this                      2. "Any injury, damage, loss or expense" means
endorsement, the provisions of the Coverage Form                  any injury, damage, loss or expense covered
apply unless modified by the endorsement.                         under any Coverage Form or Policy to which
A. The following definitions are added and apply                  this endorsement is applicable, and includes
   under this endorsement wherever the term                       but is not limited to "bodily injury", "property
   terrorism, or the phrase any injury, damage, loss              damage", "personal and advertising injury",
   or expense, is enclosed in quotation marks:                    "loss", loss of use, rental reimbursement after
                                                                  "loss" or "covered pollution cost or expense",
   1. "Terrorism" means activities against persons,               as may be defined under this Coverage Form,
      organizations or property of any nature:                    Policy or any applicable endorsement.
      a. That involve the following or preparation for      B. Except with respect to Physical Damage
         the following:                                        Coverage,      Trailer   Interchange     Coverage,
         (1) Use or threat of force or violence; or            Garagekeepers        Coverage,     Garagekeepers
                                                               Coverage -        Customers' Sound Receiving
         (2) Commission or threat of a dangerous
                                                               Equipment or the Single Interest Automobile
             act; or
                                                               Physical Damage Insurance Policy, the following
         (3) Commission or threat of an act that               exclusion is added:
             interferes with or disrupts an electronic,
                                                               Exclusion Of Terrorism
             communication,         information      or
             mechanical system; and                            We will not pay for "any injury, damage, loss or
                                                               expense" caused directly or indirectly by
      b. When one or both of the following apply:
                                                               "terrorism", including action in hindering or
         (1) The effect is to intimidate or coerce a           defending against an actual or expected incident
             government or the civilian population or          of "terrorism". "Any injury, damage, loss or
             any segment thereof, or to disrupt any            expense" is excluded regardless of any other
             segment of the economy; or                        cause or event that contributes concurrently or in
         (2) It appears that the intent is to intimidate       any sequence to such injury, damage, loss or
             or coerce a government, or to further             expense. But this exclusion applies only when
             political, ideological, religious, social or      one or more of the following are attributed to
             economic objectives or to express (or             an incident of "terrorism":
             express opposition to) a philosophy or            1. The "terrorism" is carried out by means of the
             ideology.                                            dispersal or application of radioactive material,
                                                                  or through the use of a nuclear weapon or
                                                                  device that involves or produces a nuclear
                                                                  reaction, nuclear radiation or radioactive
                                                                  contamination; or




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   2. Radioactive material is released, and it             C. With respect to Physical Damage Coverage,
      appears that one purpose of the "terrorism"             Trailer Interchange Coverage, Garagekeepers
      was to release such material; or                        Coverage,      Garagekeepers        Coverage
   3. The "terrorism" is carried out by means of the          Customers' Sound Receiving Equipment or the
      dispersal or application of pathogenic or               Single Interest Automobile Physical Damage
      poisonous biological or chemical materials; or          Insurance Policy, the following exclusion is added:
  4. Pathogenic or poisonous biological or chemical           Exclusion Of Terrorism
      materials are released, and it appears that one         We will not pay for any "loss", loss of use or rental
      purpose of the "terrorism" was to release such          reimbursement after "loss" caused directly or
      materials; or                                           indirectly by "terrorism", including action in
   5. The total of insured damage to all types of             hindering or defending against an actual or
      property exceeds $25,000,000. In determining            expected incident of "terrorism". But this
      whether the $25,000,000 threshold              is       exclusion applies only when one or more of
      exceeded, we will include all insured damage            the following are attributed to an incident of
      sustained by property of all persons and                "terrorism":
      entities affected by the "terrorism" and                1. The "terrorism" is carried out by means of the
      business interruption losses sustained by                  dispersal or application of radioactive material,
      owners or occupants of the damaged property.               or through the use of a nuclear weapon or
      For the purpose of this provision, insured                 device that involves or produces a nuclear
      damage means damage that is covered by any                 reaction, nuclear radiation or radioactive
      insurance plus damage that would be covered                contamination; or
      by any insurance but for the application of any         2. Radioactive material is released, and it
      terrorism exclusions; or                                   appears that one purpose of the "terrorism"
  6. Fifty or more persons sustain death or serious              was to release such material; or
      physical injury. For the purposes of this               3. The "terrorism" is carried out by means of the
      provision, serious physical injury means:                  dispersal or application of pathogenic or
      a. Physical injury that involves a substantial             poisonous biological or chemical materials; or
          risk of death; or                                   4. Pathogenic or poisonous biological or chemical
      b. Protracted       and     obvious     physical            materials are released, and it appears that one
          disfigurement; or                                       purpose of the "terrorism" was to release such
      c. Protracted loss of or impairment of the                  materials; or
          function of a bodily member or organ.               5. The total of insured damage to all types of
  Multiple incidents of "terrorism" which occur within           property exceeds $25,000,000. In determining
  a 72-hour period and appear to be carried out in               whether the $25,000,000 threshold             is
  concert or to have a related purpose or common                 exceeded, we will include all insured damage
  leadership will be deemed to be one incident, for              sustained by property of all persons and
  the purpose of determining whether the thresholds              entities affected by the "terrorism" and
  in Paragraphs B.5. and B.6. are exceeded.                      business interruption losses sustained by
                                                                 owners or occupants of the damaged property.
  With respect to this exclusion, Paragraphs B.5.                For the purpose of this provision, insured
  and B.6. describe the thresholds used to measure               damage means damage that is covered by any
  the magnitude of an incident of "terrorism" and the            insurance plus damage that would be covered
  circumstances in which the threshold will apply, for           by any insurance but for the application of any
  the purpose of determining whether this exclusion              terrorism exclusions.
  will apply to that incident. When the exclusion
  applies to an incident of "terrorism", there is no          Multiple incidents of "terrorism" which occur within
  coverage under this Coverage Form, Policy or any            a 72-hour period and appear to be carried out in
  applicable endorsement.                                     concert or to have a related purpose or common
                                                              leadership will be deemed to be one incident, for
                                                              the purpose of determining whether the threshold
                                                              in Paragraph C.5. is exceeded.




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   With respect to this exclusion, Paragraph C.5.          D. In the event of any incident of "terrorism" that is
   describes the threshold used to measure the                not subject to the exclusion in Paragraph B. or C.,
   magnitude of an incident of "terrorism" and the            coverage does not apply to "any injury, damage,
   circumstances in which the threshold will apply, for       loss or expense" that is otherwise excluded under
   the purpose of determining whether this exclusion          this Coverage Form, Policy or any applicable
   will apply to that incident. When the exclusion            endorsement.
   applies to an incident of "terrorism", there is no
   coverage under this Coverage Form, Policy or any
   applicable endorsement.




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                                                                                           COMMERCIAL AUTO
                                                                                               CA 99 0310 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                AUTO MEDICAL PAYMENTS COVERAGE
This endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.

A. Coverage                                                   3. "Bodily injury" sustained by any "family
   We will pay reasonable expenses incurred for                  member'' while "occupying" or struck by any
   necessary medical and funeral services to or for              vehicle (other than a covered "auto") owned by
   an "insured" who sustains "bodily injury" caused              or furnished or available for the regular use of
   by "accident". We will pay only those expenses                any "family member''.
   incurred, for services rendered within three years         4. "Bodily injury" to your "employee" arising out of
   from the date of the "accident".                              and in the course of employment by you.
B. Who Is An Insured                                             However, we will cover "bodily injury" to your
                                                                 domestic "employees" if not entitled to workers'
    1. You while "occupying" or, while a pedestrian,             compensation benefits. For the purposes of
       when struck by any "auto".                                this endorsement, a domestic "employee" is a
   2. If you are an individual, any "family member"              person engaged in household or domestic
       while "occupying" or, while a pedestrian, when            work performed principally in connection with a
        struck by any "auto".                                    residence premises.
   3. Anyone else "occupying" a covered "auto" or a           5. "Bodily injury" to an "insured" while working in
       temporary substitute for a covered "auto". The            a business of selling, servicing, repairing or
       covered "auto" must be out of service because             parking "autos" unless that business is yours.
       of its breakdown, repair, servicing, loss or           6. "Bodily injury" arising directly or indirectly out
       destruction.                                              of:
C. Exclusions                                                    a. War, including undeclared or civil war;
   This insurance does not apply to any of the                   b. Warlike action by a military force, including
   following:                                                        action in hindering or defending against an
   1. "Bodily injury" sustained by an "insured" while                actual or expected attack, by any
      "occupying" a vehicle located for use as a                     government, sovereign or other authority
      premises.                                                      using military personnel or other agents; or
   2. "Bodily injury" sustained by you or any "family            c. Insurrection, rebellion, revolution, usurped
      member'' while "occupying" or struck by any                    power, or action taken by governmental
      vehicle (other than a covered "auto") owned by                 authority in hindering or defending against
      you or furnished or available for your regular                 any of these.
      use.




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   7. "Bodily injury" to anyone using a vehicle              E. Changes In Conditions
      without a reasonable belief that the person is            The Conditions are changed for Auto Medical
      entitled to do so.                                        Payments Coverage as follows:
   8. "Bodily Injury" sustained by an "insured" while           1. The Transfer Of Rights Of Recovery Against
      "occupying" any covered "auto" while used in                 Others To Us Condition does not apply.
      any professional racing or demolition contest or
      stunting activity, or while practicing for such           2. The reference in Other Insurance in the Auto
      contest or activity. This insurance also does                Dealers and Business Auto Coverage Forms
      not apply to any "bodily injury" sustained by an             and Other Insurance - Primary And Excess
      "insured" while the "auto" is being prepared for             Insurance Provisions in the Motor Carrier
      such a contest or activity.                                  Coverage Form to "other collectible insurance"
                                                                   applies only to other collectible auto medical
D. Limit Of Insurance                                              payments insurance.
   Regardless of the number of covered "autos",              F. Additional Definitions
   "insureds", premiums paid, claims made or
   vehicles involved in the "accident", the most we             As used in this endorsement:
   will pay for "bodily injury" for each "insured" injured      1. "Family member" means a person related to
   in any one "accident" is the Limit Of Insurance for             you by blood, marriage or adoption who is a
   Auto Medical Payments Coverage shown in the                     resident of your household, including a ward or
   Declarations.                                                   foster child.
   No one will be entitled to receive duplicate                 2. "Occupying" means in, upon, getting in, on, out
   payments for the same elements of "loss" under                  or off.
   this coverage and any Liability Coverage Form,
   Uninsured Motorists Coverage Endorsement or
   Underinsured Motorists Coverage Endorsement
   attached to this Coverage Part.




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                THIS ENDORSEMENT CHANGES THE POLICY - PLEASE READ IT CAREFULLY.

                                      INFLUENZA OR EPIDEMIC EXCLUSION

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below:
(The following needs to be completed only when this endorsement is issued subsequent to inception of the policy.)


     Named Insured
            Glad Rents, Inc.

     Endorsement Effective                                     Policy Number
                        01/01/2019                                K2GP004524


This insurance does not apply to "bodily injury", "property damage", "personal and advertising injury", loss or
damage, or cost or expense arising out of, caused by or resulting from, directly or indirectly:

A. The:

     1.   infection or feared or suspected infection with;
     2.   diagnosis of or treatment for, or failure to diagnose or treat;
     3.   quarantine for or attempted containment of, or failure to quarantine or contain;
     4.   presence or detection of, or failure to detect;
     5.   prevention of or vaccination against, or failure to prevent orvaccinate;
     6.   restrictions on travel due to, or failure to restrict travel due to;or
     7.   declaration of an epidemic or pandemic due to, or failure to declare an epidemic or pandemic due to:

     any type of influenza virus, including but not limited to types A, B or C virus, any subtype or strain of the
     influenza A, B or C virus (including but not limited to the H5 and H7 subtypes), any similar or related influenza
     or virus, or any derivation from, reassortment, or mutation (occurring either naturally or through human
     intervention) of the influenza A, B or C virus, including but not limited to a human influenza virus.

B.   Any epidemic, pandemic, pandemic alert or outbreak (or other term of similar meaning) that is declared,
     announced or otherwise notified by the U.S. Center for Disease Control and Prevention (as such is
     reported in the Morbidity and Mortality Weekly Report), World Health Organization, or any national, state or
     local public health organization (or organization acting in a similar capacity).

Exclusion of the epidemic or pandemic infectious disease shall begin as of the date of such announcement or
notification and shall continue until the termination date of such epidemic or pandemic; provided, however, that this
exclusion shall continue to apply to any individual case of epidemic or pandemic infectious disease contracted
during the exclusionary period that continues beyond the termination date.




All Other Terms and Conditions Remain Unchanged.

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                  INFLUENZA OR EPIDEMIC EXCLUSION
                      NOTICE TO POLICYHOLDERS

THIS NOTICE IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT PART OF
THE POLICY.

This Notice does not form a part of your insurance contract. No coverage is provided by
this Notice, nor can it be construed to replace any provisions of your policy (including its
endorsements). If there is any conflict between this Notice and the policy (including its
endorsements), the provisions of the policy (including its endorsements) shall prevail.
Carefully read your policy, including the endorsements attached to your policy.
This Notice provides information concerning the following new endorsement, which
applies to your new or renewal policy being issued by us:


                           Influenza or Epidemic Exclusion

This endorsement makes an explicit statement regarding a risk that is not covered under
your insurance. It points out that there is no coverage for "bodily injury", "property
damage", "personal and advertising injury", loss or damage, or cost or expense arising
out of, caused by or resulting from, directly or indirectly any type of influenza or other
epidemic or pandemic alerts or outbreaks. The exclusion in this endorsement applies to
all coverages provided by your insurance policy.




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            THIS ENDORSEMENT CHANGES THE POLICY - PLEASE READ IT CAREFULLY.

                                  EXCLUSION OF ASSAULT AND BATTERY

This endorsement modifies insurance provided under the following:
        BUSINESS AUTO COVERAGE FORM
        GARAGE COVERAGE FORM
        TRUCKERS COVERAGE FORM
        COMMERCIAL GENERAL LIABILITY COVERAGE FORM
        COMMERCIAL UMBRELLA COVERAGE FORM
        COMMERCIAL FOLLOW FORM


This endorsement changes the policy effective on the inception date of the policy unless another date is indicated below:
(The following needs to be completed only when this endorsement is issued subsequent to inception of the policy.)

 Named Insured
     Glad Rents, Inc.

 Endorsement Effective                                             Policy Number
     01/01/2019                                                    K2GP004524


This insurance does not apply to:
1.   "Bodily injury," "property damage" or "personal and advertising injury" arising out of:
     a.   Assault and/or battery, any altercation, offensive contact, apprehension of offensive contact, or threat by
          words or deeds; or
     b.   Any act or omission in connection with the prevention or suppression of an assault and/or battery.
     c.   The
          1. Employment;
          2. Investigation;
          3. Supervision;
          4. Reporting to the proper authorities, or failure to so report; or
          5. Retention;
          of a person for whom any insured is or ever was legally responsible and whose conduct would be excluded
          by a. or b. above.
2.   This exclusion applies regardless of intent and without regardto:
     a.   VVhether the acts are alleged to be by or at the instruction or direction of an insured, an insured's officers,
          employees, agents or servants; or by another person lawfully or otherwise on or near premises owned or
          occupied by an insured; or by any other person; or
     b.   Any alleged failure of an insured, or an insured's officers, employees, agents or servants to prevent, bar or
          halt any such conduct.




All Other Tenns and Conditions Remain Unchanged.

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           THIS ENDORSEMENT CHANGES THE POLICY - PLEASE READ IT CAREFULLY.

                      EXCLUSION OF INJURY OR DAMAGE CAUSED BY ANIMALS


This endorsement modifies insurance provided under the following:
        BUSINESS AUTO COVERAGE FORM
        MOTOR CARRIER COVERAGE FORM
        AUTO DEALERS COVERAGE FORM
        COMMERCIAL GENERAL LIABILITY COVERAGE FORM
        COMMERCIAL UMBRELLA COVERAGE FORM
        COMMERCIAL FOLLOW FORM

This endorsement changes the policy effedive on the inception date of the policy unless another date is indicated below:
(The following needs to be completed only when this endorsement is issued subsequent to inception of the policy.)

Named Insured
   Glad Rents, Inc.

Endorsement Effedive                                   Policy Number
   01/01/2019                                              K2GP004524



This insurance does not apply to:

    Any "bodily injury·, "property damage·, "personal and advertising injury· or "loss(es)" caused by or
    resulting from an ·animal" owned by, leased or loaned to, or in the care, custody or control of any
    insured;


•animal" means any animal kept as a pet or guard animal, or that lives in association with people,
including, but not limited to, a dog, cat, horse, sheep, goat, cow, pig, or bird.




All Other Terms and Conditions Remain Unchanged.

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               THIS ENDORSEMENT CHANGES THE POLICY - PLEASE READ IT CAREFULLY.

                       EXCLUSION OF INJURY OR DAMAGE CAUSED BY FIREARMS


 This endorsement modifies insurance provided under the following:
         BUSINESS AUTO COVERAGE FORM
         MOTOR CARRIER COVERAGE FORM
         AUTO DEALERS COVERAGE FORM
         COMMERCIAL GENERAL LIABILITY COVERAGE FORM
         COMMERCIAL UMBRELLA COVERAGE FORM
         COMMERCIAL FOLLOW FORM

 This endorsement changes the policy effective on the inception date of the policy unless another date is indicated below:
 (The following needs to be completed only when this endorsement is issued subsequent to inception of the policy.)

      Named Insured
        Glad Rents, Inc.

      Endorsement Effective                                Policy Number
         01/01/2019                                                  K2GP004524



 This insurance does not apply to:

 1.     "Bodily injury·, "property damage", "personal and advertising injury· or "loss· caused by, resulting from or
        arising out of the ownership, possession, entrustment, discharge or use of any firearm. Use includes,
        but is not limited to, operation, maintenance and loading or unloading.

 2.     This exclusion applies regardless of intent and without regard to:

        a.   Whether the ownership, possession, entrustment, discharge or use of the firearm is alleged to be by or
             at the instruction or direction of an insured; an insured's officers, employees, agents or servants; by another
             person lawfully or otherwise on or near premises owned or occupied by an insured; or by any other person;
             or

        b.   Any alleged failure of an insured, or an insured's officers, employees, agents or servants to prevent, bar or
             halt any such ownership, possession, entrustment, discharge or use of a firearm.




All Other Terms and Conditions Remain Unchanged.

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                                                                                                               Policy Number
                                                                                                               K2GP004524


                            COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                  SUPPLEMENTAL DECLARATIONS


 Named Insured Glad Rents, Inc.                                                         Effective Date: O1/01/2019
                                                                                                 12:01 A.M. Standard Time
 Company Name AmGUARD Insurance Company
               16 South River Street
               Wilkes-Barre, PA 18703
 Agent Name KBK Insurance Group, a Division ofNSM Insurance Groui::                     Agent No. 150713
 Item 1. Business Description: Towing
 Item 2. Limits of Insurance
                   Coverage                                                              Limit of Liability
 Aggregate Limits of Liability                        $             3,000,000                  Products/Completed Operations
                                                                                               Aggregate

                                                      $             3,000,000                  General Aggregate (Other than
                                                                                               Products/Completed Operations)
 Coverage A-       Bodily Injury and Property         $              1,000,000                 any one occurrence subject to the
                   Damage Liability                                                            Products/Completed Operations and
                                                                                               General Aggregate Limits of Liability

                   Damage To Premises                 $                100,000                 any one premises subject to the
                   Rented To You                                                               Coverage A occurrence and the General
                                                                                               Aggregate Limits of Liability

 Coverage 8-      Personal and Advertising            $              1,000,000                 any one person or organization subject
                  Injury Liability                                                             to the General Aggregate Limits of
                                                                                               Liability

 Coverage C-       Medical Payments                   $                  5,000                 any one person subject to the Coverage
                                                                                               A occurrence and the General Aggregate
                                                                                               Limits of Liability
 Item 3. Retroactive Date Not Applicable
 Item 2. of this Insurance does not apply to ''wrongful employment practice" which occurs before the Retroactive Date, if any,
 shown here:               None
                     (Enter Date or "None" if no Retroactive Date applies)
 Item 4. Form of Business and Location of Premises
 Form of Business: Corporation
 Location of All Premises You Own, Rent or Occupy:
     See Schedule of Locations
 Item 5. Forms and Endorsements
 Form(s) and Endorsement(s) made a part of this policy at time of issue:
     See Schedule of Fonns and Endorsements
 Item 6. Premiums
 Coverage Part Premium:$                    1,155.00
 Other Premium: $
 Total Premium:$                 1,155.00
THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE NAME OF THE INSURED AND THE POLICY PERIOD.




GL 99 01 0317                                             Berkshire Hathaway                                            PAGE 1 OF 1
                                                  I       GUARD                  Insurance
                                                                                 ~m~~~
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POLICY NUMBER:                                                                                 COMMERCIAL
K2GP004524                                                                                GENERAL LIABILITY
                                                                                              CG DS 0110 01


     COMMERCIAL GENERAL LIABILITY DECLARATIONS
              COMPANY NAME AREA                                       PRODUCER NAME AREA
                                                         KBK Insurance Group, a Division ofNSM Insurance Group
AmGUARD Insurance Company
                                                         1425 Sams Avenue, Suite 201
A Stock Company
16 South River Street                                    Harahan, LA 70123-5553
Wilkes-Barre, PA 18703-0020
(800) 673-2465
NAMED INSURED:        Glad Rents, Inc.
MAILING ADDRESS:       6800 N. Oak Trafficway
                       Gladstone, MO 64118
POLICY PERIOD:      FROM          01/01/2019        TO         01/01/2020               AT 12:01 A.M. TIME AT
YOUR MAILING ADDRESS SHOWN ABOVE


IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS
POLICY, WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.


                                           LIMITS OF INSURANCE
EACH OCCURRENCE LIMIT                           $             1,000,000
        DAMAGE TO PREMISES
        RENTED TO YOU LIMIT                     $ _ _ _ _1_00~,_oo_o_ _ Any one premises
        MEDICAL EXPENSE LIMIT                   $                5,000          Any one person
PERSONAL & ADVERTISING INJURY LIMIT             $             1,000,000         Any one person or organization
GENERAL AGGREGATE LIMIT                                                     $               3,000,000
PRODUCTS/COMPLETED OPERATIONS AGGREGATE LIMIT                               $               3 000 000



                                  RETROACTIVE DATE (CG 00 02 ONLY)
THIS INSURANCE DOES NOT APPLY TO "BODILY INJURY", "PROPERTY DAMAGE" OR "PERSONAL AND
ADVERTISING INJURY" WHICH OCCURS BEFORE THE RETROACTIVE DATE, IF ANY, SHOWN BELOW.
RETROACTIVE DATE:        Not Applicable            None
                         (ENTER DATE OR "NONE" IF NO RETROACTIVE DATE APPLIES)


                                         DESCRIPTION OF BUSINESS
FORM OF BUSINESS: Corporation

•   INDIVIDUAL           •   PARTNERSHIP            •   JOINT VENTURE               •   TRUST

•   LIMITED LIABILITY COMPANY         IN ORGANIZATION, INCLUDING A CORPORATION (BUT NOT IN-
                                      CLUDING A PARTNERSHIP, JOINT VENTURE OR LIMITED LIABILITY
                                      COMPANY)

BUSINESS DESCRIPTION:
                             -Towing
                                -------------------------

                                           Berkshire Hathaway
                                           GUARD             Insurance
                                                             Companies
CG DS 0110 01                            © ISO Properties, Inc., 2000                            Page I of 2
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                                  ALL PREMISES YOU OWN, RENT OR OCCUPY
LOCATION NUMBER                           ADDRESS OF ALL PREMISES YOU OWN, RENT OR OCCUPY
                                          6800 North Oak Trafficway, Gladstone, MO 64118




                                       CLASSIFICATION AND PREMIUM
 LOCATION      CLASSIFICATION          CODE       PREMIUM                RATE            ADVANCE PREMIUM
 NUMBER                                 NO.         BASE           Prem/    Prod/Comp   Prem/    Prod/Comp
                                                                    Ops        Ops       Ops        Ops
 I            Truckers                 99793     $80,000         $   14.434 $         $ 1,155.00 $   Included




                                               STATE TAX OR OTHER (if applicable)       $
                                               TOTAL PREMIUM (SUBJECT TO AU-
                                               DIT)                                     $            1,155.00


PREMIUM SHOWN IS PAYABLE:                      AT INCEPTION                             $
                                               AT EACH ANNIVERSARY              $
                                               (IF POLICY PERIOD IS MORE THAN ONE YEAR AND PREM!-
                                               UM IS PAID IN ANNUAL INSTALLMENTS)

AUDIT PERIOD {IF APPLICABLE)            I• ANNUALLY IANNUALLY
                                                     • SEMI-              •   QUARTERLY         ,•   MONTHLY



                                               ENDORSEMENTS
ENDORSEMENTS ATTACHED TO THIS POLICY:
   See Schedule of Forms and Endorsements




THESE DECLARATIONS, TOGETHER WITH THE COMMON POLICY CONDITIONS AND COVERAGE
FORM(S) AND ANY ENDORSEMENT($), COMPLETE THE ABOVE NUMBERED POLICY.


Countersigned: 02/21/2019                                  By:

                         (Date)                                        (Authorized Representative)



NOTE
OFFICERS' FACSIMILE SIGNATURES MAY BE INSERTED HERE, ON THE POLICY COVER OR ELSE-
WHERE AT THE COMPANY'S OPTION.




Page 2 of 2                              © ISO Properties, Inc., 2000                          CG DS 0110 01
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                                                                               Policy Number K2GP004524



                       COMMERCIAL GENERAL LIABILITY COVERAGE SCHEDULE



 Named Insured Glad Rents, Inc.                                      Effective Date: O1/01/2019
                                                                          12:01 A.M. Standard Time
 Agent Name KBK Insurance Group, a Division ofNSM Insurance Grour    Aaent No. 150713
 Item 5. Location of Premises
 Location of All Premises You Own, Rent or Occupy:
    See Schedule of Locations
 Code No.           Premium Basis                                          Premises/Operations
99793              Payroll
 Location          Exposure
I                  $          80,000                          Rate                        Premium
 Classification:
Truckers                                                       14.434                         $      1,155.00

                                                                     Products/Completed Operations


                                                              Rate                        Premium


                                                                                              $      Included

 Code No.          Premium Basis                                           Premises/Operations

 Location          Exposure
                   $                                          Rate                        Premium
 Classification:
                                                                                              $
                                                                     Products/Completed Operations


                                                              Rate                        Premium

                                                                                              $

 Code No.          Premium Basis                                           Premises/Operations

 Location          Exposure
                   $                                          Rate                        Premium
 Classification:
                                                                                              $
                                                                     Products/Completed Operations


                                                              Rate                        Premium
                                                                                              $



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                This Endorsement Changes the Policy - Please Read it Carefully

                                              Asbestos Exclusion

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE PART
OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
RAILROAD PROTECTIVE LIABILITY COVERAGE PART
BUSINESSOWNERS LIABILITY COVERAGE PART

This insurance does not apply to:

A) "Bodily Injury" or "property damage" in whole or in part, either directly or indirectly arising out of, based upon or
   attributable to any of the following:

    1.   Asbestos or any asbestos related injury or damage; or

    2.   any alleged act, error, omission or duty involving asbestos, its use, exposure, presence, existence,
         detention, removal, elimination or avoidance; or

    3.   the use, exposure, presence, existence, detention, removal, elimination or avoidance of asbestos in any
         environment, building or structure; and

B) The investigation, settlement or defense of any claim, "suit" or proceeding against the insured alleging any
   actual or threatened injury or damage which arises out of or would not have occurred but for asbestos "Bodily
   Injury" or "Property Damage", as described above.

This endorsement Is effective on the Inception date of the policy unless otherwise stated herein.




All Other Terms and Conditions Remain Unchanged.
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                THIS ENDORSEMENT CHANGES THE POLICY - PLEASE READ IT CAREFULLY.

                                          LEAD CONTAMINATION EXCLUSION

This endorsement modifies insurance provided under the following:
    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
    RAILROAD PROTECTIVE LIABILITY COVERAGE PART
    BUSINESSOWNERS LIABILITY COVERAGE PART

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified
by the endorsement.

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated below:
(The following needs to be completed only when this endorsement is issued subsequent to inception of the policy.)

Named Insured Glad Rents, Inc.


Endorsement Effective                                            Policy Number
         01/01/2019                                                K2GP004524


This insurance does not apply to:

A. "Bodily injury", "property damage" or "personal and advertising injury", in whole or in part, either directly or
   indirectly, arising out of, based upon or attributable to any of the following:

    1.   The use, installation, storage, withdrawal, removal, encapsulation, destruction, containment, testing,
         distribution, ownership, presence, ingestion, inhalation, absorption, sale or disposal of lead, lead dust, lead
         fibers or material containing lead;

    2.   Exposure to lead, lead dust, lead fibers or material containing lead; or

    3.   Any error or omission in supervision, instructions, recommendations, notices, warnings or advise given, or
         which should have been given, in connection with lead, lead dust, lead fibers or material containing lead.

B. The investigation, settlement or defense of any claim, "suit" or proceeding against the insured alleging any
   actual or threatened injury or damage which arises out of or would not have occurred but for lead "bodily
   injury", "property damage" or "personal and advertising injury", as described above.




All Other Terms and Conditions Remain Unchanged.

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            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     Designated Work Exclusion

This endorsement modifies insurance under the following:

        Commercial General Liability Coverage Form
        Commercial Umbrella Coverage Form
        Commercial Follow Form Coverage Form


This insurance does not apply to any liability designated in the Schedule below arising out of:

1.      Work or operations performed by or on behalf of the insured; and

2.      Materials, parts or equipment furnished in connection with such work or operations, and

3.      Warranties or representations made at any time with respect to the fitness, quality, durability or
        performance of any of the items included in 1. or 2. above.

4.      The providing of or failure to provide warnings or instructions.


                                                  SCHEDULE

        Description of Work or Operations:


Any/All Operations Other Than Towing Operations




All Other Terms and Conditions Remain Unchanged.

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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 00 01 0413


   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.            (2) The "bodily injury" or "property damage"
Read the entire policy carefully to determine rights,               occurs during the policy period; and
duties and what is and is not covered.                          (3) Prior to the policy period, no insured listed
Throughout this policy the words "you" and "your"                   under Paragraph 1. of Section II - Who Is
refer to the Named Insured shown in the Declarations,               An Insured and no "employee" authorized
and any other person or organization qualifying as a                by you to give or receive notice of an
Named Insured under this policy. The words "we",                    "occurrence" or claim, knew that the "bodily
"us" and "our" refer to the company providing this                  injury" or "property damage" had occurred,
insurance.                                                          in whole or in part. If such a listed insured
The word "insured" means any person or organization                 or authorized "employee" knew, prior to the
qualifying as such under Section II - Who Is An                     policy period, that the "bodily injury" or
Insured.                                                            "property damage" occurred, then any
                                                                    continuation, change or resumption of such
Other words and phrases that appear in quotation                    "bodily injury" or "property damage" during
marks have special meaning. Refer to Section V -                    or after the policy period will be deemed to
Definitions.                                                        have been known prior to the policy period.
SECTION I - COVERAGES                                        c. "Bodily injury" or "property damage" which
COVERAGE A - BODILY INJURY AND PROPERTY                         occurs during the policy period and was not,
DAMAGE LIABILITY                                                prior to the policy period, known to have
                                                                occurred by any insured listed under
1. Insuring Agreement
                                                                Paragraph 1. of Section II - Who Is An Insured
   a. We will pay those sums that the insured                   or any "employee" authorized by you to give or
      becomes legally obligated to pay as damages               receive notice of an "occurrence" or claim,
      because of "bodily injury" or "property damage"           includes    any   continuation,    change    or
      to which this insurance applies. We will have             resumption of that "bodily injury" or "property
      the right and duty to defend the insured against          damage" after the end of the policy period.
      any "suit" seeking those damages. However,
                                                             d. "Bodily injury" or "property damage" will be
      we will have no duty to defend the insured
                                                                deemed to have been known to have occurred
      against any "suit" seeking damages for "bodily
      injury" or "property damage" to which this                at the earliest time when any insured listed
                                                                under Paragraph 1. of Section II - Who Is An
      insurance does not apply. We may, at our
      discretion, investigate any "occurrence" and              Insured or any "employee" authorized by you to
                                                                give or receive notice of an "occurrence" or
      settle any claim or "suit" that may result. But:
                                                                claim:
     (1) The amount we will pay for damages is
         limited as described in Section Ill - Limits           (1) Reports all, or any part, of the "bodily injury"
                                                                    or "property damage" to us or any other
         Of Insurance; and
                                                                    insurer;
     (2) Our right and duty to defend ends when we
                                                                (2) Receives a written or verbal demand or
         have used up the applicable limit of
                                                                    claim for damages because of the "bodily
         insurance in the payment of judgments or
                                                                    injury" or "property damage"; or
         settlements under Coverages A or B or
         medical expenses under Coverage C.                     (3) Becomes aware by any other means that
                                                                    "bodily injury" or "property damage" has
      No other obligation or liability to pay sums or
                                                                    occurred or has begun to occur.
      perform acts or services is covered unless
      explicitly provided for under Supplementary            e. Damages because of "bodily injury" include
      Payments - Coverages A and B.                             damages claimed          by any person or
   b. This insurance applies to "bodily injury" and             organization for care, loss of services or death
                                                                resulting at any time from the "bodily injury".
      "property damage" only if:
     (1) The "bodily injury" or "property damage" is
         caused by an "occurrence" that takes place
         in the "coverage territory";




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2. Exclusions                                                       This exclusion applies even if the claims
   This insurance does not apply to:                                against any insured allege negligence or other
                                                                    wrongdoing in:
   a. Expected Or Intended Injury
                                                                       (a) The supervision, hiring, employment,
      "Bodily injury" or "property damage" expected                        training or monitoring of others by that
      or intended from the standpoint of the insured.                      insured; or
      This exclusion does not apply to "bodily injury"
      resulting from the use of reasonable force to                    (b) Providing    or  failing to    provide
      protect persons or property.                                         transportation with respect to any
                                                                           person that may be under the influence
   b. Contractual Liability                                                of alcohol;
      "Bodily injury" or "property damage" for which                if the "occurrence" which caused the "bodily
      the insured is obligated to pay damages by                    injury" or "property damage", involved that
      reason of the assumption of liability in a                    which is described in Paragraph (1), (2) or (3)
      contract or agreement. This exclusion does not                above.
      apply to liability for damages:
                                                                    However, this exclusion applies only if you are
     (1) That the insured would have in the absence                 in the business of manufacturing, distributing,
         of the contract or agreement; or                           selling,     serving    or furnishing     alcoholic
     (2) Assumed in a contract or agreement that is                 beverages. For the purposes of this exclusion,
         an "insured contract", provided the "bodily                permitting a person to bring alcoholic
         injury" or "property damage" occurs                        beverages on your premises, for consumption
         subsequent to the execution of the contract                on your premises, whether or not a fee is
         or agreement. Solely for the purposes of                   charged or a license is required for such
         liability assumed in an "insured contract",                activity, is not by itself considered the business
         reasonable attorneys' fees and necessary                   of selling, serving or furnishing alcoholic
         litigation expenses incurred by or for a party             beverages.
         other than an insured are deemed to be                 d. Workers' Compensation And Similar Laws
         damages because of "bodily injury" or
         "property damage", provided:                              Any obligation of the insured under a workers'
                                                                   compensation,       disability  benefits    or
        (a) Liability to such party for, or for the cost           unemployment compensation law or any
            of, that party's defense has also been                 similar law.
            assumed in the same "insured contract";
            and                                                 e. Employer's Liability

        (b) Such attorneys' fees and litigation                     "Bodily injury" to:
            expenses are for defense of that party                 (1) An "employee" of the insured arising out of
            against a civil or alternative dispute                     and in the course of:
            resolution proceeding in which damages                     (a) Employment by the insured; or
            to which this insurance applies are
            alleged.                                                  (b) Performing duties related to the conduct
                                                                          of the insured's business; or
   c. Liquor Liability
                                                                   (2) The spouse, child, parent, brother or sister
      "Bodily injury" or "property damage" for which                   of that "employee" as a consequence of
      any insured may be held liable by reason of:                     Paragraph (1) above.
     (1) Causing or contributing to the intoxication of            This exclusion applies whether the insured
         any person;                                               may be liable as an employer or in any other
     (2) The furnishing of alcoholic beverages to a                capacity and to any obligation to share
         person under the legal drinking age or                    damages with or repay someone else who
         under the influence of alcohol; or                        must pay damages because of the injury.
     (3) Any statute, ordinance or regulation relating             This exclusion does not apply to liability
         to the sale, gift, distribution or use of                 assumed by the insured under an "insured
         alcoholic beverages.                                      contract".




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   f. Pollution                                                       (d) At or from any premises, site or location
     (1) "Bodily injury" or "property damage" arising                     on which any insured or any contractors
         out of the actual, alleged or threatened                         or subcontractors working directly or
         discharge, dispersal, seepage, migration,                        indirectly on any insured's behalf are
         release or escape of "pollutants":                               performing operations if the "pollutants"
                                                                          are brought on or to the premises, site
        (a) At or from any premises, site or location                     or location in connection with such
            which is or was at any time owned or                          operations by such insured, contractor
            occupied by, or rented or loaned to, any                      or    subcontractor.   However,      this
            insured. However, this subparagraph                           subparagraph does not apply to:
            does not apply to:
                                                                          (i) "Bodily injury" or "property damage"
            (i) "Bodily injury" if sustained within a                           arising out of the escape of fuels,
                  building and caused by smoke,                                 lubricants or other operating fluids
                  fumes, vapor or soot produced by or                           which are needed to perform the
                  originating from equipment that is                            normal     electrical,  hydraulic or
                  used to heat, cool or dehumidify the                          mechanical functions necessary for
                  building, or equipment that is used to                        the operation of "mobile equipment"
                  heat water for personal use, by the                           or its parts, if such fuels, lubricants
                  building's occupants or their guests;                         or other operating fluids escape from
           (ii) "Bodily injury" or "property damage"                            a vehicle part designed to hold, store
                  for which you may be held liable, if                          or receive them. This exception does
                  you are a contractor and the owner                            not apply if the "bodily injury" or
                  or lessee of such premises, site or                           "property damage" arises out of the
                  location has been added to your                               intentional discharge, dispersal or
                  policy as an additional insured with                          release of the fuels, lubricants or
                  respect to your ongoing operations                            other operating fluids, or if such
                  performed for that additional insured                         fuels, lubricants or other operating
                  at that premises, site or location and                        fluids are brought on or to the
                  such premises, site or location is not                        premises, site or location with the
                  and never was owned or occupied                               intent that they be discharged,
                  by, or rented or loaned to, any                               dispersed or released as part of the
                  insured, other than that additional                           operations being performed by such
                  insured; or                                                   insured, contractor or subcontractor;
          (iii) "Bodily injury" or "property damage"                     (ii) "Bodily injury" or "property damage"
                  arising out of heat, smoke or fumes                           sustained within a building and
                  from a "hostile fire";                                        caused by the release of gases,
       (b) At or from any premises, site or location                            fumes or vapors from materials
           which is or was at any time used by or                               brought into that building in
           for any insured or others for the                                    connection with operations being
           handling, storage, disposal, processing                              performed by you or on your behalf
           or treatment of waste;                                               by a contractor or subcontractor; or
       (c) Which are or were at any time                                (iii) "Bodily injury" or "property damage"
           transported, handled, stored, treated,                             arising out of heat, smoke or fumes
           disposed of, or processed as waste by                              from a "hostile fire".
           or for:                                                   (e) At or from any premises, site or location
            (i) Any insured; or                                          on which any insured or any contractors
                                                                         or subcontractors working directly or
           (ii) Any person or organization for whom                      indirectly on any insured's behalf are
                  you may be legally responsible; or                     performing operations if the operations
                                                                         are to test for, monitor, clean up,
                                                                         remove, contain, treat, detoxify or
                                                                         neutralize, or in any way respond to, or
                                                                         assess the effects of, "pollutants".




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     (2) Any loss, cost or expense arising out of                (5) "Bodily injury" or "property damage" arising
         any:                                                        out of:
        (a) Request, demand, order or statutory or                  (a) The     operation    of machinery      or
            regulatory requirement that any insured                     equipment that is attached to, or part of,
            or others test for, monitor, clean up,                      a land vehicle that would qualify under
            remove, contain, treat, detoxify or                         the definition of "mobile equipment" if it
            neutralize, or in any way respond to, or                    were not subject to a compulsory or
            assess the effects of, "pollutants"; or                     financial responsibility law or other
        (b) Claim or suit by or on behalf of a                          motor vehicle insurance law where it is
            governmental authority for damages                          licensed or principally garaged; or
            because of testing for, monitoring,                     (b) The operation of any of the machinery
            cleaning up, removing, containing,                          or equipment listed in Paragraph f.(2) or
            treating, detoxifying or neutralizing, or in                f.(3) of the definition of "mobile
            any way responding to, or assessing the                     equipment".
            effects of, "pollutants".                         h. Mobile Equipment
         However, this paragraph does not apply to               "Bodily injury" or "property damage" arising out
         liability for damages because of "property              of:
         damage" that the insured would have in the
         absence of such request, demand, order or               (1) The transportation of "mobile equipment" by
         statutory or regulatory requirement, or such                an "auto" owned or operated by or rented or
         claim or "suit" by or on behalf of a                        loaned to any insured; or
         governmental authority.                                 (2) The use of "mobile equipment" in, or while
   g. Aircraft, Auto Or Watercraft                                   in practice for, or while being prepared for,
                                                                     any prearranged racing, speed, demolition,
      "Bodily injury" or "property damage" arising out               or stunting activity.
      of the ownership, maintenance, use or
      entrustment to others of any aircraft, "auto" or         i. War
      watercraft owned or operated by or rented or               "Bodily injury" or "property damage", however
      loaned to any insured. Use includes operation              caused, arising, directly or indirectly, out of:
      and "loading or unloading".
                                                                 (1) War, including undeclared or civil war;
      This exclusion applies even if the claims
                                                                 (2) Warlike action by a military force, including
      against any insured allege negligence or other
                                                                     action in hindering or defending against an
      wrongdoing      in the     supervision,   hiring,
                                                                     actual or expected attack, by any
      employment, training or monitoring of others by
                                                                     government, sovereign or other authority
      that insured, if the "occurrence" which caused
                                                                     using military personnel or other agents; or
      the "bodily injury" or "property damage"
      involved the ownership, maintenance, use or                (3) Insurrection, rebellion, revolution, usurped
      entrustment to others of any aircraft, "auto" or               power, or action taken by governmental
      watercraft that is owned or operated by or                     authority in hindering or defending against
      rented or loaned to any insured.                               any of these.
      This exclusion does not apply to:                        j. Damage To Property
     (1) A watercraft while ashore on premises you               "Property damage" to:
         own or rent;                                            (1) Property you own, rent, or occupy, including
     (2) A watercraft you do not own that is:                        any costs or expenses incurred by you, or
                                                                     any other person, organization or entity, for
        (a) Less than 26 feet long; and
                                                                     repair,     replacement,      enhancement,
        (b) Not being used to carry persons or                       restoration or maintenance of such property
            property for a charge;                                   for any reason, including prevention of
     (3) Parking an "auto" on, or on the ways next                   injury to a person or damage to another's
         to, premises you own or rent, provided the                  property;
         "auto" is not owned by or rented or loaned              (2) Premises you sell, give away or abandon, if
         to you or the insured;                                      the "property damage" arises out of any
     (4) Liability assumed under any "insured                        part of those premises;
         contract" for the ownership, maintenance or             (3) Property loaned to you;
         use of aircraft or watercraft; or




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     (4) Personal property in the care, custody or                This exclusion does not apply to the loss of use
         control of the insured;                                  of other property arising out of sudden and
     (5) That particular part of real property on                 accidental physical injury to "your product" or
         which you or any contractors or                          "your work" after it has been put to its intended
         subcontractors working directly or indirectly            use.
         on your behalf are performing operations, if         n. Recall Of Products, Work Or Impaired
         the "property damage" arises out of those               Property
         operations; or                                           Damages claimed for any loss, cost or
     (6) That particular part of any property that                expense incurred by you or others for the loss
         must be restored, repaired or replaced                   of use, withdrawal, recall, inspection, repair,
         because "your work" was incorrectly                      replacement, adjustment, removal or disposal
         performed on it.                                         of:
     Paragraphs (1 ), (3) and (4) of this exclusion do           (1) "Your product";
     not apply to "property damage" (other than                  (2) "Your work"; or
     damage by fire) to premises, including the
     contents of such premises, rented to you for a              (3) "Impaired property";
     period of seven or fewer consecutive days. A                 if such product, work, or property is withdrawn
     separate limit of insurance applies to Damage                or recalled from the market or from use by any
     To Premises Rented To You as described in                    person or organization because of a known or
     Section Ill - Limits Of Insurance.                           suspected defect, deficiency, inadequacy or
     Paragraph (2) of this exclusion does not apply               dangerous condition in it.
     if the premises are "your work" and were never           o. Personal And Advertising Injury
     occupied, rented or held for rental by you.
                                                                  "Bodily injury" arising out of "personal and
     Paragraphs (3), (4), (5) and (6) of this                     advertising injury".
     exclusion do not apply to liability assumed
                                                              p. Electronic Data
     under a sidetrack agreement.
                                                                  Damages arising out of the loss of, loss of use
     Paragraph (6) of this exclusion does not apply
                                                                  of, damage to, corruption of, inability to access,
     to "property damage" included in the "products-
                                                                  or inability to manipulate electronic data.
     completed operations hazard".
                                                                  However, this exclusion does not apply to
   k. Damage To Your Product
                                                                  liability for damages because of "bodily injury".
     "Property damage" to "your product" arising out
                                                                 As used in this exclusion, electronic data
     of it or any part of it.
                                                                 means information, facts or programs stored as
   I. Damage To Your Work                                        or on, created or used on, or transmitted to or
     "Property damage" to "your work" arising out of             from computer software, including systems and
     it or any part of it and included in the "products-         applications software, hard or floppy disks, CD-
     completed operations hazard".                               ROMs, tapes, drives, cells, data processing
                                                                 devices or any other media which are used
     This exclusion does not apply if the damaged                with electronically controlled equipment.
     work or the work out of which the damage
     arises was performed on your behalf by a                 q. Recording And Distribution Of Material Or
     subcontractor.                                              Information In Violation Of Law
  m. Damage To Impaired Property Or Property                     "Bodily injury" or "property damage" arising
     Not Physically Injured                                      directly or indirectly out of any action or
                                                                 omission that violates or is alleged to violate:
     "Property damage" to "impaired property" or
     property that has not been physically injured,              (1) The Telephone Consumer Protection Act
     arising out of:                                                 (TCPA), including any amendment of or
                                                                     addition to such law;
     (1) A defect, deficiency, inadequacy or
         dangerous condition in "your product" or                (2) The CAN-SPAM Act of 2003, including any
         "your work"; or                                             amendment of or addition to such law;
     (2) A delay or failure by you or anyone acting              (3) The Fair Credit Reporting Act (FCRA), and
         on your behalf to perform a contract or                     any amendment of or addition to such law,
         agreement in accordance with its terms.                     including the Fair and Accurate Credit
                                                                     Transactions Act (FACTA); or




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     (4) Any federal, state or local statute,              2. Exclusions
         ordinance or regulation, other than the              This insurance does not apply to:
         TCPA, CAN-SPAM Act of 2003 or FCRA
         and their amendments and additions, that             a. Knowing Violation Of Rights Of Another
         addresses, prohibits, or limits the printing,           "Personal and advertising injury" caused by or
         dissemination,     disposal,       collecting,          at the direction of the insured with the
         recording,     sending,         transmitting,           knowledge that the act would violate the rights
         communicating or distribution of material or            of another and would inflict "personal and
         information.                                            advertising injury".
  Exclusions c. through n. do not apply to damage             b. Material Published With Knowledge Of
  by fire to premises while rented to you or                     Falsity
  temporarily occupied by you with permission of the             "Personal and advertising injury" arising out of
  owner. A separate limit of insurance applies to this           oral or written publication, in any manner, of
  coverage as described in Section Ill - Limits Of               material, if done by or at the direction of the
  Insurance.                                                     insured with knowledge of its falsity.
COVERAGE B - PERSONAL AND ADVERTISING                         c. Material Published Prior To Policy Period
INJURY LIABILITY
                                                                 "Personal and advertising injury" arising out of
1. Insuring Agreement                                            oral or written publication, in any manner, of
   a. We will pay those sums that the insured                    material whose first publication took place
      becomes legally obligated to pay as damages                before the beginning of the policy period.
      because of "personal and advertising injury" to         d. Criminal Acts
      which this insurance applies. We will have the
      right and duty to defend the insured against               "Personal and advertising injury" arising out of
      any "suit" seeking those damages. However,                 a criminal act committed by or at the direction
      we will have no duty to defend the insured                 of the insured.
      against any "suit" seeking damages for                  e. Contractual Liability
      "personal and advertising injury" to which this
                                                                 "Personal and advertising injury" for which the
      insurance does not apply. We may, at our
                                                                 insured has assumed liability in a contract or
      discretion, investigate any offense and settle
                                                                 agreement. This exclusion does not apply to
      any claim or "suit" that may result. But:
                                                                 liability for damages that the insured would
     (1) The amount we will pay for damages is                   have in the absence of the contract or
         limited as described in Section Ill - Limits            agreement.
         Of Insurance; and
                                                               f. Breach Of Contract
     (2) Our right and duty to defend end when we
                                                                 "Personal and advertising injury" arising out of
         have used up the applicable limit of
                                                                 a breach of contract, except an implied
         insurance in the payment of judgments or
                                                                 contract to use another's advertising idea in
         settlements under Coverages A or B or
                                                                 your "advertisement".
         medical expenses under Coverage C.
                                                              g. Quality Or Performance Of Goods - Failure
      No other obligation or liability to pay sums or
                                                                 To Conform To Statements
      perform acts or services is covered unless
      explicitly provided for under Supplementary                "Personal and advertising injury" arising out of
      Payments - Coverages A and B.                              the failure of goods, products or services to
                                                                 conform with any statement of quality or
   b. This insurance applies to "personal and
                                                                 performance made in your "advertisement".
      advertising injury" caused by an offense arising
      out of your business but only if the offense was        h. Wrong Description Of Prices
      committed in the "coverage territory" during the           "Personal and advertising injury" arising out of
      policy period.                                             the wrong description of the price of goods,
                                                                 products or services        stated     in  your
                                                                 "advertisement".




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   i. Infringement Of Copyright, Patent,                     n. Pollution-related
      Trademark Or Trade Secret                                  Any loss, cost or expense arising out of any:
     "Personal and advertising injury" arising out of           (1) Request, demand, order or statutory or
     the    infringement of copyright,         patent,              regulatory requirement that any insured or
     trademark, trade secret or other intellectual                  others test for, monitor, clean up, remove,
     property rights. Under this exclusion, such                    contain, treat, detoxify or neutralize, or in
     other intellectual property rights do not include              any way respond to, or assess the effects
     the use of another's advertising idea in your                  of, "pollutants"; or
     "advertisement".
                                                                (2) Claim or suit by or on behalf of a
     However, this exclusion does not apply to                      governmental      authority for damages
     infringement, in your "advertisement", of                      because of testing for, monitoring, cleaning
     copyright, trade dress or slogan.                              up,     removing,     containing,   treating,
   j. Insureds In Media And Internet Type                           detoxifying or neutralizing, or in any way
      Businesses                                                    responding to, or assessing the effects of,
     "Personal and advertising injury" committed by                 "pollutants".
     an insured whose business is:                           o. War
     (1) Advertising,   broadcasting,   publishing   or          "Personal and advertising injury", however
         telecasting;                                            caused, arising, directly or indirectly, out of:
     (2) Designing or determining content of web                (1) War, including undeclared or civil war;
         sites for others; or                                   (2) Warlike action by a military force, including
     (3) An Internet search, access, content or                     action in hindering or defending against an
         service provider.                                          actual or expected attack, by any
     However, this exclusion does not apply to                      government, sovereign or other authority
     Paragraphs 14.a., b. and c. of "personal and                   using military personnel or other agents; or
     advertising injury" under the Definitions                  (3) Insurrection, rebellion, revolution, usurped
     section.                                                       power, or action taken by governmental
     For the purposes of this exclusion, the placing                authority in hindering or defending against
     of frames, borders or links, or advertising, for               any of these.
     you or others anywhere on the Internet, is not          p. Recording And Distribution Of Material Or
     by itself, considered the business of                      Information In Violation Of Law
     advertising,  broadcasting,     publishing    or            "Personal and advertising injury" arising
     telecasting.                                                directly or indirectly out of any action or
   k. Electronic Chatrooms Or Bulletin Boards                    omission that violates or is alleged to violate:
     "Personal and advertising injury" arising out of           (1) The Telephone Consumer Protection Act
     an electronic chatroom or bulletin board the                   (TCPA), including any amendment of or
     insured hosts, owns, or over which the insured                 addition to such law;
     exercises control.                                         (2) The CAN-SPAM Act of 2003, including any
   I. Unauthorized Use Of Another's Name Or                         amendment of or addition to such law;
     Product                                                    (3) The Fair Credit Reporting Act (FCRA), and
     "Personal and advertising injury" arising out of               any amendment of or addition to such law,
     the unauthorized use of another's name or                      including the Fair and Accurate Credit
     product in your e-mail address, domain name                    Transactions Act (FACTA); or
     or metatag, or any other similar tactics to                (4) Any federal, state or local statute,
     mislead another's potential customers.                         ordinance or regulation, other than the
  m. Pollution                                                      TCPA, CAN-SPAM Act of 2003 or FCRA
     "Personal and advertising injury" arising out of               and their amendments and additions, that
     the actual, alleged or threatened discharge,                   addresses, prohibits, or limits the printing,
     dispersal, seepage, migration, release or                      dissemination,     disposal,       collecting,
     escape of "pollutants" at any time.                            recording,     sending,         transmitting,
                                                                    communicating or distribution of material or
                                                                    information.




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COVERAGE C - MEDICAL PAYMENTS                                  d. Workers' Compensation And Similar Laws
1. Insuring Agreement                                              To a person, whether or not an "employee" of
   a. We will pay medical expenses as described                    any insured, if benefits for the "bodily injury"
      below for "bodily injury" caused by an accident:             are payable or must be provided under a
                                                                   workers' compensation or disability benefits
      (1) On premises you own or rent;                             law or a similar law.
      (2) On ways next to premises you own or rent;            e. Athletics Activities
          or
                                                                   To a person injured while practicing, instructing
      (3) Because of your operations;                              or participating in any physical exercises or
      provided that:                                               games, sports, or athletic contests.
         (a) The accident takes place in the                    f. Products-Completed Operations Hazard
             "coverage territory" and during the policy            Included within the        "products-completed
             period;                                               operations hazard".
         (b) The expenses are incurred and reported            g. Coverage A Exclusions
             to us within one year of the date of the
             accident; and                                         Excluded under Coverage A.
         (c) The    injured   person    submits    to       SUPPLEMENTARY PAYMENTS-COVERAGES A
             examination, at our expense, by                ANDB
             physicians of our choice as often as we        1. We will pay, with respect to any claim we
             reasonably require.                               investigate or settle, or any "suit" against an
   b. We will make these payments regardless of                insured we defend:
      fault. These payments will not exceed the                a. All expenses we incur.
      applicable limit of insurance. We will pay               b. Up to $250 for cost of bail bonds required
      reasonable expenses for:                                    because of accidents or traffic law violations
      (1) First aid administered at the time of an                arising out of the use of any vehicle to which
          accident;                                               the Bodily Injury Liability Coverage applies. We
      (2) Necessary medical, surgical, X-ray and                  do not have to furnish these bonds.
          dental    services, including prosthetic             c. The cost of bonds to release attachments, but
          devices; and                                            only for bond amounts within the applicable
      (3) Necessary        ambulance,         hospital,           limit of insurance. We do not have to furnish
          professional nursing and funeral services.              these bonds.
2. Exclusions                                                  d. All reasonable expenses incurred by the
                                                                  insured at our request to assist us in the
   We will not pay expenses for "bodily injury":                  investigation or defense of the claim or "suit",
   a. Any Insured                                                 including actual loss of earnings up to $250 a
      To any insured, except "volunteer workers".                 day because of time off from work.

   b. Hired Person                                             e. All court costs taxed against the insured in the
                                                                  "suit". However, these payments do not include
      To a person hired to do work for or on behalf of            attorneys' fees or attorneys' expenses taxed
      any insured or a tenant of any insured.                     against the insured.
   c. Injury On Normally Occupied Premises                      f. Prejudgment interest awarded against the
      To a person injured on that part of premises                 insured on that part of the judgment we pay. If
      you own or rent that the person normally                     we make an offer to pay the applicable limit of
      occupies.                                                    insurance, we will not pay any prejudgment
                                                                   interest based on that period of time after the
                                                                   offer.




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   g. All interest on the full amount of any judgment            So long as the above conditions are met,
      that accrues after entry of the judgment and               attorneys' fees incurred by us in the defense of
      before we have paid, offered to pay, or                    that indemnitee, necessary litigation expenses
      deposited in court the part of the judgment that           incurred by us and necessary litigation expenses
      is within the applicable limit of insurance.               incurred by the indemnitee at our request will be
   These payments will not reduce the limits of                  paid        as       Supplementary     Payments.
   insurance.                                                    Notwithstanding the provisions of Paragraph
                                                                 2.b.(2) of Section I - Coverage A - Bodily Injury
2. If we defend an insured against a "suit" and an               And Property Damage Liability, such payments will
   indemnitee of the insured is also named as a party            not be deemed to be damages for "bodily injury"
   to the "suit", we will defend that indemnitee if all of       and "property damage" and will not reduce the
   the following conditions are met:                             limits of insurance.
   a. The "suit" against the indemnitee seeks                    Our obligation to defend an insured's indemnitee
      damages for which the insured has assumed                  and to pay for attorneys' fees and necessary
      the liability of the indemnitee in a contract or           litigation expenses as Supplementary Payments
      agreement that is an "insured contract";                   ends when we have used up the applicable limit of
   b. This insurance applies          to   such   liability      insurance in the payment of judgments or
      assumed by the insured;                                    settlements or the conditions set forth above, or
                                                                 the terms of the agreement described in
   c. The obligation to defend, or the cost of the
                                                                 Paragraph f. above, are no longer met.
      defense of, that indemnitee, has also been
      assumed by the insured in the same "insured             SECTION II - WHO IS AN INSURED
      contract";                                              1. If you are designated in the Declarations as:
   d. The allegations in the "suit" and the information          a. An individual, you and your spouse are
      we know about the "occurrence" are such that                  insureds, but only with respect to the conduct
      no conflict appears to exist between the                      of a business of which you are the sole owner.
      interests of the insured and the interests of the
      indemnitee;                                                b. A partnership or joint venture, you are an
                                                                    insured. Your members, your partners, and
   e. The indemnitee and the insured ask us to                      their spouses are also insureds, but only with
      conduct and control the defense of that                       respect to the conduct of your business.
      indemnitee against such "suit" and agree that
      we can assign the same counsel to defend the               c. A limited liability company, you are an insured.
      insured and the indemnitee; and                               Your members are also insureds, but only with
                                                                    respect to the conduct of your business. Your
   f. The indemnitee:                                               managers are insureds, but only with respect
      (1) Agrees in writing to:                                     to their duties as your managers.
         (a) Cooperate with us in the investigation,             d. An organization other than a partnership, joint
             settlement or defense of the "suit";                   venture or limited liability company, you are an
                                                                    insured. Your "executive officers" and directors
         (b) Immediately send us copies of any
             demands, notices, summonses or legal                   are insureds, but only with respect to their
             papers received in connection with the                 duties as your officers or directors. Your
             "suit";                                                stockholders are also insureds, but only with
                                                                    respect to their liability as stockholders.
         (c) Notify any other insurer whose coverage
             is available to the indemnitee; and                 e. A trust, you are an insured. Your trustees are
                                                                    also insureds, but only with respect to their
         (d) Cooperate with us with respect to                      duties as trustees.
             coordinating other applicable insurance
             available to the indemnitee; and
      (2) Provides us with written authorization to:
         (a) Obtain records and other information
             related to the "suit"; and
         (b) Conduct and control the defense of the
             indemnitee in such "suit".




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2. Each of the following is also an insured:                    c. Any person or organization having proper
   a. Your "volunteer workers" only while performing               temporary custody of your property if you die,
       duties related to the conduct of your business,             but only:
       or your "employees", other than either your                 (1) With respect to liability arising out of the
       "executive officers" (if you are an organization                maintenance or use of that property; and
       other than a partnership, joint venture or limited          (2) Until your legal representative has been
       liability company) or your managers (if you are                 appointed.
       a limited liability company), but only for acts
       within the scope of their employment by you or           d. Your legal representative if you die, but only
       while performing duties related to the conduct              with respect to duties as such. That
       of your business. However, none of these                    representative will have all your rights and
       "employees" or "volunteer workers" are                      duties under this Coverage Part.
       insureds for:                                         3. Any organization you newly acquire or form, other
      (1) "Bodily injury" or "personal and advertising          than a partnership, joint venture or limited liability
           injury":                                             company, and over which you maintain ownership
                                                                or majority interest, will qualify as a Named
          (a) To you, to your partners or members (if           Insured if there is no other similar insurance
                you are a partnership or joint venture),        available to that organization. However:
                to your members (if you are a limited
                liability company), to a co-"employee"          a. Coverage under this provision is afforded only
                while in the course of his or her                  until the 90th day after you acquire or form the
                employment or performing duties related            organization or the end of the policy period,
                to the conduct of your business, or to             whichever is earlier;
                your other "volunteer workers" while            b. Coverage A does not apply to "bodily injury" or
                performing duties related to the conduct           "property damage" that occurred before you
                of your business;                                  acquired or formed the organization; and
          (b) To the spouse, child, parent, brother or          c. Coverage B does not apply to "personal and
                sister of that co-"employee" or                    advertising injury" arising out of an offense
                "volunteer worker'' as a consequence of            committed before you acquired or formed the
                Paragraph (1 )(a) above;                           organization.
          (c) For which there is any obligation to           No person or organization is an insured with respect
                share damages with or repay someone          to the conduct of any current or past partnership, joint
                else who must pay damages because of         venture or limited liability company that is not shown
                the injury described in Paragraph (1)(a)     as a Named Insured in the Declarations.
                or (b) above; or                             SECTION Ill - LIMITS OF INSURANCE
          (d) Arising out of his or her providing or
                                                             1. The Limits of Insurance shown in the Declarations
                failing to provide professional health          and the rules below fix the most we will pay
                care services.
                                                                regardless of the number of:
      (2) "Property damage" to property:
                                                                a. Insureds;
          (a) Owned, occupied or used by;
                                                                b. Claims made or "suits" brought; or
          (b) Rented to, in the care, custody or
                                                                c. Persons or organizations making claims or
                control of, or over which physical control
                                                                   bringing "suits".
                is being exercised for any purpose by;
                                                             2. The General Aggregate Limit is the most we will
           you, any of your "employees", "volunteer
                                                                pay for the sum of:
           workers", any partner or member (if you are
           a partnership or joint venture), or any              a. Medical expenses under Coverage C;
           member (if you are a limited liability               b. Damages under Coverage A, except damages
           company).                                               because of "bodily injury" or "property damage"
   b. Any person (other than your "employee" or                    included in the "products-completed operations
       "volunteer worker''), or any organization while             hazard"; and
       acting as your real estate manager.                      c. Damages under Coverage B.




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3. The Products-Completed Operations Aggregate                   (3) The nature and location of any injury or
   Limit is the most we will pay under Coverage A for                damage arising out of the "occurrence" or
   damages because of "bodily injury" and "property                  offense.
   damage" included in the "products-completed                b. If a claim is made or "suit" is brought against
   operations hazard".                                           any insured, you must:
4. Subject to Paragraph 2. above, the Personal And               (1) Immediately record the specifics of the
   Advertising Injury Limit is the most we will pay                  claim or "suit" and the date received; and
   under Coverage B for the sum of all damages
   because of all "personal and advertising injury"              (2) Notify us as soon as practicable.
   sustained by any one person or organization.                   You must see to it that we receive written
5. Subject to Paragraph 2. or 3. above, whichever                 notice of the claim or "suit" as soon as
    applies, the Each Occurrence Limit is the most we             practicable.
    will pay for the sum of:                                  c. You and any other involved insured must:
    a. Damages under Coverage A; and                             (1) Immediately send us copies of any
    b. Medical expenses under Coverage C                             demands, notices, summonses or legal
                                                                     papers received in connection with the
    because of all "bodily injury" and "property                     claim or "suit";
    damage" arising out of any one "occurrence".
                                                                 (2) Authorize us to obtain records and other
6. Subject to Paragraph 5. above, the Damage To                      information;
    Premises Rented To You Limit is the most we will
    pay under Coverage A for damages because of                  (3) Cooperate with us in the investigation or
    "property damage" to any one premises, while                     settlement of the claim or defense against
    rented to you, or in the case of damage by fire,                 the "suit"; and
    while rented to you or temporarily occupied by you           (4) Assist us, upon our request, in the
    with permission of the owner.                                    enforcement of any right against any
7. Subject to Paragraph 5. above, the Medical                        person or organization which may be liable
    Expense Limit is the most we will pay under                      to the insured because of injury or damage
    Coverage C for all medical expenses because of                   to which this insurance may also apply.
    "bodily injury" sustained by any one person.              d. No insured will, except at that insured's own
The Limits of Insurance of this Coverage Part apply              cost, voluntarily make a payment, assume any
separately to each consecutive annual period and to              obligation, or incur any expense, other than for
any remaining period of less than 12 months, starting            first aid, without our consent.
with the beginning of the policy period shown in the       3. Legal Action Against Us
Declarations, unless the policy period is extended
                                                              No person or organization has a right under this
after issuance for an additional period of less than 12
                                                              Coverage Part:
months. In that case, the additional period will be
deemed part of the last preceding period for purposes         a. To join us as a party or otherwise bring us into
of determining the Limits of Insurance.                           a "suit" asking for damages from an insured; or
SECTION IV - COMMERCIAL GENERAL LIABILITY                     b. To sue us on this Coverage Part unless all of
CONDITIONS                                                       its terms have been fully complied with.
1. Bankruptcy                                                 A person or organization may sue us to recover on
                                                              an agreed settlement or on a final judgment
   Bankruptcy or insolvency of the insured or of the
                                                              against an insured; but we will not be liable for
   insured's estate will not relieve us of our
                                                              damages that are not payable under the terms of
   obligations under this Coverage Part.
                                                              this Coverage Part or that are in excess of the
2. Duties In The Event Of Occurrence, Offense,                applicable limit of insurance. An agreed settlement
   Claim Or Suit                                              means a settlement and release of liability signed
   a. You must see to it that we are notified as soon         by us, the insured and the claimant or the
      as practicable of an "occurrence" or an offense         claimant's legal representative.
      which may result in a claim. To the extent
      possible, notice should include:
      (1) How, when and where the "occurrence" or
          offense took place;
      (2) The names and addresses of any injured
          persons and witnesses; and




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4. Other Insurance                                                (3) When this insurance is excess over other
   If other valid and collectible insurance is available              insurance, we will pay only our share of the
   to the insured for a loss we cover under                           amount of the loss, if any, that exceeds the
   Coverages A or B of this Coverage Part, our                        sum of:
   obligations are limited as follows:                               (a) The total amount that all such other
   a. Primary Insurance                                                  insurance would pay for the loss in the
                                                                         absence of this insurance; and
      This insurance is primary except when
      Paragraph b. below applies. If this insurance is               (b) The total of all deductible and self-
      primary, our obligations are not affected unless                   insured amounts under all that other
      any of the other insurance is also primary.                        insurance.
      Then, we will share with all that other                     (4) We will share the remaining loss, if any,
      insurance by the method described in                            with any other insurance that is not
      Paragraph c. below.                                             described in this Excess Insurance
   b. Excesslnsurance                                                 provision and was not bought specifically to
                                                                      apply in excess of the Limits of Insurance
     (1) This insurance is excess over:                               shown in the Declarations of this Coverage
         (a) Any of the other insurance, whether                      Part.
             primary, excess, contingent or on any             c. Method Of Sharing
             other basis:
                                                                  If all of the other insurance permits contribution
             (i) That is Fire, Extended Coverage,                 by equal shares, we will follow this method
                 Builder's Risk, Installation Risk or             also. Under this approach each insurer
                 similar coverage for "your work";                contributes equal amounts until it has paid its
            (ii) That is Fire insurance for premises              applicable limit of insurance or none of the loss
                 rented to you or temporarily                     remains, whichever comes first.
                 occupied by you with permission of               If any of the other insurance does not permit
                 the owner;                                       contribution by equal shares, we will contribute
            (iii) That is insurance purchased by you              by limits. Under this method, each insurer's
                  to cover your liability as a tenant for         share is based on the ratio of its applicable
                  "property damage" to premises                   limit of insurance to the total applicable limits of
                  rented to you or temporarily                    insurance of all insurers.
                  occupied by you with permission of        5. Premium Audit
                  the owner; or
                                                               a. We   will compute all premiums for this
            (iv) If the loss arises out of the                    Coverage Part in accordance with our rules
                 maintenance or use of aircraft,                  and rates.
                 "autos" or watercraft to the extent not
                 subject to Exclusion g. of Section I -        b. Premium shown in this Coverage Part as
                 Coverage A - Bodily Injury And                   advance premium is a deposit premium only.
                 Property Damage Liability.                       At the close of each audit period we will
                                                                  compute the earned premium for that period
         (b) Any other primary insurance available to             and send notice to the first Named Insured.
             you covering liability for damages                   The due date for audit and retrospective
             arising out of the premises or                       premiums is the date shown as the due date
             operations, or the products and                      on the bill. If the sum of the advance and audit
             completed operations, for which you                  premiums paid for the policy period is greater
             have been added as an additional                     than the earned premium, we will return the
             insured.                                             excess to the first Named Insured.
     (2) When this insurance is excess, we will have           c. The first Named Insured must keep records of
         no duty under Coverages A or 8 to defend                 the information we need for premium
         the insured against any "suit" if any other              computation, and send us copies at such times
         insurer has a duty to defend the insured                 as we may request.
         against that "suit". If no other insurer
         defends, we will undertake to do so, but we        6. Representations
         will be entitled to the insured's rights              By accepting this policy, you agree:
         against all those other insurers.                     a. The statements in the           Declarations    are
                                                                  accurate and complete;




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   b. Those     statements   are     based           upon        However, "auto"       does    not   include   "mobile
      representations you made to us; and                        equipment".
   c. We have issued this policy in reliance upon             3. "Bodily injury" means bodily injury, sickness or
      your representations.                                      disease sustained by a person, including death
7. Separation Of Insureds                                        resulting from any of these at any time.
   Except with respect to the Limits of Insurance, and        4. "Coverage territory" means:
   any rights or duties specifically assigned in this            a. The United States of America (including its
   Coverage Part to the first Named Insured, this                   territories and possessions), Puerto Rico and
   insurance applies:                                               Canada;
   a. As if each Named Insured were the only                     b. International waters or airspace, but only if the
      Named Insured; and                                            injury or damage occurs in the course of travel
   b. Separately to each insured against whom claim                 or transportation between any places included
      is made or "suit" is brought.                                 in Paragraph a. above; or
8. Transfer Of Rights Of Recovery Against Others                 c. All other parts of the world if the injury or
   To Us                                                            damage arises out of:
   If the insured has rights to recover all or part of              (1) Goods or products made or sold by you in
   any payment we have made under this Coverage                         the territory described in Paragraph a.
   Part, those rights are transferred to us. The                        above;
   insured must do nothing after loss to impair them.               (2) The activities of a person whose home is in
   At our request, the insured will bring "suit" or                     the territory described in Paragraph a.
   transfer those rights to us and help us enforce                      above, but is away for a short time on your
   them.                                                                business; or
9. When We Do Not Renew                                             (3) "Personal and advertising injury" offenses
   If we decide not to renew this Coverage Part, we                     that take place through the Internet or
   will mail or deliver to the first Named Insured                      similar electronic means of communication;
   shown in the Declarations written notice of the                  provided the insured's responsibility to pay
   nonrenewal not less than 30 days before the                      damages is determined in a "suit" on the
   expiration date.                                                 merits, in the territory described in Paragraph
   If notice is mailed, proof of mailing will be sufficient         a. above or in a settlement we agree to.
   proof of notice.                                           5. "Employee"        includes   a    "leased worker''.
SECTION V - DEFINITIONS                                          "Employee"       does not    include a "temporary
                                                                 worker''.
1. "Advertisement" means a notice that is broadcast
   or published to the general public or specific             6. "Executive officer'' means a person holding any of
   market segments about your goods, products or                 the officer positions created by your charter,
   services for the purpose of attracting customers or           constitution, bylaws or any other similar governing
   supporters. For the purposes of this definition:              document.
   a. Notices that are published include material             7. "Hostile fire" means one which becomes
      placed on the Internet or on similar electronic            uncontrollable or breaks out from where it was
      means of communication; and                                intended to be.
   b. Regarding web sites, only that part of a web            8. "Impaired property" means tangible property, other
      site that is about your goods, products or                 than "your product" or "your work", that cannot be
      services for the purposes of attracting                    used or is less useful because:
      customers or supporters is considered an                   a. It incorporates "your product" or "your work"
      advertisement.                                                 that is known or thought to be defective,
2. "Auto" means:                                                     deficient, inadequate or dangerous; or
   a. A land motor vehicle, trailer or semitrailer               b. You have failed to fulfill the terms of a contract
      designed for travel on public roads, including                 or agreement;
      any attached machinery or equipment; or                    if such property can be restored to use by the
   b. Any other land vehicle that is subject to a                repair, replacement, adjustment or removal of
      compulsory or financial responsibility law or              "your product" or "your work" or your fulfilling the
      other motor vehicle insurance law where it is              terms of the contract or agreement.
      licensed or principally garaged.




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9. "Insured contract" means:                                10. "Leased worker" means a person leased to you by
   a. A contract for a lease of premises. However,              a labor leasing firm under an agreement between
      that portion of the contract for a lease of               you and the labor leasing firm, to perform duties
      premises that indemnifies any person or                   related to the conduct of your business. "Leased
      organization for damage by fire to premises               worker" does not include a "temporary worker".
      while rented to you or temporarily occupied by        11. "Loading or unloading" means the handling of
      you with permission of the owner is not an                property:
      "insured contract";                                      a. After it is moved from the place where it is
   b. A sidetrack agreement;                                      accepted for movement into or onto an aircraft,
   c. Any easement or license agreement, except in                watercraft or "auto";
      connection with construction or demolition               b. While it is in or on an aircraft, watercraft or
      operations on or within 50 feet of a railroad;              "auto"; or
   d. An obligation, as required by ordinance, to              c. While it is being moved from an aircraft,
      indemnify a municipality, except in connection              watercraft or "auto" to the place where it is
      with work for a municipality;                               finally delivered;
   e. An elevator maintenance agreement;                       but "loading or unloading" does not include the
   f. That part of any other contract or agreement             movement of property by means of a mechanical
      pertaining to your business (including an                device, other than a hand truck, that is not
      indemnification of a municipality in connection          attached to the aircraft, watercraft or "auto".
      with work performed for a municipality) under         12. "Mobile equipment" means any of the following
      which you assume the tort liability of another            types of land vehicles, including any attached
      party to pay for "bodily injury" or "property             machinery or equipment:
      damage" to a third person or organization. Tort          a. Bulldozers, farm machinery, forklifts and other
      liability means a liability that would be imposed           vehicles designed for use principally off public
      by law in the absence of any contract or                    roads;
      agreement.
                                                               b. Vehicles maintained for use solely on or next to
      Paragraph f. does not include that part of any              premises you own or rent;
      contract or agreement:
                                                               c. Vehicles that travel on crawler treads;
     (1) That indemnifies a railroad for "bodily injury"
         or "property damage" arising out of                   d. Vehicles, whether self-propelled or not,
         construction or demolition operations, within            maintained primarily to provide mobility to
         50 feet of any railroad property and                     permanently mounted:
         affecting any railroad bridge or trestle,                (1) Power cranes, shovels, loaders, diggers or
         tracks, road-beds, tunnel, underpass or                      drills; or
         crossing;                                                (2) Road construction or resurfacing equipment
     (2) That indemnifies an architect, engineer or                   such as graders, scrapers or rollers;
         surveyor for injury or damage arising out of:
                                                               e. Vehicles not described in Paragraph a., b., c.
        (a) Preparing, approving, or failing to                   or d. above that are not self-propelled and are
            prepare or approve, maps, shop                        maintained primarily to provide mobility to
            drawings, opinions, reports, surveys,                 permanently attached equipment of the
            field orders, change orders or drawings               following types:
            and specifications; or                                (1) Air compressors, pumps and generators,
        (b) Giving directions or instructions, or                     including   spraying,   welding,   building
            failing to give them, if that is the primary              cleaning, geophysical exploration, lighting
            cause of the injury or damage; or                         and well servicing equipment; or
     (3) Under which the insured, if an architect,                (2) Cherry pickers and similar devices used to
         engineer or surveyor, assumes liability for                  raise or lower workers;
         an injury or damage arising out of the
                                                                f. Vehicles not described in Paragraph a., b., c.
         insured's rendering or failure to render
                                                                   or d. above maintained primarily for purposes
         professional services, including those listed
                                                                  other than the transportation of persons or
         in (2) above and supervisory, inspection,
                                                                  cargo.
         architectural or engineering activities.




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      However, self-propelled vehicles with the            16. "Products-completed operations hazard":
      following types of permanently attached                 a. Includes all "bodily     injury" and "property
      equipment are not "mobile equipment" but will               damage" occurring away from premises you
      be considered "autos":                                      own or rent and arising out of "your product" or
     (1) Equipment designed primarily for:                        "your work" except:
         (a) Snow removal;                                       (1) Products that are still in your physical
         (b) Road maintenance, but not construction                  possession; or
             or resurfacing; or                                  (2) Work that has not yet been completed or
         (c) Street cleaning;                                        abandoned. However, "your work" will be
                                                                     deemed completed at the earliest of the
     (2) Cherry pickers and similar devices mounted                  following times:
         on automobile or truck chassis and used to
         raise or lower workers; and                                 (a) When all of the work called for in your
                                                                         contract has been completed.
     (3) Air compressors, pumps and generators,
         including   spraying,   welding,   building                (b) When all of the work to be done at the
         cleaning, geophysical exploration, lighting                     job site has been completed if your
         and well servicing equipment.                                   contract calls for work at more than one
                                                                         job site.
   However, "mobile equipment" does not include
   any land vehicles that are subject to a compulsory                (c) When that part of the work done at a job
   or financial responsibility law or other motor                        site has been put to its intended use by
   vehicle insurance law where it is licensed or                         any person or organization other than
   principally garaged. Land vehicles subject to a                       another contractor or subcontractor
   compulsory or financial responsibility law or other                   working on the same project.
   motor vehicle insurance law are considered                        Work that may need service, maintenance,
   "autos".                                                          correction, repair or replacement, but which
13. "Occurrence"  means an accident, including                       is otherwise complete, will be treated as
   continuous or repeated exposure to substantially                  completed.
   the same general harmful conditions.                       b. Does not include "bodily injury" or "property
14. "Personal and advertising injury" means injury,               damage" arising out of:
   including consequential "bodily injury", arising out          (1) The transportation of property, unless the
   of one or more of the following offenses:                         injury or damage arises out of a condition in
   a. False arrest, detention or imprisonment;                       or on a vehicle not owned or operated by
                                                                     you, and that condition was created by the
   b. Malicious prosecution;                                         "loading or unloading" of that vehicle by any
   c. The wrongful eviction from, wrongful entry into,               insured;
      or invasion of the right of private occupancy of           (2) The    existence of tools, uninstalled
      a room, dwelling or premises that a person                     equipment or abandoned or unused
      occupies, committed by or on behalf of its                     materials; or
      owner, landlord or lessor;
                                                                 (3) Products     or operations for which the
   d. Oral or written publication, in any manner, of                 classification, listed in the Declarations or in
      material that slanders or libels a person or                   a policy Schedule, states that products-
      organization or disparages a person's or                       completed operations are subject to the
      organization's goods, products or services;                    General Aggregate Limit.
   e. Oral or written publication, in any manner, of       17. "Property damage" means:
      material that violates a person's right of
      privacy;                                                 a. Physical injury to tangible property, including
                                                                   all resulting loss of use of that property. All
   f. The use of another's advertising idea in your                such loss of use shall be deemed to occur at
      "advertisement"; or                                          the time of the physical injury that caused it; or
   g. Infringing upon another's copyright, trade dress         b. Loss of use of tangible property that is not
      or slogan in your "advertisement".                           physically injured. All such loss of use shall be
15. "Pollutants" mean any solid, liquid, gaseous or                deemed to occur at the time of the
   thermal irritant or contaminant, including smoke,               "occurrence" that caused it.
   vapor, soot, fumes, acids, alkalis, chemicals and           For the purposes of this insurance, electronic data
   waste. Waste includes materials to be recycled,             is not tangible property.
   reconditioned or reclaimed.



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   As used in this definition, electronic data means           b. Includes:
   information, facts or programs stored as or on,                (1) Warranties or representations made at any
   created or used on, or transmitted to or from                      time with respect to the fitness, quality,
   computer software, including systems and                           durability, performance or use of "your
   applications software, hard or floppy disks, CD-                   product"; and
   ROMs, tapes, drives, cells, data processing
   devices or any other media which are used with                  (2) The providing of or failure to provide
   electronically controlled equipment.                                warnings or instructions.
18. "Suit" means a civil proceeding in which damages            c. Does not include vending machines or other
    because of "bodily injury", "property damage" or                property rented to or located for the use of
    "personal and advertising injury" to which this                 others but not sold.
    insurance applies are alleged. "Suit" includes:         22. "Your work":
   a. An arbitration proceeding in which such                  a. Means:
      damages are claimed and to which the insured
                                                                  (1) Work or operations performed by you or on
      must submit or does submit with our consent;
                                                                      your behalf; and
      or
                                                                  (2) Materials, parts or equipment furnished in
   b. Any other alternative dispute resolution
                                                                      connection with such work or operations.
      proceeding in which such damages are
      claimed and to which the insured submits with            b. Includes:
      our consent.                                                (1) Warranties or representations made at any
19. "Temporary worker'' means a person who is                         time with respect to the fitness, quality,
    furnished to you to substitute for a permanent                    durability, performance or use of "your
    "employee" on leave or to meet seasonal or short-                 work"; and
    term workload conditions.                                     (2) The providing of or failure to provide
20. 'Volunteer worker" means a person who is not                      warnings or instructions.
    your "employee", and who donates his or her work
    and acts at the direction of and within the scope of
    duties determined by you, and is not paid a fee,
    salary or other compensation by you or anyone
    else for their work performed for you.
21. "Your product":
    a. Means:
       (1) Any goods or products, other than real
            property, manufactured, sold, handled,
            distributed or disposed of by:
           (a) You;
          (b) Others trading under your name; or
           (c) A person or organization whose
                business or assets you have acquired;
                and
       (2) Containers (other than vehicles), materials,
            parts or equipment furnished in connection
            with such goods or products.




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                                                                          COMMERCIAL GENERAL LIABILITY
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         MISSOURI CHANGES - POLLUTION EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


The following is added to Subparagraph f., Pollution of Paragraph 2., Exclusions under Section I - Coverage A
- Bodily Injury And Property Damage Liability Coverage and to Subparagraph m., Pollution of Paragraph 2.,
Exclusions under Section I - Coverage B - Personal And Advertising Injury Liability or to any amendment to
or replacement thereof:
This Pollution Exclusion applies even if such irritant or contaminant has a function in your business, operations,
premises, site or location.




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 21060514

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EXCLUSION - ACCESS OR DISCLOSURE OF
      CONFIDENTIAL OR PERSONAL INFORMATION AND
             DATA-RELATED LIABILITY -WITH
           LIMITED BODILY INJURY EXCEPTION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. Exclusion 2.p. of Section I - Coverage A -                         As used in this exclusion, electronic data
   Bodily Injury And Property Damage Liability is                     means information, facts or programs
   replaced by the following:                                         stored as or on, created or used on, or
   2. Exclusions                                                      transmitted to or from computer software,
                                                                      including    systems      and     applications
      This insurance does not apply to:                               software, hard or floppy disks, CD-ROMs,
      p. Access Or Disclosure Of Confidential Or                      tapes, drives, cells, data processing
          Personal Information And Data-related                       devices or any other media which are used
          Liability                                                   with electronically controlled equipment.
          Damages arising out of:                           B. The following is added to Paragraph 2.
         (1) Any access to or disclosure of any                Exclusions of Section I - Coverage B -
              person's or organization's confidential or       Personal And Advertising Injury Liability:
              personal information, including patents,         2. Exclusions
              trade secrets, processing methods,                  This insurance does not apply to:
              customer lists, financial information,
              credit      card    information,     health         Access Or Disclosure Of Confidential Or
              information or any other type of                    Personal Information
              nonpublic information; or                           "Personal and advertising injury" arising out of
        (2) The loss of, loss of use of, damage to,               any access to or disclosure of any person's or
              corruption of, inability to access, or              organization's     confidential    or    personal
              inability to manipulate electronic data.            information, including patents, trade secrets,
                                                                  processing methods, customer lists, financial
          This exclusion applies even if damages are              information, credit card information, health
          claimed for notification costs, credit                  information or any other type of nonpublic
          monitoring expenses, forensic expenses,                 information.
          public relations expenses or any other loss,
          cost or expense incurred by you or others               This exclusion applies even if damages are
          arising out of that which is described in               claimed for notification costs, credit monitoring
          Paragraph (1) or (2) above.                             expenses, forensic expenses, public relations
                                                                  expenses or any other loss, cost or expense
          However, unless Paragraph (1) above                     incurred by you or others arising out of any
          applies, this exclusion does not apply to               access to or disclosure of any person's or
          damages because of "bodily injury".                     organization's     confidential   or    personal
                                                                  information.




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                                                                       COMMERCIAL GENERAL LIABILITY
                                                                                      CG 214607 98

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 ABUSE OR MOLESTATION EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


The following exclusion is added to Paragraph 2.,          2. The negligent:
Exclusions of Section I - Coverage A - Bodily                 a. Employment;
Injury And Property Damage Liability and Para-
graph 2., Exclusions of Section I - Coverage B -              b. Investigation;
Personal And Advertising Injury Liability:                    c. Supervision;
This insurance does not apply to "bodily injury",             d. Reporting to the proper authorities, or failure
"property damage" or "personal and advertising                   to so report; or
injury" arising out of:                                       e. Retention;
1. The actual or threatened abuse or molestation by           of a person for whom any insured is or ever was
   anyone of any person while in the care, custody            legally responsible and whose conduct would be
   or control of any insured, or                              excluded by Paragraph 1. above.




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 214712 07

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,       B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I - Coverage A - Bodily              Exclusions of Section I - Coverage B - Per-
   Injury And Property Damage Liability:                      sonal And Advertising Injury Liability:
   This insurance does not apply to:                           This insurance does not apply to:
   "Bodily injury" to:                                         "Personal and advertising injury" to:
  (1) A person arising out of any:                            (1) A person arising out of any:
      (a) Refusal to employ that person;                         (a) Refusal to employ that person;
     (b) Termination of that person's employment;                (b) Termination of that person's employment;
         or                                                          or
      (c) Employment-related practices, policies,                (c) Employment-related practices, policies,
          acts or omissions, such as coercion, demo-                 acts or omissions, such as coercion, demo-
          tion, evaluation, reassignment, discipline,                tion, evaluation, reassignment, discipline,
          defamation, harassment, humiliation, dis-                  defamation, harassment, humiliation, dis-
          crimination or malicious prosecution di-                   crimination or malicious prosecution di-
          rected at that person; or                                  rected at that person; or
  (2) The spouse, child, parent, brother or sister of         (2) The spouse, child, parent, brother or sister of
      that person as a consequence of "bodily injury"             that person as a consequence of "personal and
      to that person at whom any of the employment-               advertising injury" to that person at whom any
      related practices described in Paragraphs (a),              of the employment-related practices described
      (b), or (c) above is directed.                              in Paragraphs (a), (b), or (c) above is directed.
   This exclusion applies:                                     This exclusion applies:
  (1) Whether the injury-causing event described in           (1) Whether the injury-causing event described in
      Paragraphs (a), (b) or (c) above occurs before              Paragraphs (a), (b) or (c) above occurs before
      employment, during employment or after em-                  employment, during employment or after em-
      ployment of that person;                                    ployment of that person;
  (2) Whether the insured may be liable as an em-             (2) Whether the insured may be liable as an em-
      ployer or in any other capacity; and                        ployer or in any other capacity; and
  (3) To any obligation to share damages with or              (3) To any obligation to share damages with or
      repay someone else who must pay damages                     repay someone else who must pay damages
      because of the injury.                                      because of the injury.




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 21671204

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       FUNGI OR BACTERIA EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.        B. The following exclusion is added to Paragraph 2.
   Exclusions of Section I - Coverage A - Bodily              Exclusions of Section I - Coverage B - Per-
   Injury And Property Damage Liability:                      sonal And Advertising Injury Liability:
   2. Exclusions                                               2. Exclusions
      This insurance does not apply to:                           This insurance does not apply to:
      Fungi Or Bacteria                                           Fungi Or Bacteria
      a. "Bodily injury" or "property damage" which               a. "Personal and advertising injury" which
         would not have occurred, in whole or in part,               would not have taken place, in whole or in
         but for the actual, alleged or threatened in-               part, but for the actual, alleged or threat-
         halation of, ingestion of, contact with, expo-              ened inhalation of, ingestion of, contact
         sure to, existence of, or presence of, any                  with, exposure to, existence of, or presence
         "fungi" or bacteria on or within a building or              of any "fungi" or bacteria on or within a
         structure, including its contents, regardless               building or structure, including its contents,
         of whether any other cause, event, material                 regardless of whether any other cause,
         or product contributed concurrently or in any               event, material or product contributed con-
         sequence to such injury or damage.                          currently or in any sequence to such injury.
      b. Any loss, cost or expenses arising out of the            b. Any loss, cost or expense arising out of the
         abating, testing for, monitoring, cleaning up,              abating, testing for, monitoring, cleaning up,
         removing, containing, treating, detoxifying,                removing, containing, treating, detoxifying,
         neutralizing, remediating or disposing of, or               neutralizing, remediating or disposing of, or
         in any way responding to, or assessing the                  in any way responding to, or assessing the
         effects of, "fungi" or bacteria, by any insured             effects of, "fungi" or bacteria, by any insured
         or by any other person or entity.                           or by any other person or entity.
      This exclusion does not apply to any "fungi" or      C. The following definition is added to the Definitions
      bacteria that are, are on, or are contained in, a       Section:
      good or product intended for bodily consump-            "Fungi" means any type or form of fungus, includ-
      tion.                                                   ing mold or mildew and any mycotoxins, spores,
                                                              scents or byproducts produced or released by
                                                              fungi.




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                                                                           COMMERCIAL GENERAL LIABILITY
                                                                                          CG 21 70 0115

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


A. If aggregate insured losses attributable to terrorist       2. The act is a violent act or an act that is
   acts certified under the federal Terrorism Risk                dangerous to human life, property or
   Insurance Act exceed $100 billion in a calendar                infrastructure and is committed by an individual
   year and we have met our insurer deductible                    or individuals as part of an effort to coerce the
   under the Terrorism Risk Insurance Act, we shall               civilian population of the United States or to
   not be liable for the payment of any portion of the            influence the policy or affect the conduct of the
   amount of such losses that exceeds $100 billion,               United States Government by coercion.
   and in such case insured losses up to that amount        B. The terms and limitations of any terrorism
   are subject to pro rata allocation in accordance            exclusion, or the inapplicability or omission of a
   with procedures established by the Secretary of             terrorism exclusion, do not serve to create
   the Treasury.                                               coverage for injury or damage that is otherwise
   "Certified act of terrorism" means an act that is           excluded under this Coverage Part.
   certified by the Secretary of the Treasury, in
   accordance with the provisions of the federal
   Terrorism Risk Insurance Act, to be an act of
   terrorism pursuant to such Act. The criteria
   contained in the Terrorism Risk Insurance Act for
   a "certified act of terrorism" include the following:
   1. The act resulted in insured losses in excess of
      $5 million in the aggregate, attributable to all
      types of insurance subject to the Terrorism
      Risk Insurance Act; and




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                                                                              COMMERCIAL GENERAL LIABILITY
                                                                                             CG 21760115

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              EXCLUSION OF PUNITIVE DAMAGES
          RELATED TO A CERTIFIED ACT OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


A. The following exclusion is added:                             2. The act is a violent act or an act that is
   This insurance does not apply to:                                 dangerous to human life, property or
                                                                     infrastructure and is committed by an individual
   TERRORISM PUNITIVE DAMAGES                                        or individuals as part of an effort to coerce the
   Damages arising, directly or indirectly, out of a                 civilian population of the United States or to
   "certified act of terrorism" that are awarded as                  influence the policy or affect the conduct of the
   punitive damages.                                                 United States Government by coercion.
B. The following definition is added:                         C. The terms and limitations of any terrorism
   "Certified act of terrorism" means an act that is             exclusion, or the inapplicability or omission of a
   certified by the Secretary of the Treasury, in                terrorism exclusion, do not serve to create
   accordance with the provisions of the federal                 coverage for injury or damage that is otherwise
   Terrorism Risk Insurance Act, to be an act of                 excluded under this Coverage Part.
   terrorism pursuant to such Act. The criteria
   contained in the Terrorism Risk Insurance Act for
   a "certified act of terrorism" include the following:
   1. The act resulted in insured losses in excess of
      $5 million in the aggregate, attributable to all
      types of insurance subject to the Terrorism
      Risk Insurance Act; and




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 219603 05

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          SILICA OR SILICA-RELATED DUST EXCLUSION

This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART



A. The following exclusion is added to Paragraph 2.,         B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I - Coverage A - Bodily                Exclusions of Section I - Coverage B - Per-
   Injury And Property Damage Liability:                        sonal And Advertising Injury Liability:
   2. Exclusions                                                 2. Exclusions
      This insurance does not apply to:                             This insurance does not apply to:
      Silica Or Silica-Related Dust                                 Silica Or Silica-Related Dust
      a. "Bodily injury" arising, in whole or in part, out          a. "Personal and advertising injury" arising, in
         of the actual, alleged, threatened or sus-                    whole or in part, out of the actual, alleged,
         pected inhalation of, or ingestion of, "silica"               threatened or suspected inhalation of, in-
         or "silica-related dust".                                     gestion of, contact with, exposure to, exis-
      b. "Property damage" arising, in whole or in                     tence of, or presence of, "silica" or "silica-
         part, out of the actual, alleged, threatened                  related dust".
         or suspected contact with, exposure to, ex-                b. Any loss, cost or expense arising, in whole
         istence of, or presence of, "silica" or "silica-              or in part, out of the abating, testing for,
         related dust".                                                monitoring, cleaning up, removing, contain-
      c. Any loss, cost or expense arising, in whole                   ing, treating, detoxifying, neutralizing, reme-
         or in part, out of the abating, testing for,                  diating or disposing of, or in any way re-
         monitoring, cleaning up, removing, contain-                   sponding to or assessing the effects of,
         ing, treating, detoxifying, neutralizing, reme-               "silica" or "silica-related dust", by any in-
         diating or disposing of, or in any way re-                    sured or by any other person or entity.
         sponding to or assessing the effects of,            C. The following definitions are added to the Defini-
         "silica" or "silica-related dust", by any in-          tions Section:
         sured or by any other person or entity.                 1. "Silica" means silicon dioxide (occurring in
                                                                    crystalline, amorphous and impure forms), sil-
                                                                    ica particles, silica dust or silica compounds.
                                                                 2. "Silica-related dust" means a mixture or combi-
                                                                    nation of silica and other dust or particles.




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 26 25 04 05

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        MISSOURI CHANGES - GUARANTY ASSOCIATION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   ELECTRONIC DATA LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCT WITHDRAWAL COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

MISSOURI PROPERTY AND CASUALTY                                   2. Payments made by the Association for covered
INSURANCE GUARANTY ASSOCIATION                                      claims will include only that amount of each
COVERAGE LIMITATIONS                                                claim which is less than $300,000.
A. Subject to the provisions of the Missouri Property               However, the Association will not:
   and Casualty Insurance Guaranty Association Act                 (1) Pay an amount in excess of the applicable
   (to be referred to as the Act), if we are a member                  limit of insurance of the policy from which a
   of the Missouri Property and Casualty Insurance                     claim arises; or
   Guaranty Association (to be referred to as the As-
   sociation), the Association will pay claims covered             (2) Return to an insured any unearned pre-
   under the Act if we become insolvent.                               mium in excess of $25,000.
B. The Act contains various exclusions, conditions           These limitations have no effect on the coverage we
   and limitations that govern a claimant's eligibility to   will provide under this policy.
   collect payment from the Association and affect
   the amount of any payment. The following limita-
   tions apply subject to all other provisions of the
   Act:
   1. Claims covered by the Association do not in-
      clude a claim by or against an insured of an in-
      solvent insurer, if the insured has a net worth of
      more than $25 million on the later of the end of
      the insured's most recent fiscal year or the De-
      cember thirty-first of the year next preceding
      the date the insurer becomes insolvent; pro-
      vided that an insured's net worth on such date
      shall be deemed to include the aggregate net
      worth of the insured and all of its affiliates as
      calculated on a consolidated basis.




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 26 50 0413

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            MISSOURI CHANGES - MEDICAL PAYMENTS
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


Paragraph 1.a. of Coverage C - Medical Payments                     (b) The expenses are incurred and reported
is replaced by the following:                                           to us within one year of the date of the
1. Insuring Agreement                                                   accident. However, expenses reported
                                                                        to us after one year of the date of the
   a. We will pay medical expenses as described                         accident will not be denied solely
      below for "bodily injury" caused by an accident:                  because of the late submission unless
     (1) On premises you own or rent;                                   such late submission operates to
                                                                        prejudice our rights; and
     (2) On ways next to premises you own or rent;
         or                                                         (c) The    injured   person    submits    to
     (3) Because of your operations;                                    examination, at our expense, by
                                                                        physicians of our choice as often as we
      provided that                                                     reasonably require.
         (a) The accident takes place in the
             "coverage territory" and during the policy
             period;




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                    ON HOOK PHYSICAL DAMAGE LEGAL LIABILITY
                           SCHEDULE OF COVERAGES
COVERED PROPERTY




SCHEDULED VEHICLES

      VEHICLE NO.                           DESCRIBED VEHICLE                                        LIMIT

                            SEE SCHEDULE ON FORM IM 7903 FOR
                            A LIST OF SCHEDULED VEHICLES TO
                            WHICH THESE DECLARATIONS,
                            INCLUDING
                            LIMITS AND DEDUCTIBLES APPLY



COVERAGE LIMITS

  Per Occurrence        $   SEE SCHEDULE        The most "we" pay for loss involving any one "described vehicle".

  Aggregate Limit       $ 200,000               The most ''we" pay for loss in any one occurrence.


COVERAGE EXTENSIONS

  Debris Removal                  $ 5,000


SUPPLEMENTAL COVERAGES

  Freight Charges                 $ 1,000

  Pollutant Cleanup and Removal   $10,000

 Loss of Use                      $ 2,500


DEDUCTIBLE              $ 1,000




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                                                                        Policy Number     K2GP004524


                                             SCHEDULE OF LOCATIONS




Named Insured Glad Rents, Inc.                                        Effective Date: 01/01/2019
                                                                               12:01 A.M., Standard Time
Agent Name KBK Insurance Group, a Division ofNSM Insurance Group      Agent No. 150713
 Loe.    Bldg.                          Designated Locations
                                                                                                   Occupancy
 No.      No.                      (Address, Citv, State, Zic Code)

                   6800 North Oak Trafficway, Gladstone, MO, 64118




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 IM 99 06 03 07                                                                                   POLICY NUMBER
                                                                                                  K2GP004524
                                      SCHEDULE OF VEHICLES

This endorsement modifies insurance provided under the following:

COMMERCIAL INLAND MARINE COVERAGE PART

  (The entries required to complete this schedule will be shown below or on the "schedule of coverages".)


         VEHICLE NO.                       DESCRIBED VEHICLES                                   LIMITS
                                 2008   FORD   #7462                                         $ 100,000
        2                        2011   FORD   #3971                                         $ 100,000
        3                        2014   FORD   #4128                                         $ 100,000
        4                        2017   FORD   #1856                                         $ 100,000




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                                                                                 COMMERCIAL INLAND MARINE
                                                                                              CM 00 010904


             COMMERCIAL INLAND MARINE CONDITIONS
The following conditions apply in addition to the                 5. You will not, except at your own cost, voluntari-
Common Policy Conditions and applicable Additional                   ly make a payment, assume any obligation, or
Conditions in Commercial Inland Marine Coverage                      incur any expense without our consent.
Forms:                                                            6. As often as may be reasonably required, per-
LOSS CONDITIONS                                                      mit us to inspect the property proving the loss
A. Abandonment                                                       or damage and examine your books and rec-
                                                                     ords.
   There can be no abandonment of any property to
   us.                                                               Also permit us to take samples of damaged
                                                                     and undamaged property for inspection, testing
B. Appraisal                                                         and analysis, and permit us to make copies
   If we and you disagree on the value of the proper-                from your books and records.
   ty or the amount of loss, either may make written              7. We may examine any insured under oath,
   demand for an appraisal of the loss. In this event,               while not in the presence of any other insured
   each party will select a competent and impartial                  and at such times as may be reasonably re-
   appraiser. The two appraisers will select an um-                  quired, about any matter relating to this insur-
   pire. If they cannot agree, either may request that               ance or the claim, including an insured's books
   selection be made by a judge of a court having ju-                and records. In the event of an examination, an
   risdiction. The appraisers will state separately the              insured's answers must be signed.
   value of the property and amount of loss. If they
   fail to agree, they will submit their differences to           8. Send us a signed, sworn proof of loss contain-
   the umpire. A decision agreed to by any two will                  ing the information we request to settle the
   be binding. Each party will:                                      claim. You must do this within 60 days after our
                                                                     request. We will supply you with the necessary
   1. Pay its chosen appraiser; and                                  forms.
   2. Bear the other expenses of the appraisal and                9. Immediately send us copies of any demands,
      umpire equally.                                                notices, summonses or legal papers received
   If there is an appraisal, we will still retain our right          in connection with the claim or suit.
   to deny the claim.                                           10. Cooperate with us in the investigation or set-
C. Duties In The Event Of Loss                                       tlement of the claim.
   You must see that the following are done in the            D. Insurance Under Two Or More Coverages
   event of loss or damage to Covered Property:                  If two or more of this policy's coverages apply to
   1. Notify the police if a law may have been bro-              the same loss or damage, we will not pay more
      ken.                                                       than the actual amount of the loss or damage.
   2. Give us prompt notice of the loss or damage.            E. Loss Payment
      Include a description of the property involved.             1. We will give notice of our intentions within 30
   3. As soon as possible, give us a description of                  days after we receive the sworn proof of loss.
      how, when and where the loss or damage oc-                 2. We will not pay you more than your financial
      curred.                                                       interest in the Covered Property.
   4. Take all reasonable steps to protect the Cov-              3. We may adjust losses with the owners of lost
      ered Property from further damage, and keep a                  or damaged property if other than you. If we
      record of your expenses necessary to protect                   pay the owners, such payments will satisfy
      the Covered Property, for consideration in the                 your claim against us for the owners' property.
      settlement of the claim. This will not increase                We will not pay the owners more than their fi-
      the Limit of Insurance. However, we will not                   nancial interest in the Covered Property.
      pay for any subsequent loss or damage result-
      ing from a cause of loss that is not a Covered             4. We may elect to defend you against suits aris-
      Cause of Loss. Also, if feasible, set the dam-                ing from claims of owners of property. We will
      aged property aside and in the best possible                  do this at our expense.
      order for examination.




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   5. We will pay for covered loss or damage within         I. Reinstatement Of Limit After Loss
      30 days after we receive the sworn proof of             The Limit of Insurance will not be reduced by the
      loss if you have complied with all the terms of         payment of any claim, except for total loss or
      this Coverage Part and:                                 damage of a scheduled item, in which event we
      a. We have reached agreement with you on                will refund the unearned premium on that item.
          the amount of the loss; or                       J. Transfer Of Rights Of Recovery Against Others
      b. An appraisal award has been made.                    To Us
   6. We will not be liable for any part of a loss that       If any person or organization to or for whom we
      has been paid or made good by others.                   make payment under this Coverage Part has
F. Other Insurance                                            rights to recover damages from another, those
                                                              rights are transferred to us to the extent of our
   1. You may have other insurance subject to the             payment. That person or organization must do
      same plan, terms, conditions and provisions as          everything necessary to secure our rights and
      the insurance under this Coverage Part. If you          must do nothing after loss to impair them. But you
      do, we will pay our share of the covered loss or        may waive your rights against another party in
      damage. Our share is the proportion that the            writing:
      applicable Limit of Insurance under this Cover-
      age Part bears to the Limits of Insurance of all         1. Prior to a loss to your Covered Property.
      insurance covering on the same basis.                    2. After a loss to your Covered Property only if, at
   2. If there is other insurance covering the same               time of loss, that party is one of the following:
      loss or damage, other than that described in 1.             a. Someone insured by this insurance; or
      above, we will pay only for the amount of cov-              b. A business firm:
      ered loss or damage in excess of the amount
      due from that other insurance, whether you can                 (1) Owned or controlled by you; or
      collect on it or not. But we will not pay more                 (2) That owns or controls you.
      than the applicable Limit of Insurance.
                                                              This will not restrict your insurance.
G. Pair, Sets Or Parts
                                                           GENERAL CONDITIONS
   1. Pair Or Set                                          A. Concealment, Misrepresentation Or Fraud
      In case of loss or damage to any part of a pair
                                                              This Coverage Part is void in any case of fraud, in-
      or set we may:
                                                              tentional concealment or misrepresentation of a
      a. Repair or replace any part to restore the            material fact, by you or any other insured, at any
          pair or set to its value before the loss or         time, concerning:
          damage; or
                                                               1. This Coverage Part;
      b. Pay the difference between the value of the           2. The Covered Property;
         pair or set before and after the loss or dam-
         age.                                                  3. Your interest in the Covered Property; or
   2. Parts                                                   4. A claim under this Coverage Part.
      In case of loss or damage to any part of Cov-        B. Control Of Property
      ered Property consisting of several parts when          Any act or neglect of any person other than you
      complete, we will only pay for the value of the         beyond your direction or control will not affect this
      lost or damaged part.                                   insurance.
H. Recovered Property                                         The breach of any condition of this Coverage Part
   If either you or we recover any property after loss        at any one or more locations will not affect cover-
   settlement, that party must give the other prompt          age at any location where, at the time of loss or
   notice. At your option, the property will be returned      damage, the breach of condition does not exist.
   to you. You must then return to us the amount we        C. Legal Action Against Us
   paid to you for the property. We will pay recovery
                                                              No one may bring a legal action against us under
   expenses and the expenses to repair the recov-
                                                              this Coverage Part unless:
   ered property, subject to the Limit of Insurance.
                                                              1. There has been full compliance with all the
                                                                 terms of this Coverage Part; and
                                                              2. The action is brought within 2 years after you
                                                                 first have knowledge of the direct loss or dam-
                                                                 age.




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D. No Benefit To Bailee                                       2. The cost of reasonably restoring that property
   No person or organization, other than you, having             to its condition immediately before loss or
   custody of Covered Property will benefit from this            damage; or
   insurance.                                                 3. The cost of replacing that property with sub-
E. Policy Period, Coverage Territory                             stantially identical property.
   We cover loss or damage commencing:                        In the event of loss or damage, the value of prop-
                                                              erty will be determined as of the time of loss or
   1. During the policy period shown in the Declara-          damage.
      tions; and
   2. Within the coverage territory.
F. Valuation
   The value of property will be the least of the fol-
   lowing amounts:
   1. The actual cash value of that property;




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                                                                                COMMERCIAL INLAND MARINE
                                                                                             CM 01181113

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     MISSOURI CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL INLAND MARINE COVERAGE PART

A. If partial loss or damage to Covered Property is         C. Paragraph 1. of Loss Condition E. Loss Payment
   caused by or results from fire, any Valuation               in the Commercial Inland Marine Conditions is
   condition involving actual cash value in the                replaced by the following:
   Commercial Inland Marine Coverage Part is                   1. In the event of loss or damage covered under
   replaced by the following:                                     this Coverage Part, we will give you notice,
   In the event of partial loss or damage covered by              within 15 working days after we receive a
   this Coverage Form, at your option, we will either:            properly executed proof of loss, that we:
    1. Pay you an amount of money equal to the                     a. Accept your claim;
        damage done; or                                            b. Deny your claim; or
   2. Repair the damage, so that the property is in                c. Need more time to determine whether your
        as good a condition as before the fire.                        claim should be accepted or denied.
   But we will not pay more than the Limit of                      If we deny your claim, such notice will be in
   Insurance.                                                     writing, and will state any policy provision,
B. Loss Condition B. Appraisal in the Commercial                  condition or exclusion used as a basis for the
   Inland Marine Conditions is replaced by the                    denial.
   following:                                                      If we need more time to determine whether
   B. Appraisal                                                   your claim should be accepted or denied, the
        If we and you disagree on the value of the                written notice will state the reason(s) why more
        property or the amount of loss, either may                time is needed.
       make written demand for an appraisal of the                 If we have not completed our investigation, we
       loss. In this event, each party will select a              will notify you again in writing, within 45 days
       competent and impartial appraiser and notify               after the date the initial notice is sent as
       the other of the appraiser selected within 20              provided in Paragraph c. above, and thereafter
        days of the written demand for appraisal. The             every 45 days. The written notice shall state
       two appraisers will select an umpire. If they              why more time is needed to investigate your
       cannot agree upon an umpire within 15 days,                claim.
       then, upon your or our request, an umpire shall      D. General Condition C. Legal Action Against Us in
        be selected by a judge of a court of record in         the Commercial Inland Marine Conditions is
       the state and county (or city if the city is not        replaced by the following:
       within a county) in which the property covered
       is located. The appraisers will state separately        C. Legal Action Against Us
       the value of the property and amount of loss. If           No one may bring a legal action against us
       they fail to agree, they will submit their                 under this Coverage Part unless:
       differences to the umpire. The umpire shall
                                                                   1. There has been full compliance with all the
       make an award within 30 days after the umpire
                                                                      terms of this Coverage Part; and
       receives the appraisers' submissions of their
       differences. A decision agreed to by any two                2. The action is brought within 10 years after
       will be binding. Each party will:                              you first have knowledge of the direct loss
                                                                      or damage.
        1. Pay its chosen appraiser; and
      2. Bear the other expenses of the appraisal
          and umpire equally.
      If there is an appraisal, we will still retain our
      right to deny the claim.




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E. Missouri Property And Casualty Insurance                         b. A pledge to cooperate in any criminal
   Guaranty Association Coverage Limitations                           prosecution of the person committing the
   1. Subject to the provisions of the Missouri                        act causing the loss.
      Property and Casualty Insurance Guaranty                  3. If we pay a claim pursuant to Paragraph F.2.,
      Association Act (to be referred to as the Act), if           our payment to the innocent co-insured will be
      we are a member of the Missouri Property and                 limited to that insured's ownership interest in
      Casualty Insurance Guaranty Association (to                  the property as reduced by any payment to a
      be referred to as the Association), the                      mortgagee or other secured interest; however,
      Association will pay claims covered under the                we shall not be required to make any
      Act if we become insolvent.                                  subsequent payment for any loss for which the
   2. The Act contains various exclusions, conditions              innocent co-insured has received payment. In
      and limitations that govern a claimant's                     no event will we pay more than the Limit of
      eligibility to collect payment from the                      Insurance.
      Association and affect the amount of any               G. The following is added to Loss Condition J.
      payment. The following limitations apply,                 Transfer Of Rights Of Recovery Against Others
      subject to all other provisions of the Act:               To Us in the Commercial Inland Marine
      a. Claims covered by the Association do not               Conditions:
          include a claim by or against an insured of           If we pay an innocent co-insured for loss arising
          an insolvent insurer, if the insured has a net        out of an act of domestic violence by another
          worth of more than $25 million on the later           insured, the rights of the innocent co-insured to
          of the end of the insured's most recent               recover damages from the abuser are transferred
          fiscal year or the December thirty-first of the       to us to the extent of our payment. Following the
          year next preceding the date the insurer              loss, the innocent co-insured may not waive such
          becomes insolvent, provided that an                   rights to recover against the abuser.
          insured's net worth on such date shall be          H. When Equipment Dealers Coverage Form
          deemed to include the aggregate net worth             CM 00 22 is attached to this policy, the following is
          of the insured and all of its affiliates as           added with respect to the Additional Coverages of
          calculated on a consolidated basis.                   Debris Removal and Pollutant Cleanup And
      b. Payments made by the Association for                   Removal and relates only to the requirement to
          covered claims will include only that amount          report expenses to us within 180 days of the
          of each claim which is less than $300,000.            specified occurrence:
          However, the Association will not:                    If you fail to report the expenses to us within the
         (1) Pay an amount in excess of the                     180-day timeframe, such failure will not invalidate
             applicable Limit of Insurance of the               a claim under Debris Removal or Pollutant
             policy from which a claim arises; or               Cleanup And Removal unless such failure
                                                                operates to prejudice our rights.
         (2) Return to an insured any unearned
             premium in excess of $25,000.                    I. When Accounts Receivable Coverage Form
                                                                 CM 00 66 or Valuable Papers And Records
      These limitations have no effect on the                    Coverage Form CM 00 67 is attached to this
      coverage we will provide under this policy.                policy, the following is added with respect to the
F. The following exclusion is added:                             Coverage Extension of Removal and relates only
   1. We will not pay for loss or damage arising out             to the requirement to provide written notice within
                                                                 10 days of the removal of property covered under
      of any act committed:
                                                                 those Coverage Forms:
      a. By or at the direction of any insured; and
                                                                If you fail to provide written notice to us within the
      b. With the intent to cause a loss.                       10-day timeframe, such failure will not invalidate a
   2. However, this exclusion will not apply to deny            claim under Removal unless such failure operates
      coverage to an innocent co-insured who did                to prejudice our rights.
      not cooperate in or contribute to the creation of
      the loss, provided the loss is otherwise covered
      under this policy and the loss arose out of
      domestic violence. Such coverage will be
      provided only if the innocent co-insured files a
      police report and completes a sworn affidavit
      indicating both:
      a. The cause of the loss; and




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          THIS ENDORSEMENT CHANGES THE POLICY - PLEASE READ IT CAREFULLY.

                 TWO OR MORE COVERAGE FORMS OR POLICIES ISSUED BY US

This endorsement modifies insurance provided under the following:
        ON HOOK PHYSICAL DAMAGE LEGAL LIABILITY COVERAGE FORM
        MOTOR TRUCK CARGO CARRIERS COVERAGE FORM
        MACHINERY & EQUIPMENT COVERAGE FORM

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated below:
(The following needs to be completed only when this endorsement is issued subsequent to inception of the policy.)

 Named Insured Glad Rents, Inc.


 Endorsement Effective 0 1/01/2019                                  Policy Number K2GP004524




The following CONDITION is added:

If this Coverage Fonn and any other Coverage Fonn or policy under which you are an insured, issued by us or any
companies affiliated with us, apply to the same "accident" or "occurrence", the aggregate maximum Limit of Insurance
under all the Coverage Fonns or policies shall not exceed the highest applicable Limit of Insurance under any one Coverage
Fonn or policy. This condition does not apply to any Coverage Fonn or policy issued by us or an affiliated company
specifically to apply as excess insurance over this Coverage Form.




            Authorized Representative                                                                       Date




All Other Tenns and Conditions Remain Unchanged.

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                                                                                                       IM 99 08 03 17

                                  POLLUTANT - AMENDED DEFINITION
This endorsement modifies insurance provided under the following:

COMMERCIAL INLAND MARINE COVERAGE PART



                                                     SCHEDULE

Additional Substance(s) or Material(s):




This policy is amended to include the following "terms". All other "terms" of this policy apply, except as amended
by this endorsement.

DEFINITIONS

The following definitions are added to the Inland Marine Coverage Part to which this endorsement is attached.
The definition of "pollutant" is deleted and replaced by the following:

"Pollutant"
    a.    "Pollutant" means any substance or material that is a solid, liquid, gaseous, thermal, or radioactive irritant
          or contaminant, including but not limited to acids, alkalis, chemicals, fumes, smoke, soot, vapor, and
          waste.

          Such substances and materials include, but are not limited to:

          1.   Diesel, gasoline, propane, and other fuels, kerosene and other fuel oils, petroleum distillates, and
               any other petroleum-derived products; lubrication oils, adjuvant oils, crop oils; brake and other
               hydraulic fluids; methanol and other antifreeze additives; exhaust gases; ethylene dichloride,
               hexylene glycol, mineral spirits and other solvents; percholoroethylene (PERC) and other dry
               cleaning chemicals; chlorofluorocarbons; adhesives; and pesticides, insecticides, fungicides,
               fertilizer, animal or bird waste and sewage;

          2.   All substances and materials listed or described by one or more of the following references, including
               any amendments thereto: the Comprehensive Environmental Response, Compensation, and
               Liability Act (CERCLA); the Priority List Of Hazardous Substances (1997 and all subsequent
               editions) developed by the Agency For Toxic Substances And Disease Registry; and/or the U.S.
               Environmental Protection Agency EMCI Chemical References Complete Index; and

          3.   Any substance or material shown in the Schedule above.

    b.   With respect to this definition, waste includes substances or materials to be disposed of as well as
         recycled, reclaimed, or reconditioned.

    c.   "Pollutant" also means electrical, magnetic, or electromagnetic particles or fields, whether visible or
         invisible, and sound.

    d.   This definition of "pollutant" applies whether or not the substance material, particle, field or sound is used
         at or in or arises out of "your" business, operations, premises, site, or location.




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                                 ON HOOK PHYSICAL DAMAGE
                               LEGAL LIABILITY COVERAGE FORM
AGREEMENT
In return for "your" payment of the required premium, ''we" provide the coverage described herein subject to all the
terms of this On Hook Physical Damage Legal Liability Coverage. This coverage is also subject to the "schedule of
coverages" and additional policy conditions relating to assignment or transfer of rights or duties, cancellation, changes
or modifications, inspections, and examination of books and records.

The Endorsements and Schedules identified on the "schedule of coverages" also apply.

 A. DEFINITIONS                                                            b.   lightning, windstorm, orhail;

     1.   The words "you" and "your" mean the                              c.   collision, overturn, or derailment of a
          persons or organizations named as the                                 transporting conveyance;
          insured on the declarations or "schedule of                      d.   collapse of a bridge or culvert; and
          coverages".
                                                                           e.   theft.
     2. The words ''we", "us", and "our" mean the
          company providing this coverage.                            8.   "Spoilage" means any detrimental
                                                                           change in physical state of "perishable
     3. "Limit" means the maximum amount of                                stock". Detrimental change includes, but
          coverage that applies.                                           is not limited to, thawing of frozen goods,
                                                                           warming of refrigerated goods, or
     4.   "Perishable stock" means property                                solidification of liquid material.
          preserved and maintained under controlled
          conditions and susceptible to loss or                       9.   "Suit" means a civil judicial proceeding to
          damage if the controlled conditions change.                      determine "your" liability and damages for
                                                                           loss to Covered Property to which this
     5. "Pollutant" means:                                                 insurance applies. Judicial proceedings
                                                                           also include arbitration proceedings in the
          a.    any solid, liquid, gaseous, thermal, or                    event that ''you" are required to submit,
                radioactive irritant or contaminant,                       with our consent, to arbitration. "Suit"
                including but not limited to acids,                        does not include an administrative
                alkalis, chemicals, fumes, smoke,                          proceeding.
                soot, vapor, and waste. Waste
                includes materials to be recycled,                    10. ''Terminal" means a building where
                reclaimed, or reconditioned, as well                      Covered Property is transferred between
                as disposed of; and                                       vehicles or between vehicles and other
                                                                          transporting conveyances.
          b.    electrical or magnetic emissions, whether
                visible or invisible, and sound emissions.            11. "Trailer'' means an over-the-road non-
                                                                          motorized vehicle designed to carry cargo
     6. "Schedule of coverages" means:                                    and designed for use with a tractor or other
                                                                          self-propelled power unit.
          a.    all pages labeled schedule of coverages
                or schedules that pertain to this coverage;                ''Trailer" includes:
                and
                                                                           a.   trailers, semi-trailers, automobile racks,
          b.   declarations or supplemental declarations                        flatbeds, lowboys, and tankers;
               that pertain to this coverage.
                                                                           b.   dollies used to convert semi-trailers into
     7. "Specified perils" means the perils of:                                 trailers; and

          a.   fire;                                                       c.   shipping containers designed to be
                                                                                attached to and transported by trailers.
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  12. ''Transit" means the movement of Covered                 "under tow'' or by means of carrying the
      Property by "you":                                       vehicle or cargo in such a way that no part
                                                               of it is in contact with the ground.
      a.   beginning at the point
           where "you" accept                           B. COVERAGE
           property into ''your" care,
           custody, or control for                        1.   We cover your legal liability for loss from a
           transportation to a specific                        Covered Peril to Covered Property:
           destination;
                                                               a.   while under your care, custody, or control;
      b.   including the ordinary, reasonable, and                  and
           necessary stops, interruptions, delays, or
           transfers incidental to the route and               b.   that you become legally obligated to
           method of shipment, including rest                       pay as a result of transporting a vehicle
           periods taken by the driver(s); and                      and/or cargo by or on a described
                                                                    vehicle or a substitute vehicle. Covered
      c.   ending upon acceptance of the property                   Property is covered only while it is being
           by or on behalf of the consignee at the                  loaded for shipment and in transit or on
           specified destination.                                   a described vehicle or substitute
                                                                    vehicle; or
  13. "Described vehicle" means any a tow
      truck or commercial vehicle shown in the                 c.   that you become legally obligated to pay
      "schedule of coverages" and used for                          as a common or contract carrier
      towing or pulling a vehicle or trailer and                    regardless of whether or not under a bill
      its contents.                                                 of lading, contract of carriage, or shipping
                                                                    receipt that is issued by you or that is
  14. "Substitute vehicle" means a vehicle used                     issued on your behalf.
      as a replacement for a "described vehicle"
      which is temporarily out of service due to          2.   We Do Not Cover - We do not pay for
      breakdown, repair, servicing, "loss" or                  costs, expenses, fees, or freight
      destruction. Subject to policy conditions                charges earned prior to a shipment if
      ''you" do not have to report the use of these            you are legally liable for these charges,
      replacement vehicles. "Substitute vehicles"              fines, penalties, or damages resulting
      may be used to complete the transit of the               from your violation of any law or
      Covered Property.                                        regulation relating to any delay in
                                                               payment, denial, or settlement of any
  15. "On hook" means a vehicle and/or cargo                   claim.
      being lifted or towed on one set of wheels. It
      also includes the righting of overturned          C. COVERED PROPERTY
      vehicles and the returning of stranded
      vehicles to the nearest roadbed by means of         Covered Property means the following, but only to
      a wrecker crane (mast, boom, cable, winch)          the limits stated in the schedule of coverages:
      or airbags. "On hook" also includes a vehicle
      while being winched or secured onto a               1.   Property in Tennlnals-
      "described vehicle" for the purposes of                  Property of others while in your care, custody
      transportation.                                          or control:
                                                                   a. in due course of transit; and
  16. "Under tow'' means a vehicle and/or cargo
                                                                   b. while being transferred;
      being towed or pulled by means of a
      wrecker crane, wheel lift, tow bars or similar
                                                                    However, property being transferred is
      equipment or any combination thereof, for
                                                                    covered only during:
      the purpose of moving the vehicle from one
                                                                    a. loading and unloading; and
      location to another. A vehicle "under tow"
                                                                    b. any temporary storage associated
      will have one or more sets of wheels in
                                                                       with thetransfer.
      contact with the ground.
                                                          2.   Property in Vehicles -
   17. "Transporting or transported" means the
                                                               Property of others while in your care, custody
       movement of a vehicle and/or cargo from
                                                               or control:
       one location to another "on hook" or
All Other Tenns and Conditions Remain Unchanged.
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           a.   in due course of transit, on                Tarpaulins or wrapping materials.
                hook, under tow, or being
                transported on or by a                  11. Other Carriers. Property of others, for
                described vehicle or a                      which you are legally liable, while in the
                substiMe vehicle;                           custody of any other carrier if you have
           b.   during loading or unloading; but            waived or otherwise made unenforceable
                we only cover loading and                   your subrogation rights.
                unloading if the property of others
                is loaded from or unloaded onto a       12. Property In Storage. Property of
                sidewalk, street, loading dock, or          others, held in storage under
                similar area that is adjacent to a          warehouse receipts or other written
                vehicle.                                    contracts.
D. PROPERTY NOT COVERED
                                                      E. COVERAGE EXTENSION
  Covered Property does not include:
                                                        Provisions That Apply To Coverage Extension
                                                        - The following Coverage Extension indicates an
  1. Art Art or objects of art including paintings
                                                        applicable limit. This limit may also be shown on
       and statuary.
                                                        the schedule of coverages.
  2. Contraband. Contraband or property in the
                                                        If a different limit is indicated on the schedule of
       course of illegal transportation or trade.
                                                        coverages, that limit will apply instead of the limit
                                                        shown below.
  3. Jewelry, Stones and Metal. Jewelry,
       precious or semi-precious stones, gold,
                                                        However, if no limit is indicated for a Coverage
       silver, platinum, or other precious metals
                                                        Extension, coverage is provided up to the full limit
       or alloys.
                                                        for the applicable Covered Property unless a
                                                        different limit is indicated on the schedule of
  4. Live Animals. Live animals, including
                                                        coverages.
       cattle or poultry unless death is caused
       or made necessary by a specified peril.          Unless otherwise indicated, the coverage
                                                        provided below is part of and not in addition to
  5. Money and Securities. Accounts, bills,             the applicable limit for coverage described under
       currency, food stamps, or other evidences        Covered Property.
       of debt, lottery tickets not held for sale,
       money, notes, orsecurities.                      The limit provided under a Coverage Extension
                                                        cannot be combined or added to the limit for any
  6. Trailer, Container or Conveyance. Any              other Coverage Extension or Supplemental
       intermodal container, trailer, or any other      Coverage including a Coverage Extension or
       carrying conveyance including any                Supplemental Coverage that is added to this
       equipment or supplies that are part of the       policy by endorsement.
       container, trailer, or conveyance.
                                                        If coinsurance provisions are part of this policy,
       This exclusion does not apply to property of     the following coverage extensions are not
       others as described under Covered Property.      subject to and not considered in applying
                                                        coinsurance conditions.
  7. Vehicles. Your vehicles whether or not
       scheduled on the schedule of coverages,          Debris Removal
       and whether or not they are used for
       transporting the property of others, or are          a.   Coverage. We pay the cost to remove
       on hook or under tow.                                     the debris of Covered Property that is
                                                                 caused by a Covered Peril.
  8.   Property Hauled Without Charge. Property
       that you haul for others without charge.             b.   We Do Not Cover. This coverage does
                                                                 not include costs to:
  9. Liquor and Tobacco. Liquor and tobacco
       products.                                                 1. extract pollutants from land or water;
                                                                      or
  10. Tarpaulins and Wrapping Material.                          2.   remove, restore, or replace polluted
All Other Terms and Conditions Remain Unchanged.
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                land or water.                            The limit provided under a Supplemental
                                                          Coverage cannot be combined or added to the
       c.   Limit We pay up to $5,000 for debris          limit for any other Supplemental Coverage or
            removal expense when the debris               Coverage Extension including a Supplemental
            removal expense exceeds 25% of the            Coverage or Coverage Extension that is added
            amount we pay for direct physical loss        to this policy by endorsement.
            or when the loss to property and
            debris removal combined exceeds the           If coinsurance provisions are part of this policy,
            limit for the damaged property.               the following supplemental coverages are not
                                                          subject to and not considered in applying
            We do not pay any more under this             coinsurance conditions.
            coverage than 25% of the amount we pay
            for the direct physical loss. We will not     1. Freight Charges
            pay more for loss to property and debris
            removal combined than the limit for the            a.   Coverage. We pay freight charges
            damaged property.                                       that are due you and that become
                                                                    uncollectible as a result of a direct
       d.   You Must Report Your Expenses - We                      physical loss to Covered Property
            do not pay any expenses for debris                      caused by a Covered Peril.
            removal unless they are reported to us in
            writing within 180 days from the date of           b.   Limit The most we pay in any one
            direct physical loss to Covered Property.               occurrence for all freight charges is
                                                                    $1,000.
F. SUPPLEMENTALCOVERAGES
                                                          2.   Pollutant Cleanup and Removal
  Provisions That Apply To Supplemental
  Coverages - The following Supplemental                       a.   Coverage. We pay your expense to
  Coverages indicate an applicable limit. This limit                extract pollutants from land or water if
  may also be shown on the schedule of                              the discharge, dispersal, seepage,
  coverages.                                                        migration, release, or escape of the
                                                                    pollutants is caused by a Covered Peril
  If a different limit is indicated on the schedule of              that occurs during the policy period.
  coverages, that limit will apply instead of the limit
  shown below.                                                 b.   Time Limitation. The expenses to
                                                                    extract pollutants are paid only if
  However, if no limit is indicated for a                           they are reported to us in writing
  Supplemental Coverage, coverage is provided up                    within 180 days from the date the
  to the full limit for the applicable Covered Property             Covered Peril occurs.
  unless a different limit is indicated on the
  schedule of coverages.                                       c.   We Do Not Cover. We do not
                                                                    pay the cost of testing,
  Unless otherwise indicated, a limit for a                         evaluating, observing, or
  Supplemental Coverage provided below is                           recording the existence, level,
  separate from, and not part of, the applicable                    or effects of pollutants.
  limit for coverage described under Covered
  Property.                                                         However, we pay the cost of testing
                                                                    which is necessary for the extraction of
  The limit available for coverage described under a                pollutants from land or water.
  Supplemental Coverage:
                                                               d.   Limit The most we pay for each
  a.   is the only limit available for the described                location is $10,000 for the sum of all
       coverage; and                                                such expenses arising out of a Covered
                                                                    Peril occurring during each separate 12-
                                                                    month period of this policy.
  b.   is not the sum of the limit indicated for a
       Supplemental Coverage and the limit for
                                                          3.   Substitute Vehicle. The most we will pay
       coverage described under Covered
                                                               for loss involving a substitute vehicle is
       Property.
                                                               the limit indicated on the schedule of

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       coverages for the vehicle that has been                     3.   insurrection, rebellion,
       replaced ordisabled.                                             revolution, or unlawful
                                                                        seizure of power
  4.   Loss of Use. We will pay for loss of use to                      including action taken by
       a vehicle hauled by you in the event the                         governmental authority
       loss is caused by a Covered Peril by this                        to prevent or defend
       policy. Coverage will begin 24 hours after                       against any of these.
       the time of loss. The most we will pay under
       this additional coverage for loss of use is                      With regard to any action that comes
       $2,500.                                                          within the terms of this exclusion and
                                                                        involves nuclear reaction, nuclear
G. COVERED PERIL                                                        radiation, or radioactive
                                                                        contamination, this War and Military
  Covered Peril means direct physical loss unless                       Action Exclusion will apply in place
  the loss is caused by a peril that is excluded.                       of the Nuclear Hazard Exclusion.

H. PERILS EXCLUDED                                       2.   We do not pay for loss or damage that is
  1.   We do not pay for loss or damage caused                caused by or results from one or more of the
       directly or indirectly by one or more of the           following:
       following excluded causes or events.
       Such loss or damage is excluded                        a. Criminal, Fraudulent, Dishonest,
       regardless of other causes or events that                   or Illegal Acts. Criminal,
       contribute concurrently or in any                           fraudulent, dishonest, or illegal
       sequence to or aggravate the loss.                          acts committed alone or incollusion
                                                                   with another by:
       a.   Civil Authority. Order of any civil
                                                                   1.   you;
            authority, including seizure,
            confiscation, destruction, or quarantine               2.   others who have an interest in the
                                                                        property;
            of property.
                                                                   3.   others to whom you entrust the
                                                                        property including but not limited
            This exclusion does not apply to loss
                                                                        to owner-operators you have
            resulting from acts of destruction by
                                                                        hired;
            the civil authority to prevent the spread
            of fire, unless the fire is caused by a
                                                                   4.   your partners, officers, directors,
            peril excluded under this coverage.                         trustees, joint venturers, or your
                                                                        members or managers if you are a
       b.   Nuclear Hazard. Nuclear reaction,                           limited liability company; or
            nuclear radiation, or radioactive                      5.   the employees or agents of 1), 2),
            contamination (whether controlled or                        3), or 4) above, whether or not they
            uncontrolled; whether caused by                             are in the course or scope of
            natural, accidental, or artificial means).                  employment.
            Loss caused by nuclear hazard is not
            considered loss caused by fire,                             This exclusion does not apply to acts
            explosion, or smoke. Direct loss by fire                    of destruction by your employees, but
            resulting from the nuclear hazard is                        we do not pay for theft by employees.
            covered.
                                                              b.   Loss of Use. Loss of use,
                                                                   delay, or loss of market,
       c. War and Military Action
                                                                   except as specifically
           1. war, including undeclared war or civil               provided under the
              war;or                                               Supplemental Coverage.
          2. a warlike action by a military force,
              including action taken to prevent or            c.   Pollutants. Release, discharge,
                                                                   seepage, migration, dispersal, or escape
              defend against an actual or
              expected       attack,     by    any                 of pollutants:
              government, sovereign, or other                      1.   unless the release, discharge,
              authority using military personnel or                     seepage, migration, dispersal, or
              other agents; or                                          escape is caused by a specified
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                 peril; or
            2.   except as specifically                  I.   WHAT MUST BE DONE IN A CASE OF LOSS
                 provided under the
                 Supplemental Coverages -                     1. Notice. In case of a loss, you must:
                 Pollutant Cleanup and
                 Removal.                                          a.   give us or our agent prompt
                                                                        notice including a description of
                 We do cover any resulting loss                         the property involved (we may
                 caused by a specified peril.                           request written notice); and

      d.    Spoilage. Spoilage of perishable stock.                b.   give notice to the police when the act that
                                                                        causes the loss is a crime.
            But if spoilage results in a specified
            peril, we do cover the loss or damage             2. You Must Protect Property. You must
            caused by that specified peril.                        take all reasonable steps to protect
                                                                   Covered Property at and after an
      e.    Voluntary Parting. Voluntary                           insured loss to avoid furtherloss.
            parting with title to or                               a. Payment Of Reasonable Costs. We
            possession of any property                                 do pay the reasonable costs incurred
            because of any fraudulent                                  by you for necessary repairs or
            scheme, trick, or false pretense.                          emergency measures performed solely
                                                                       to protect Covered Property from
      f.    Contamination or Deterioration.                            further damage by a peril insured
            Contamination       or     deterioration                   against if a peril insured against has
            including corrosion, decay, fungus,                        already caused a loss to Covered
            mildew, mold, rot, rust, contact with oil,                 Property. You must keep an accurate
            contact with one commodity to                              record of such costs. Our payment of
            another, or any quality, fault or                          reasonable costs does not increase the
            weakness in the Covered Property that                      limit.
            causes it to damage or destroy itself.
                                                                   b.   We Do Not Pay. We do not pay for
      g.    Labor Disturbances. Labor                                   such repairs or emergency
            disturbances including strikes, lock outs,                  measures performed on property
            riots, civil commotion, or the acts of any                  which has not been damaged by a
            person taking part in a labordisturbance.                   peril insured against.

      h.    Shifting, Packing and Handling.                   3.   Proof Of Loss. You must send us,
            Shifting of load, improper packing, or                 within 60 days after our request, a
            rough handling. We do pay for loss                     signed, sworn proof of loss. This must
            caused by a specified peril.                           include the following information:

      i.    Temperature/Humidity. Humidity,                        a.   the time, place, and circumstances of the
            dampness, dryness or changes in or                          loss;
            extremes of temperature.
                                                                   b.   other policies of insurance that may cover
     j.    Mechanical Breakdown. Mechanical                             theloss;
           or electrical breakdown or failure. We
           do pay for loss if caused by fire or                    c.   your interest and the interests of all others
           explosion. However, we do not pay                            in the property involved, including all
           for breakdown or failure of a                                mortgages and liens;
           refrigeration unit regardless of the
           cause of loss.                                          d.   changes in title of the Covered Property
                                                                        during the policy period; and
     k.    Heating Equipment Breakdown or
           failure of heating equipment installed in a             e.   estimates, specifications, inventories,
           cargo compartment.                                           and other reasonable information that
                                                                        we may require to settle the loss.
     I.    Wear and Tear.
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      4.   Examination. You must submit to                         materials or services furnished or arranged
           examination under oath in matters                       by you.
           connected with the loss as often as we
           reasonably request and give us sworn                    The reduced amount of your responsibility will
           statements of the answers. If more than one             be based on an amount:
           person is examined, we have the right to
           examine and receive statements separately               a.   set by law; or
           and not in the presence of others.
                                                                   b.   lawfully set by you in a bill of lading,
       5. Records. You must produce records,                            contract of carriage or shipping receipt
           including tax returns and bank microfilms                    that is issued by you or that is issued on
           of all canceled checks relating to value,                    your behalf.
           loss, and expense and permit copies and
           extracts to be made of them as often as            3.   Pair or Set The value of a lost or
           we reasonably request.                                  damaged article which is part of a pair or
                                                                   set is based on a reasonable proportion of
      6.   Damaged Property. If the damaged and                    the value of the entire pair or set. The loss
           undamaged property is in your care,                     is not considered a total loss of the pair or
           custody, or control, you must exhibit the               set.
           property as often as we reasonably request
           and allow us to inspect or take samples of         4.   Loss to Parts. The value of a lost or
           the property.                                           damaged part of an item that consists
                                                                   of several parts when it is complete is
      7.   Volunteer Payments. You must not,                       based on the value of only the lost or
           except at your own expense, voluntarily                 damaged part or the cost to repair or
           make any payments, assume any                           replace.
           obligations, pay or offer any rewards, or
           incur any other expenses except as               K. HOW MUCH WE PAY
           respects protecting property from
           further damage.                                    1. Insurable Interest We do not cover more
                                                                   than your insurable interest in any property.
      8. Abandonment You may not abandon the
           property to us without our written consent.        2.   Deductible. We pay only that part of your
                                                                   loss over the deductible amount indicated
      9. Cooperation. You must cooperate with us in                on the schedule of coverages in any one
           performing all acts required by this policy.            occurrence.

      10. Transfer of Rights of Recovery Against                   We may pay all or a portion of the deductible
           Others to Us. You cannot transfer your                  amount to settle a loss or suit. If we do pay
           rights of recovery against others or waive              all or a portion of the deductible amount, you
           your rights of subrogation without our                  must promptly reimburse us for the amount
           permission.                                             that we paid.
J. VALUATION
                                                              3.   Loss Settlement Terms. Subject to
                                                                   paragraphs 1., 2., 4., and 5. under How Much
  Property Of Others.
                                                                   WePay:
      1. Actual Cash Value. The value of property                  a.   We Pay the Lesser Of. We pay the
           of others, as described under Covered
                                                                        lesser of:
           Property, will be based on the actual cash
           value at the time of the loss (with a
                                                                        1.   the amount determined under
           deduction for depreciation).
                                                                             Valuation;
                                                                        2.   the cost to repair, replace, or rebuild
      2.   If Your Responsibility for Covered
                                                                             the property with material of like kind
           Property is Reduced. If the amount of your
                                                                             and quality to the extent practicable;
           responsibility for Covered Property is
                                                                             or
           reduced, we will not pay more for loss to                    3.   the limit for vehicle or terminal
           Covered Property than the reduced amount
                                                                             location indicated on the schedule of
           of your responsibility plus the cost of labor,
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                     coverages.                                            3.   rebuild, repair, or replace the
                                                                                property with other property of
          b.    Catastrophe Limit In no event                                   equivalent kind and quality, to
                will we pay more than the                                       the extent practicable, within a
                catastrophe limit indicated on the                              reasonable time;or
                schedule of coverages                                      4.   take all or any part of the property at
                regardless if a loss involves:                                  the agreed or appraised value.

                1. one or more vehides;                               b.   Notice of Our Intent to Rebuild,
                2.   one or more terminal locations; or                    Repair, or Replace. We must give
                3.   any combination of vehides or                         you notice of our intent to rebuild,
                     terminal locations.                                   repair, or replace within 30 days after
                                                                           receipt of a duly executed proof of
     c. When a Vehicle is at a Tenninal. 'Mlen a                           loss.
          vehicle is situated within a terminal building
          or within 100 feet of a terminal building, the         2.   Your Losses.
          limit for the terminal location applies. In no
          event will we combine the limit for a terminal              a. Adjustment and Payment of Loss.
          location with the limit for a vehicle.                           We adjust all losses with you. Payment
                                                                           will be made to you unless another
     4.   Insurance Under More Than One                                    loss payee is named in the policy.
          Coverage. If more than one coverage of
          this policy insures the same loss, we pay                   b.   Conditions for Payment of Loss. An
          no more than the actual daim, loss, or                           insured loss will be payable 30 days after:
          damage sustained.
                                                                           1. a satisfactory proof of loss is
     5. Insurance Under More Than One Policy.                                   received; and
                                                                           2. the amount of the loss has been
          a.    Proportional Share. You may have                                established either by written
                another policy subject to the same                              agreement with you or the filing of
                terms as this policy. If you do, we will                        an appraisal award with us.
                pay our share of the covered loss. Our
                share is the proportion that the                 3.   Property of Others.
                applicable limit under this policy bears
                to the limit of all policies covering on the          a. Adjustment and Payment of
                same basis.                                                Loss to Property of Others.
                                                                           Losses to property of others may
          b.    Excess Amount If there is another                          be adjusted with and paid to:
                policy covering the same loss, other
                than that described above, we pay                          1 . you on behalf of the owner; or
                only for the amount of covered loss in                     2. the owner.
                excess of the amount due from that
                other policy, whether you can collect                 b.   We do not have to Pay you if we
                on it or not. But we do not pay more                       Pay the Owner. If we pay the
                than the applicable limit.                                 owner, we do not have to pay you.
                                                                           We may also choose to defend any
L.   LOSS PAYMENT                                                          suits arising from the owners at our
                                                                           expense.
     1. Loss Payment Options.
                                                               M. OTHER CONDITIONS
          a.    Our Options. In the event of loss
                covered by this coverage form, we have           1. Appraisal. If you and we do not agree
                the following options:                              on the amount of the loss or the value
                                                                    of Covered Property, either party may
                1.   pay the value of the lost or damaged           demand that these amounts be
                     property;                                      determined by appraisal.
                2.   pay the cost of repairing or replacing
                     the lost or damaged property;                    If either makes a written demand for
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       appraisal, each will select a competent,                     or
       independent appraiser and notify the other of             2) your legal representative.
       the appraiser's identity within 20 days of
       receipt of the written demand. The two                    This person or organization is an insured
       appraisers will then select a competent,                  only with respect to property covered by
       impartial umpire. If the two appraisers are               this coverage.
       unable to agree upon an umpire within 15
       days, you or we can ask a judge of a court of        b.   Policy Period is not Extended. This
       record in the state where the property is                 coverage does not extend past the
       located to select an umpire.                              policy period indicated on the schedule
                                                                 of coverages.
       The appraisers will then determine and state
       separately the amount of each loss.             6. Misrepresentation, Concealment, or
                                                            Fraud. This coverage is void as to you
       The appraisers will also determine the value         and any other insured if, before or after a
       of Covered Property items at the time of the         loss:
       loss, if requested.
                                                            a.   you or any other insured have willfully
       If the appraisers submit a written report                 concealed or misrepresented:
       of any agreement to us, the amount
       agreed upon will be the amount of the                     1 . a material fact or circumstance that
       loss. If the appraisers fail to agree within                   relates to this insurance or the subject
       a reasonable time, they will submit only                       thereof; or
       their differences to the umpire. Written                  2.   your interest herein; or
       agreement so itemized and signed by
       any two of these three, sets the amount              b.   there has been fraud or false swearing
       of the loss.                                              by you or any other insured with regard
                                                                 to a matter that relates to this insurance
       Each appraiser will be paid by the party                  or the subjectthereof.
       selecting that appraiser. Other expenses of
       the appraisal and the compensation of the       7.   Policy Period. We pay for a covered loss
       umpire will be paid equally by you and us.           that occurs during the policy period.

  2.   Bankruptcy of an Insured.                       8.   Recoveries. If we pay you for the loss and
       Bankruptcy or insolvency of an                       lost or damaged property is recovered, or
       insured does not relieve us of our                   payment is made by those responsible for
       obligations under this coverage.                     the loss, the following provisions apply:

  3.   Benefit to Others. Insurance under                   a.   you must notify us promptly if you recover
       this coverage will not directly or                        property or receive payment;
       indirectly benefit anyone having
       custody of your property.                            b.   we must notify you promptly ifwe recover
                                                                 property or receive payment;
  4.   Confonnity with Statute. When a
       condition of this coverage is in conflict            c.   any recovery expenses incurred by either
       with an applicable law, that condition is                 are reimbursed first;
       amended to conform to that law.
                                                            d.   you may keep the recovered property
  5.   Estates. This provision applies only if the               but you must refund to us the amount
       insured is an individual.                                 of the claim paid or any lesser
                                                                 amount to which we agree; and
       a.   Your Death. On your death, we cover the
            following as an insured:                        e.   if the claim paid is less than the
                                                                 agreed loss due to a deductible or
            1) the person who has                                other limiting terms of this policy, any
               custody of your property                          recovery will be pro rated between
               until a legal representative                      you and us based on our respective
               is qualified and appointed;                       interest in the loss.

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  9.   Restoration of Limits. A loss we pay under
       this coverage does not reduce the applicable
       limits.

  10. Subrogation. If we pay for a loss, we may
      require you to assign to us your right of
      recovery against others. You must do all
      that is necessary to secure our rights. We
      do not pay for a loss if you impair this right
      to recover.

  11. Suit Against Us. No suit may be brought
      against us unless:

        a.   all of the terms of this coverage have
             been complied with; and

        b.   the amount of the insured's liability has
             been determined by:

             1.   a final judgment against an insured
                  as a result of a trial; or
             2.   a written agreement by the insured,
                  the daimant, and us.

                  No person has a right under this
                  coverage to join us or implead us in
                  actions that are brought to
                  determine an insured's liability.

   12. Ten'itorial Limits. We cover
       property while it is in the United
       States of America, its territories and
       possessions, Canada, and Puerto
       Rico.

   13. Your Reimbursement to Us. You must
       reimburse us all sums for a loss that we
       have paid and that we would not have
       been required to pay except for the
       attachment to this policy of any federal,
       state, or other regulatory endorsement.

        You must reimburse us within 30 days after
        we have notified you that we have paid a
        loss that we would not have been required
        to pay except for the attachment of a
        required regulatory endorsement.



         Authorized Representative
                                                                 Date




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